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#1924247



KOBAYASHI SUGITA & GODA, LLP                                         FILED IN THE
                                                            UNITED STATES DISTRICT COURT

DAVID M. LOUIE                2162                               DISTRICT OF HAWAII
                                                             Jan 24, 2023 at 3:52 p.m.
JESSE W. SCHIEL               7995                            John A. Mannle, Clerk of Court

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Attorneys for Movant
PACMAR TECHNOLOGIES LLC f/k/a
MARTIN DEFENSE GROUP, LLC f/k/a
NAVATEK LLC

                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,                 CR. NO. 21-00061 LEK

                 Plaintiff,                MOTION FOR RETURN OF
                                           PROPERTY PURSUANT TO RULE
           vs.                             41(g) OF THE FEDERAL RULES OF
                                           CRIMINAL PROCEDURE;
 MARTIN KAO,                               MEMORANDUM IN SUPPORT OF
                                           MOTION; DECLARATION OF
                 Defendant.                JAMES TOSHIZO OTA;
                                           DECLARATION OF JESSE W.
                                           SCHIEL; EXHIBITS 1 – 9;
                                           CERTIFICATE OF SERVICE
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    MOTION FOR RETURN OF PROPERTY PURSUANT TO RULE
    41(G) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE
          PACMAR TECHNOLOGIES LLC f/k/a MARTIN DEFENSE GROUP, LLC

f/k/a NAVATEK LLC (“PacMar”) files this motion pursuant to Rule 41(g) of the

Federal Rules of Criminal Procedure seeking the return of an Apple iPhone 11 Pro

(IMEI 353247100759018, associated with the phone number ending in 0371), seized

by the Department of Justice in 2020 at the time of Defendant MARTIN KAO’S

arrest.

          DATED: Honolulu, Hawaii, January 24, 2023.

                                      /s/ Jesse W. Schiel
                                      DAVID M. LOUIE
                                      JESSE W. SCHIEL

                                      Attorneys for Movant
                                      PACMAR TECHNOLOGIES LLC
                                      f/k/a MARTIN DEFENSE GROUP,
                                      LLC f/k/a NAVATEK LLC




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                      IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,                    CR. NO. 21-00061 LEK

                  Plaintiff,                  MEMORANDUM IN SUPPORT OF
                                              MOTION
           vs.

 MARTIN KAO,

                  Defendant.

                   MEMORANDUM IN SUPPORT OF MOTION
I.         INTRODUCTION
           PACMAR TECHNOLOGIES LLC f/k/a MARTIN DEFENSE GROUP, LLC

f/k/a NAVATEK LLC (“PacMar”) seeks the return of Defendant MARTIN KAO’S

(“Defendant Kao”) Apple iPhone 11 Pro (IMEI 353247100759018) (“Defendant

Kao’s Company Cellphone”), used by Defendant Kao during his employment with

PacMar, or in the alternative, the return of the call logs, voice message data, text

messages, e-mails, and other forms of messaging; still and live photographs and

video; audio files; storing dates, appointments, and other information on personal

calendars, among other data (the “Cellphone Data”) contained therein pursuant to

Rule 41(g) of the Federal Rules of Criminal Procedure.

           PacMar retains a property interest in the return of Defendant Kao’s Company

Cellphone and the Cellphone data due to the nature of Defendant Kao’s roles and
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responsibilities during his employment with PacMar. Defendant Kao’s Company

Cellphone contains critical business and proprietary data belonging to PacMar that

PacMar requires in its ongoing business operations.

      PacMar has no other means to access this data other than by the return of

Defendant Kao’s Company Cellphone and the Cellphone Data by the United States

Department of Justice (the “DOJ”), and such a return is not likely to affect or hinder

the DOJ’s investigation or prosecution of Defendant Kao for his criminal activities

in the instant case.

II.   STATEMENT OF FACTS
      PacMar Technologies LLC was originally created in the 1970s under the name

“Navatek Ltd.” Since its formation, PacMar's focus has been on developing

advanced ships to improve passenger ride quality, reduce operator injury, and

improve hull efficiency. These engineering capabilities quickly led to innovations

in hydrodynamic simulations, novel hull form designs, cutting edge motion control

systems, and advanced marine prototype fabrication and testing. PacMar has since

grown into a diversified technology company with a national presence, leading the

way in research, engineering, design, and innovation.

      Defendant Kao joined Navatek (now PacMar) in 2008, several decades after

the Company had been formed and successfully operating. In or around August

2018, after forty successful years at the helm of the Company, Steven Loui,



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PacMar’s founder and then-President and CEO, decided to step away from the day-

to-day management of the Company. He believed that he had found a worthy

successor in Defendant Kao, who he believed would keep the Company prospering

and would take care of its employees. Consequently, Mr. Loui relinquished his role

as President and CEO to Defendant Kao, while retaining his role as Chairman and

his ownership interest in the Company.

      In 2008, and continuing through his tenure as President and CEO, Defendant

Kao was issued a company cellphone to use for his role in PacMar’s operations.

Defendant Kao’s receipt and use of a company cellphone was subject to PacMar’s

company cellphone policies. See Navatek Employee Handbook (Rev. 01/2010), at

C-22 ¶ 6 (“If an employee is issued a company cell phone, this may not be used for

personal phone calls unless authorized by the Company prior to usage. All rules

from this policy applies to company issued cell phones.” (emphasis added)),

attached as Exhibit 1; see also id. at C-23 § I (“Computers, computer files,

electronic communication systems, internet access, and software furnished to

employees are Company property intended to be used solely for business purposes.

Any materials developed by an employee with company resources during or after

normal work hours will be the property of the Company, including patentable

inventions, copyrights, and trade secrets. All work done with Company resources

will be owned by the Company or will be deemed assigned to the Company.”


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(emphasis added)); Declaration of James Toshizo Ota (“Ota Decl.”) ¶ 7.          The

handbook further provides that “although incidental and occasional personal use of

e-mail is permitted by the Company,” the Company may access and disclose

personal emails. Id. at C-23, § III. Defendant Kao acknowledged his receipt and

understanding of these policies. See Acknowledgement of Employee Handbook,

attached as Exhibit 2.

       From 2018 on, as President and CEO of PacMar, Defendant Kao was

responsible for oversight of all of PacMar’s business operations, including review

and supervision of the development of its products and technologies,

communications with external parties in obtaining its contracts and subcontracts,

review and oversight of internal processes and procedures related to its employees

and management, and various other duties typical of a President and CEO of a

federal contractor. PacMar continued to supply Defendant Kao with the use of a

company-owned cellphone, subject to the same ongoing policies and conditions of

use.   See Martin Defense Group Information System Security Policies and

Procedures Manual, at § 4.1(a) (“Martin Defense Group sensitive information stored

on electronic and computing devices whether owned or leased by Martin Defense

Group, a User, or a third party, remains the sole property of Martin Defense

Group.”), attached as Exhibit 3; MDG Employee Mobile Device Policy (“At any

time upon request by Company management, the employee shall produce the mobile


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device for return or inspection.”), attached as Exhibit 4.

      In 2020, around the time the DOJ arrested Defendant Kao, it seized various

property, including certain Company property, 1 potentially relevant to Defendant

Kao’s crimes in the instant case. Among the items seized was an Apple iPhone 11

Pro (IMEI 353247100759018), associated with the phone number ending in 0371

(“Defendant Kao’s Company Cellphone”). Defendant Kao’s Company Cellphone

was registered to a Company business account assigned to Defendant Kao, and was

bought and paid for by Navatek LLC. (now PacMar) See, e.g., Verizon Quick Bill

Summary for Martin Kao, dated Jan. 12, 2020 (addressed to Navatek LLC and

showing “Device Payment Agreement” charges of $1149.99 at page 2),

attached hereto as Exhibit 5; Ota Decl ¶ 6.

      By letter dated December 21, 2022, PacMar, by and through its undersigned

counsel, requested that the DOJ return the Cellphone and/or the Cellphone Data, a

true and correct copy of which is attached as Exhibit 6.

      On December 29, 2022, Mr. Nolan, on behalf of the DOJ, responded by email

correspondence to the undersigned and Mr. Victor Bakke, counsel for Defendant

Kao, advising Mr. Bakke of the DOJ’s intention to turn over the requested Cellphone

Data to PacMar if no objection was made by 5:00 p.m. on Friday, January 6, 2023.



1
  The DOJ returned most of the Company assets seized, including the Company's
servers, shortly after they were downloaded.

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See E-mail from C. Nolan, dated Jan. 6, 2023, attached as Exhibit 7.

       On Thursday, January 5, 2023, Mr. Bakke informed Mr. Nolan that Defendant

Kao objected to the DOJ’s release of the Cellphone or the Cellphone Data to PacMar,

but did not explain on what basis the objection was made. See E-mail from V.

Bakke, dated Jan. 5, 2023, attached as Exhibit 8.

       By reply email on January 6, 2023, Mr. Nolan suggested to both counsel that

the parties get the issue before the Court through a FRCP Rule 41(g) motion, and

that the government would take no position (other than opposing any request to

return the actual Cellphone). See E-mail from C. Nolan, dated Jan. 6, 2023, attached

as Exhibit 9. For the avoidance of doubt, PacMar has no objection to the DOJ’s

return of the Cellphone Data in lieu of the return of the physical Cellphone.

III.   APPLICABLE LEGAL STANDARDS
       Rule 41(g) of the Federal Rules of Criminal Procedure provides that “[a]

person aggrieved by an unlawful search and seizure of property or by the deprivation

of property may move for the property’s return.” Fed. R. Crim. P. 41(g). “Though

styled as a motion under a Federal Rule of Criminal Procedure, when the motion is

made by a party against whom no criminal charges have been brought, such a motion

is in fact a petition that the district court invoke its civil equitable jurisdiction.”

United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1172 (9th Cir.

2010), overruled on other grounds in Demaree v. Pederson, 887 F.3d 870 (9th Cir.



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 2018) (per curiam). “That Rule 41(g) is broader than the exclusionary rule can no

 longer be in doubt in light of the 1989 amendments which explicitly authorize a

 motion to return property on behalf of any ‘person aggrieved by an unlawful search

 and seizure of property or by the deprivation of property.’ Fed. R. Crim. P. 41(g)

 (emphasis added). This language was designed to expand the rule's coverage to

 include property lawfully seized. See id. advisory committee notes.” Id. at 1173

 (emphasis added).

       In considering a motion for return of property, the Court is required to

 balance four discretionary factors to determine whether to allow the government to

 retain the property, order it returned or (as happened in Ramsden) craft a compromise

 solution that seeks to accommodate the interests of all parties: (1) whether the

 movant is plainly aggrieved by the deprivation; (2) likely to suffer irreparable injury

 if it’s not returned; (3) the lack of an adequate remedy at law; and (4) whether the

 government showed a callous disregard for the rights of third parties. See id. (citing

 Ramsden v. United States, 2 F.3d 322 (9th Cir. 1993)).

 IV.   ARGUMENT
       A.     PacMar is Plainly Aggrieved by the Deprivation of Its Property.
       PacMar is plainly aggrieved by the seizure and failure of the DOJ to return

 Defendant Kao’s Company Cellphone and the Cellphone Data contained therein.

 PacMar’s business is the development of numerous, highly-specialized technologies



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 and concepts, and the Cellphone Data constitutes an otherwise irretrievable portion

 of that proprietary information. Similar to the movant in Comprehensive Drug

 Testing, PacMar has a plain property interest in the Cellphone Data. 621 F.3d at

 1173–74 (“Here, the Players Association is aggrieved by the seizure as the removal

 of the specimens and documents breaches its negotiated agreement for

 confidentiality, violates its members’ privacy interests and interferes with the

 operation of its business.” (emphasis added)).

       Further, due to Defendant Kao’s role as President and CEO of PacMar from

 2018 to 2020, Defendant Kao’s Company Cellphone was used in the direct strategic

 planning and core operations of PacMar’s business operations. Defendant Kao was

 the key decision maker in countless contract negotiations, strategic business

 decisions, internal communications, and oversight of the development of PacMar’s

 products, which are typical of an individual who holds the position that Defendant

 Kao did during that time period. These strategic communications, business records,

 and other critical company information were not only critical to PacMar’s operations

 through Defendant Kao’s tenure as President and CEO, but continue to be necessary

 for PacMar’s ongoing operations, as well as PacMar’s ongoing handling of the

 consequences of Defendant Kao’s criminal misconduct. As a federal contractor,

 PacMar is held to stringent standards in the course of its operations, and PacMar has




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 an ongoing duty to ensure that Defendant Kao’s conduct has no lingering impact on

 PacMar’s operations.

       Thus, PacMar has a strong property interest in the return of the critical and

 proprietary data contained on Defendant Kao’s Company Cellphone, which weighs

 in favor of the return of the seized property.

       B.     PacMar is Likely to Suffer Irreparable Injury if the Property is
              Not Returned.
       As explained above, PacMar is seeking the return of Defendant Kao’s

 Company Cellphone and the Cellphone Data not only for its importance in PacMar’s

 ongoing business operations and strategic planning, but also to ensure that Defendant

 Kao’s conduct has not and does not continue to affect PacMar’s responsibilities and

 obligations as a federal contractor moving forward.

       While PacMar typically retains access to company cellphones through

 software means, it has not had access to Defendant Kao’s Company Cellphone or

 the Cellphone Data through any means since the seizure of the cellphone by the

 DOJ in 2020. See Ota Decl ¶ 8.

       Because PacMar has no other means to access Defendant Kao’s Company

 Cellphone or the Cellphone Data other than by its return to PacMar by the DOJ, and

 due to the critical and sensitive nature of the data and communications contained

 therein, the return of Defendant Kao’s Company Cellphone and the Cellphone Data

 is necessary to ensure PacMar’s continuing business operations and its compliance


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 with its obligations as a federal contractor. PacMar’s ongoing business is likely to

 be jeopardized without a return of the seized property.

       C.     PacMar Has No Remedy at Law.
       As explained by the Ninth Circuit in Comprehensive Drug Testing, since the

 1989 amendments to the Federal Rules of Criminal Procedure, a motion made

 thereunder is the proper method of a third-party against whom no criminal charges

 have been brought. 621 F.3d at 1172-73. PacMar is not seeking to suppress any

 evidence obtained or intended to be used against Defendant Kao by the DOJ through

 this motion, and therefore has no other remedy at law for the return of Defendant

 Kao’s Company Cellphone or the Cellphone Data.

       D.     The DOJ Has Not Shown a Callous Disregard for PacMar’s
              Rights.
       PacMar does not allege that the DOJ has shown a callous disregard for its

 rights in the seizure of Defendant Kao’s Company Cellphone (or other PacMar

 property related to the criminal investigation which has since been returned to

 PacMar, see Statement of Facts, supra § II n.1). In fact, PacMar has provided

 assistance to the DOJ at numerous steps in its investigation of Defendant Kao’s

 criminal activities, and continues to work with the DOJ to provide what assistance

 it can in the furtherance of justice. Further, it is PacMar’s understanding that the




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 DOJ is not opposed to returning a copy of the Cellphone Data to PacMar.2 See

 Exhibit 7.

 V.    CONCLUSION
       For the foregoing reasons, as well as any further adduced at hearing of this

 motion, PacMar respectfully requests the Court issue an order directing the DOJ to

 return Defendant Kao’s Company Cellphone to PacMar, or in the alternative,

 directing the DOJ to return a copy to PacMar of the Cellphone Data contained on

 Defendant Kao’s Company Cellphone.

       DATED: Honolulu, Hawaii, January 24, 2023.

                                         /s/ Jesse W. Schiel
                                         DAVID M. LOUIE
                                         JESSE W. SCHIEL

                                         Attorneys for Movant
                                         PACMAR TECHNOLOGIES LLC
                                         f/k/a MARTIN DEFENSE GROUP,
                                         LLC f/k/a NAVATEK LLC



 2
   PacMar also notes that Defendant Kao has pled guilty in the instant case, which
 further weighs in favor of the return of the seized property. See United States v.
 Gladding, 775 F.3d 1149, 1152 (9th Cir. 2014) (“‘When a motion for return of
 property is made before an indictment is filed (but a criminal investigation is
 pending), the movant bears the burden of proving both that the [property's] seizure
 was illegal and that he or she is entitled to lawful possession of the property.’ United
 States v. Martinson, 809 F.2d 1364, 1369 (9th Cir.1987) (citations omitted). But
 that burden of proof changes when ‘the property in question is no longer
 needed for evidentiary purposes, either because trial is complete, the defendant
 has pleaded guilty, or . . . the government has abandoned its investigation.’ Id.”
 (emphasis added)).

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                       IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,                      CR. NO. 21-00061 LEK

                   Plaintiff,                    DECLARATION OF JESSE W.
                                                 SCHIEL
             vs.

  MARTIN KAO,

                   Defendant.

                        DECLARATION OF JESSE W. SCHIEL
            I, JESSE W. SCHIEL, declare and aver as follows:

            1.     I am an attorney with the firm Kobayashi Sugita & Goda, LLP

 (“KSG”), attorneys for Movant PACMAR TECHNOLOGIES LLC f/k/a MARTIN

 DEFENSE GROUP, LLC f/k/a NAVATEK LLC (“PacMar”). I am licensed to

 practice law before all of the state and federal courts in the State of Hawaii.

            2.     I am competent to testify as to the matters set forth herein and, unless

 otherwise indicated, make this declaration based upon my own personal information

 and knowledge.

            3.     I submit this declaration in support of PacMar’s Motion for Return of

 Property Pursuant to Rule 41(G) Of The Federal Rules Of Criminal Procedure (the

 “Motion”).
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            4.   Attached to the Motion as Exhibit 6 is a true and correct copy of a

 Letter sent from my office to Assisted United States Attorney Craig Nolan,

 requesting the return of Defendant Kao’s Company Cellphone and/or the data

 contained therein, dated December 21, 2022. A copy of Exhibit 6 is kept and

 maintained in KSG’s files in the regular and ordinary course of business.

            5.   Attached to the Motion as Exhibit 7 is a true and correct copy of an e-

 mail from AUSA Nolan to myself and Victor Bakke, notifying the parties of the

 DOJ’s intent to keep possession of Defendant Kao’s Company Cellphone, but to

 return a copy of the data to PacMar and inquiring as to whether Defendant Kao

 would object to this production, dated December 29, 2022. A copy of Exhibit 7 is

 kept and maintained in KSG’s files in the regular and ordinary course of business.

            6.   Attached to the Motion as Exhibit 8 is a true and correct copy of Mr.

 Bakke’s e-mail response, indicating that Defendant Kao would object to the

 production of Defendant Kao’s Company Cellphone or any of the data contained

 therein, but not stating any formal bases for such objections, dated January 5, 2023.

 A copy of Exhibit 8 is kept and maintained in KSG’s files in the regular and ordinary

 course of business.

            7.   Attached to the Motion as Exhibit 9 is a true and correct copy of an e-

 mail from AUSA Nolan inquiring as to a meeting of Defendant Kao and PacMar’s

 respective counsel regarding the return of Defendant Kao’s Company Cellphone
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 and/or the data contained therein and suggesting that PacMar should file a Motion

 under Fed. R. Crim. P. 41(g) to pursue a return of the cellphone and/or data. A copy

 of Exhibit 9 is kept and maintained in KSG’s files in the regular and ordinary course

 of business.

            I declare under penalty of law that the foregoing is true and correct.

            DATED: Honolulu, Hawaii, January 24, 2023.

                                             /s/ Jesse W. Schiel
                                             JESSE W. SCHIEL
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             Employee Handbook
                                   For
                        Employees of

                  AVAT--K
                             NavatekLLC
  Navatek Alternative Energy Technologies, LLC.
             Navatek CFD Technologies, LLC.
       Navatek, Lifting Body Technologies, LLC.




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                          EMPLOYMENT PRACTICES


 EMPLOYMENT STATUS

         A Full-time Regular employee is defined as an individual employed by the Company on
 the following basis:

        1. The individual is projected to work an average of thirty (30) hours or more per week.
        2. The Employment Status Report reflects employment as being “Full-time Regular.”
        3. Full-time Regular employees are entitled to benefits as outlined, beginning on Page
           D-1 of this Handbook.

        A Part-time employee is defined as an individual employed by the Company on the
 following basis:

        1. The individual is projected to work an average of approximately twenty (20) hours or
           less per week.
        2. The Employment Status Report reflects employment as being “Part-time.”
        3. Part-time employees are entitled to benefits as outlined, beginning on Page E-1 of this
           Handbook.

         A Full-time Temporary employee is defined as an individual employed by the Company
 on the following basis:

        1. The individual is projected to work an average of thirty (30) hours or more per week.
        2. The Employment Status Report reflects employment as being “Full-time Temporary.”
        3. Full-time Temporary employees are entitled to benefits as outlined, beginning on
           Page D-25 of this Handbook.




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           EQUAL EMPLOYMENT OPPORTUNITY POLICY
 The policy of Navatek, Ltd (the “Company”) is to promote equal employment opportunity
 through a positive and continuous program of specific practices designed to ensure the full
 realization of equal employment opportunity, without regard to race, color, religion, sex, national
 origin, age, disability, ancestry, marital status, arrest and court record, sexual orientation, or
 status as a special disabled veteran or veteran designated under the Vietnam Era Veterans’
 Readjustment Assistance Act, as amended (VEVRAA). This reaffirms our commitment to this
 policy.
 To implement this policy, the Company has, and will continue, to:
     1. Recruit, hire, train and promote persons in all job classifications without regard to race,
         color, religion, sex, national origin, age, disability, ancestry, marital status, arrest and
         court record, sexual orientation, or status as a special disabled veteran, or veteran
         designated under VEVRAA.
     2. Base decisions on employment so as to further the principle of equal employment
         opportunity.
     3. Ensure that promotion decisions are in accord with principles of equal employment
         opportunity by imposing only valid requirements for promotional opportunities.
     4. Ensure that all personnel actions (including but not limited to compensation, benefits,
         transfers, layoffs, return from layoff, Company sponsored training, education, tuition
         assistance, social and recreational programs) are administered without regard to race,
         color, religion, sex, national origin, age, disability, ancestry, marital status, arrest and
         court record, sexual orientation, status as a special disabled veteran, or veteran designated
         under VEVRAA.

 Equal Employment Opportunity is a fundamental principle of our Company’s operation. I
 expect each employee to cooperate to achieve this goal and I personally stand behind this
 principle.




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 BUSINESS ETHICS AND EMPLOYEE CONDUCT

         Navatek, Ltd. maintains a reputation as a Company of the highest standards of
 lawfulness, responsibility and accountability. All employees shall at all times comply with all
 laws and the highest standards of business ethics and conduct wherever the Company conducts
 business; avoid situations which might involve a conflict between their personal interests and the
 interest of the Company, and those situations which create the appearance of conflict; and protect
 confidential and proprietary information held by the Company or entrusted to it. Employees
 must also avoid conduct on or off the job that may injure or harm the Company’s reputation in
 the community, including but not limited to criminal conduct.

         Compliance with this policy of business ethics and conduct is the responsibility of every
 Company employee. Disregarding or failing to comply with this policy could lead to
 disciplinary action, up to and including termination of employment.




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 PHYSICAL EXAMINATIONS / DRUG TESTING

        All successful job applicants will receive an offer of employment conditioned on their
 completion of a physical examination to the Company’s satisfaction at the Company’s cost. All
 information gathered from medical examinations will be kept confidential by the Company and
 disclosed only to those persons who need to know the information.

         During the course of employment with the Company, employees may be required at any
 time to undergo a physical examination(s) and/or drug testing, at a medical facility designated by
 the Company at the Company’s cost. Time spent by an employee who undergoes a physical
 examination (s) and/or drug testing under this policy, will be considered compensable time
 worked, to a maximum of one (1) hour. (For more details on drug testing, refer to the
 Company’s Substance Abuse Program in Section C)




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 JOB REFERENCES

        It is the policy of the Company to restrict the release of information regarding its
 employees and former employees. Any persons or entities requesting information on a particular
 employee or former employee must direct their inquiries to the Corporate Human Resources
 Department. Upon request, only the following information will be provided on an employee or
 former employee:

        •   Verification as to whether the individual was or is employed by the Company.
        •   Verification of the individual’s dates of employment.
        •   Verification of the individual’s position.
        •   Verification of the individual’s salary or rate of pay.

        Exceptions to the above will be made for any employee or former employee who has
 displayed violence in the workplace.

        Improper release of employee information may result in liability for both the Company
 and the employee releasing the information. Consequently, only designated Human Resources
 Personnel are authorized to disclose employee information. Current and former employees
 requesting job references must sign a written authorization for the release of employment related
 information. Company employees are prohibited from providing job references without written
 approval from the Corporate Human Resources Manager.




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 ATTENDANCE

         Our Company depends on our employees to keep operations running smoothly. It is the
 responsibility of each employee to arrive at work on time, be ready to work at the scheduled
 starting time, and to keep absences to a minimum.

        If you are unable to report to work due to illness, or for any other reason, you must notify
 your Supervisor as soon as feasible. Employees should also notify their Supervisor of the
 expected date and/or time he/she will report/return to work. Failure to notify your Supervisor of
 absences, tardiness or expected dates and/or times of return to work negatively impacts the
 Company’s ability to perform to its customers’ requirements and is therefore not acceptable.
 Furthermore, excessive absenteeism or tardiness is not acceptable, even though proper notices
 may have been given. Excessive absenteeism or tardiness may result in disciplinary action
 including termination from the Company. An employee who is absent for two consecutive work
 days without reporting or calling-in will be considered as having voluntarily resigned from
 employment.




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 APPEARANCE / WORK ATTIRE
        Each of us is a representative of the Company. Therefore, it is the responsibility of each
 employee to represent the Company in a positive manner to its customers and the public through
 appropriate behavior and business attire. Employees are expected to be properly dressed and
 groomed.

        Employees who report to work in unacceptable working attire, as listed below, may be
 sent home to change. Such time away from work will be unpaid.

 Office and Administrative Employees:
        Office and administrative employees must be dressed in casual business attire at all times
 during regular working hours. Clothing must be laundered, pressed and free of holes and tears.
 Proper undergarments and covered shoes or sandals must be worn at all times. A list of
 acceptable and unacceptable attire is provided below.

        •   Acceptable Attire:

                Men - long slacks or jeans, collared shirts, covered shoes, approved safety shoes
                or boots (safety toe or hard toe is acceptable) for those employees exposed to
                production operations, or sneakers

                Women - long slacks or jeans, dresses, skirts no shorter than 4 inches above the
                knee, shirts or blouses that fully cover the torso, covered shoes, sandals or
                sneakers

        •   Unacceptable Attire:

                T-shirts other than company t-shirts or tank tops; dresses, shorts or skirts shorter
                than 2 inches above the knee; any attire which reveals any part of the torso;
                exercise and workout attire including, but not limited to, running shorts, bicycle
                shorts and leotards and lycra crop tops; rubber slippers.

 Production Employees:
        • Acceptable Attire:

                Long slacks or jeans, collared shirts, uncollared T-shirts, coveralls, approved
                safety shoes or boots (safety toe or hard toe is acceptable)

        •   Unacceptable Attire:

                Shorts, no shirt, tank tops, sneakers, slippers or sandals or any other non-safety-
                type shoes

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 HONESTY

         Honesty on or off-the-job, and our confidence in your trustworthiness and integrity, are
 absolute requirements. Dishonest acts are certain to be detected. The policy of the Company is
 to prosecute anyone, whether customer or employee, who misappropriates or steals money,
 merchandise, or property. It is your responsibility to report any dishonest acts to your supervisor
 immediately. Failure to do so may result in disciplinary action. You are also required to fully
 cooperate in any investigation of dishonesty, whether or not you are directly involved.
 Dishonesty or failure to fully cooperate in any company investigation of dishonesty is extremely
 serious misconduct which may result in disciplinary action, up to and including discharge.




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 PERSONNEL RECORDS

         To comply with various government regulations, for benefit purposes and in case of
 emergencies, the Company maintains confidential personnel records on each employee. These
 records contain information such as name, address, telephone number, number of exemptions
 claimed on federal and state withholding taxes, marital status, number of dependents, beneficiary
 designations, and changes in work authorization. Failure to provide documentation of your
 identity and authorization to work, falsification of your application or verification documents and
 Form I-9 or expiration or revocation of work authorization is not acceptable and jeopordizes your
 employment.

         It is important for your records to be current and accurate. It is the responsibility of each
 employee to keep his/her personnel record up-to-date by reporting in writing to his/her
 Supervisor, any changes or pertinent information that should be included in their personnel
 record.

         The Company will disclose certain information concerning current or former employees
 in response to requests to verify employment for business reasons or to satisfy legitimate
 investigative or legal needs. Unless otherwise required by a subpoena or court order or a written
 release signed by the employee to release information, generally, information will be limited to
 verification of dates of employment, most recent position held, and salary data.

         All personnel records, including an employee’s personnel file, are the property of the
 company and are confidential. Employees who wish to view certain contents of their own
 personnel file should submit a written request to the Corporate Human Resources Manager for an
 appointment during normal working hours. You may inspect those documents which have been
 used to determine your qualifications for employment, promotion, additional compensation,
 termination, or other disciplinary action. You may not inspect information deemed confidential
 by the company. Review of your record will be with the Corporate Human Resources Manager
 or other designated Corporate Human Resources Representative. Copying or removal of
 personnel records by employees is not allowed.




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 RESOLVING PROBLEMS AND QUESTIONS

         The Company believes it is important to handle employee problems and questions
 promptly and with fairness and justice. Problems, complaints and unanswered questions can
 affect your job performance and morale. It is important to treat those employees who present
 complaints with courtesy, dignity and consideration in discussing the matter.

        Employees are encouraged to seek information or discuss their concerns with
 management. When misunderstandings or problems arise in connection with your work, you
 should discuss those misunderstandings or problems with your immediate supervisor. The
 Company believes that most matters will be satisfactorily resolved between the individual and
 the supervisor. To be sure that any questions or complaints you have is answered or resolved
 properly you should follow the chain of command as outlined:

        1. First Step. Discussion with your immediate supervisor. If you were not satisfied with
           results of this discussion, you should write a statement then arrange a meeting with
           your Department or Division Manager.
        2. Second Step. Discussion with your Department or Division Manager. If both of
           these discussions do not completely resolve the issue, you should call and arrange a
           meeting with the Corporate Human Resources manager.
        3. Third Step. Discussion with Corporate Human Resources Manager. If this discussion
           still does not resolve the issue, you should call and arrange one final meeting with the
           Company President or General Manager.
        4. Fourth Step. Discussion with Company President or General Manager. This is the
           final step in the Company’s problem-resolution process.

         Concerns or complaints involving any form of unlawful discrimination or harassment
 should be brought immediately to the Corporate Human Resources Manager. Such complaints
 will be investigated in accordance with the policy on Discrimination, Harassment and Sexual
 Harassment (Refer to Section C for the policy on Discrimination, Harassment and Sexual
 Harassment).




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 TERMINATIONS AND RESIGNATIONS

         Your employment with the Company is at-will; that is, either you or the Company
 may terminate your employment at any time with or without notice or reason. Except in
 the case of termination for misconduct or poor performance, management will make an effort to
 notify employees in writing of their termination in advance.

          If your employment is terminated by the Company, you will be paid your wages due in
 full at the time of discharge but not later than the next working day following your discharge. If
 you want to object to your termination, an appeal may be made to your Subsidiary/Division
 Manager or Corporate Human Resources Manager.

         Employees who elect to resign from the Company at their discretion, are requested to
 give management at least two weeks written notice of their intent to resign so that a replacement
 may be found. Employees who quit or resign will be paid wages due in full not later than the
 next regular payday.

          All employees who are leaving or who plan to leave their employment with the Company
 are asked to meet with a representative from the Corporate Human Resources Department prior
 to their departure for an exit interviewed. The purpose of the exit interview is to provide the
 employee with information regarding his/her separation from employment and to facilitate the
 return of the employee’s company identification card(s), uniforms (if applicable), Employee
 Handbook, credit cards, keys, reports, company files, electronic files, or other items belonging to
 the Company in the employee’s possession. The exit interview also provides the employee with
 an opportunity to express any opinions he/she may have regarding his/her employment with the
 Company. The employee will receive his/her final paycheck upon completion of the interview,
 return of all company property.




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   EVALUATION / ORIENTATION PERIOD

           All new employees are required to undergo an evaluation / orientation period
   during the first ninety (90) working days of their employment with the Company unless
   otherwise noted. This period is intended to allow employees to become familiar with
   their responsibilities and company operations. Employees may be terminated at anytime
   and for any purpose for any reason with or without notice during this period as well as
   throughout their employment with the Company. The evaluation / orientation period may
   be extended as deemed necessary by the Supervisor, with the approval of management.

           During this period, the new employee’s performance will be subject to detailed
   evaluation by his/her Supervisor(s) to assist in the determination of the employee’s
   retention or release.




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   PERFORMANCE REVIEWS

           In addition to the day-to-day guidance you will receive from your Supervisor,
   your performance will be formally reviewed at the end of your orientation period and
   periodically thereafter. This review will give you and your Supervisor the opportunity to
   discuss your strong points, areas for improvement, and to set performance goals for the
   future.




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   TIMECARDS

           An employee’s timecards and/or timesheets are the official records of hours
   worked by an employee and are the basis for calculating payroll and maintaining accurate
   payroll records. Failure to complete one’s timecard and/or timesheet correctly and on
   time may result in paycheck error and/or delay in issuing the employee their paycheck.
   Falsification, including incorrectly charging labor hours, of timecard and/or timesheet
   may be grounds for discipline including immediate discharge.

           Each employee is responsible to correctly complete his/her own timecard and/or
   timesheet in its entirety. The employee is to record all hours worked corresponding to the
   job number. The employee must sign his/her timecard and/or timesheet and turn it in, on
   a daily or weekly basis, as specified by the Company, to his/her Supervisor for approval.
   Employees are not allowed to clock in or out, complete, or sign the timecard and/or
   timesheet of another employee. Employees who do so may be subject to discipline,
   including immediate discharge.

            Any additions, corrections or other changes to be made on a timecard and/or
   timesheet after it is submitted must be reported to and approved by the employee’s
   Supervisor. At that time, the employee will need to make necessary changes to the
   errors, initial and return it to his/her Supervisor for approval.

         All employees will receive appropriate training in proper timekeeping procedures.
   Procedures for timecard and timesheet input are found in the employee file.




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                                   COMPENSATION


          The Company compensates each employee based on his/her scope of
   responsibility, performance of job duties, and economic conditions, among other factors.

          Employee performance is reviewed on an ongoing basis. Salary increases are
   based on performance as recommended by the employee’s Supervisor and approved by
   management.




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   WORKWEEK & PAYDAYS

          The normal workweek is from 12:01 a.m. on Sunday through 12:00 midnight on
   Saturday. The workweek generally consists of forty (40) hours per week.

           Changes or modifications to your weekly or daily work schedule must be
   approved in advance by your Supervisor. Management reserves the right to change the
   work schedule for all employees due to unforeseen circumstances or as operational needs
   require.

   Unless otherwise provided, paydays for salaried and hourly employees are bi-weekly on
   Fridays.

   Should a holiday occur on pay day, paychecks will be issued the day prior.

         As required by law, Federal and State Withholding tax and Social Security
   (FICA) tax deductions will be made from an employee’s paycheck.




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   DIRECT DEPOSIT (ELECTRONIC FUND TRANSFERS – EFT)

            Employees are given the option of having their paychecks electronically deposited
   in their bank accounts. In order to process a direct deposit request, an employee must
   complete a direct deposit form and attach a copy of a voided check and list the correct
   account number(s). The direct deposit form must be signed by the employee to give the
   Company the proper authorization to process the EFT.

           After the employee initially enrolls in the direct deposit option, he/she may
   change his/her accounts and/or amounts designated for EFT a maximum of two (2) times
   per calendar year.

          Processing time for direct deposit requests will vary depending on the specific
   financial institution. Generally the length of time is about 10 working days or a
   minimum of two payroll periods.




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   OVERTIME WORK

           In order to meet operational needs, there are times when overtime may be
   required. An employee who works overtime and does not get hours authorized will be
   subject to discipline up to and including termination.

          Overtime is calculated for hours worked in excess of forty (40) hours per week
   and will be compensated in either of two ways:

          Wages. Full-time regular and full-time temporary employees paid on an hourly
          basis shall be paid at the rate of one and one-half (1-1/2) times his/her straight
          time hourly rate of pay for all hours worked in excess of 40 hours per week.
          Holiday hours and approved paid time off will be designated as credited hours
          within the work week.

          Employees with fluctuating work schedules will be paid overtime in accordance
          with their individual written agreement.

          Time Off. With their Supervisor’s written approval, employees may schedule
          work times up to ten hours per day for four days and take the remaining hours
          during the week as time off.

          The maximum time off that can be accrued at any point in time is forty (40)
          hours. All hours in excess of this amount will be paid in the normal course of
          payroll.

          When overtime has been authorized and worked, the employee must complete and
   submit a timecard designating the overtime hours of work. Timecards for overtime must
   be turned in to the employee’s immediate Supervisor for approval and processing no later
   than one (1) work day from the date the overtime was worked.

         These overtime provisions shall not apply to employees that are considered
   “exempt” under State and Federal laws or regulations.




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   MILEAGE REIMBURSEMENT

          Non-exempt employees who are directed to use their personal vehicles for
   business purposes will be reimbursed for mileage and parking fees. Mileage will be
   reimbursed at the current applicable Internal Revenue Code rate per mile. Use of one’s
   personal vehicle for business purposes must be approved in advance by the
   President/General Manager and the Corporate Insurance Department.

          Supporting receipts for parking fees and all mileage costs incurred as a result of
   business use must be submitted to the Company on the designated Mileage
   Reimbursement form. The Company may request additional information to substantiate
   any reimbursement request. Requests for mileage reimbursement must be submitted to
   the Accounting department with the necessary approvals no later than the 15th of the
   following month.




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                          COMPANY REGULATIONS

   STANDARDS OF CONDUCT

          To maintain proper order within the Company and for the safety and protection of
   its employees and the visiting public, all employees are expected to adhere to certain
   standards of conduct in their relations with fellow employees, management staff and
   customers while on or about company premises and jobsites and/or company-sponsored
   functions inside and outside company premises.

            The following is a list of prohibited employee conduct. It must be understood that
   this list merely provides examples of prohibited conduct and performance and is not
   intended to be a complete and exhaustive list of all offenses which may result in
   disciplinary action or discharge.

   HOUSE RULES:
   1.     Insubordination, including improper conduct toward a supervisor or
          unwillingness, failure or refusal to perform work as required or assigned.
   2.     Use of profane or abusive language directed at a customer.
   3.     Physical aggression, fighting or attempting/threatening bodily injury to another
          employee, management staff or customer.
   4.     Any disorderly, immoral or indecent conduct including profanity directed at
          another employee, management staff or customer, etc. during working hours or on
          company premises.
   5.     Stealing, pilferage or willfully damaging property of the company, fellow
          employees, management staff and/or customers.
   6.     Improper or unauthorized use of company property, equipment, supplies and
          facilities for personal purposes.
   7.     Disclosing or disseminating confidential information without authorization.
   8.     Knowingly and intentionally disseminating or reporting false information about
          the company, management staff or fellow employees to any person, agency, or
          organization.
   9.     Falsification of timecard and/or timesheet, completing or signing timecard and/or
          timesheet for another employee or requesting another employee to complete or
          sign your timecard and/or timesheet or another employee’s timecard and/or
          timesheet.
   10.    Falsification information provided for any company purposes including your
          employment application, applications for employee benefits, timecard, reports on
          status of job completions and accuracy of services, investigations of employee
          actions and activities, etc.

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   11.   Release of employee information without authority and providing job references
         without written approval from the Corporate Human Resources Manager.
   12.   Sleeping on the job.
   13.   Failure to report accidents, injuries, breakage of or damage to equipment or
         falsifying or refusing to report incidents or to give testimony on incident
         investigations.
   14.   Permitting another employee to use key(s) without authorization for doors,
         closets, storage and other places under lock and key.
   15.   Neglect or disregard of posted smoking rules, safety rules, fire regulations, or
         sanitary rules and regulations.
   16.   Introduction, possession, or use on the job of drugs, narcotics or alcoholic
         beverages or reporting for work or attempting to work while under the influence
         of drugs, narcotics or alcoholic beverages.
   17.   Possession of firearms or weapons of any kind on company property.
   18.   Gambling of any form on company premises or during working hours.
   19.   Leaving the company premises or jobsite during working hours without
         authorization.
   20.   Loitering on company premises or jobsite during non-working hours.
   22.   Harassment, of any kind, directed toward Company employees, customers,
         visitors, or other persons at the worksite or while performing Company business
         away from the worksite.
   23.   Failure to comply with company policies, regulations, work rules, or directives
   not   previously mentioned in the foregoing House Rules.




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   DISCIPLINE

          The Company firmly believes that discipline serves to correct problems rather
   than punish employees. The basic means of helping employees correct their problems is
   the Company’s system of progressive discipline.

           Under the progressive discipline system, the Company will consider both (1) the
   nature and severity of the violation for which the employee is being disciplined and (2)
   the employee’s disciplinary record when deciding on the disciplinary sanction the
   Company will impose. When the Company believes a sanction short of dismissal is
   sufficient to correct the conduct, the Company may impose a warning for a first violation
   or a warning and/or suspension from employment without pay for a second violation.
   Certain conduct, however, is so detrimental to the Company and its successful operation
   that immediate dismissal is warranted and prior warnings or suspensions are not
   appropriate. The company has the exclusive responsibility and authority to determine
   whether to discipline and when to discipline employees. The Company also reserves the
   right to determine the type and severity of discipline to be imposed in each case
   including, but not limited to, warnings, suspensions, and/or discharge.

            The Company is dedicated to treating its employees fairly and impartially in
   imposing discipline. To ensure that any employee receiving discipline understands the
   disciplinary decision, his/her Supervisor may attempt when feasible, to discuss with the
   employee the reason for the sanction imposed and the consequences of future violations
   of any rules. Incidents of discipline will also be recorded in the employee’s personnel
   file to be used in making decisions regarding promotions, demotions, discipline,
   discharge and other personnel matters.




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   SUBSTANCE ABUSE PROGRAM

   I.     PURPOSE

          The Company recognizes that it is important to protect the health and safety of its
          employees, clients and the general public, and to improve the physical fitness and
          ability of its employees to perform their job. To assist us in achieving this goal,
          the Company has adopted the following substance abuse program (for drugs and
          alcohol) to achieve a drug-free workforce and workplace. The goals of this
          program are to educate employees about the problems of substance abuse and
          addiction, to assist employees in overcoming such problems, and to provide fair
          treatment of employees who are substance abusers. Accordingly, the Company
          has adopted the following.

   II.    POLICY

          The unlawful manufacture, distribution, dispensing, possession or use of either
          alcohol or a controlled substance is prohibited on the Company’s premises, its job
          sites and its property (vehicles, equipment, etc.) at all times. Furthermore, the
          Company prohibits employees from reporting to work or working under the
          influence of alcohol or drugs. Employees must notify their Manager if they take
          medications that have warning labels regarding the use of machinery, operation of
          vehicles, or which may cause drowsiness, nausea or similar side effects.

   III.   EDUCATION AND EMPLOYEE ASSISTANCE

          A.     Education. The Company has implemented and will maintain a substance
          abuse prevention program aimed at educating employees on the harmful effects of
          drugs and alcohol and stressing the provisions of this policy. In addition,
          supervisors will receive training to assist them in identifying and addressing
          substance abuse by employees.

          B.     Employee Assistance Program. The Company has established and will
          maintain an employee assistance program to help employees with substance abuse
          problems. For more information about the program, please contact the Corporate
          Human Resources Manager or the Employee Assistance Program Coordinator.

          C.      Self-Referrals. An employee with a substance abuse problem who desires
          to overcome such difficulty, and who voluntarily seeks help from management
          prior to being required to undergo drug testing will be referred to the Employee
          Assistance Program for help in overcoming the problem. An employee who
          voluntarily seeks and undergoes treatment, prior to being required to undergo
          drug testing, will not be subject to disciplinary action because of admitted
          substance

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         abuse. However, participation in the Employee Assistance Program will not
         shield an employee from disciplinary action should the employee violate the
         Substance Abuse Policy while undergoing treatment.

   IV.   DRUG TESTING

         A.     Drug screen testing will be required in the following situations:

                1.     For all applicants applying for employment.

                2.     For all employees returning from layoff or an unpaid leave of
                       absence of one (1) month or more.

                3.     For all former employees who have not worked for the Company
                       for a period of one (1) month or more at the time of rehire.

                4.     As part of the periodic physical examinations for all employees.

                5.     Where there is a reasonable cause to believe or reasonable
                       suspicion to conclude that substance abuse is taking place.
                       Examples of factors which may be considered include, but are not
                       limited to: (a) excessive absenteeism; (b) frequent or unexplained
                       absence from job site; (c) poor interpersonal relations on the job;
   d)                  abnormal work performance or personal behavior; (e) exhibiting
                       unsafe work habits or performance; (f) discovery of drugs or drug
                       paraphernalia at the job site; (g) physical conditions or symptoms;
                       and (h) objective evidence of illegal drug use or sale provided by
                       any federal, state or local law enforcement agency.

                6.     When an employee is involved in an accident and/or is injured, as
                       deemed necessary. However, employees falling within the
                       following guidelines must be tested.

                a.     U.S. Department of Transportation Federal Highway
                       Administration program guidelines. As soon as practicable, but
                       not later than thirty-two (32) hours after an employee is involved
                       in an accident or is injured. A driver who is seriously injured and
                       cannot give a blood and/or urine specimen at the time of the
                       accident, will provide the necessary authorization for obtaining
                       hospital reports and other documents that would indicate whether
                       there were any controlled substance(s) in his/her system.



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               b.     U.S. Department of Transportation Coast Guard program
                      guidelines. Upon the determination of a serious marine incident,
                      all individuals engaged or employed on board the vessel who are
                      directly involved in the incident will be tested.

               7.     Random Testing

               b.     Employees falling within the U.S. Department of Transportation
                      Coast Guard program guidelines shall submit to random testing at
                      an annual rate of not less than 50% for drug use. All crew
                      members who must be tested are those (1) who occupy a position,
                      or perform the duties and functions of a position, required by the
                      vessel’s Certificate of Inspection, (2) who perform the duties and
                      functions of patrolmen or watchmen, or (3) who are specifically
                      assigned the duties of warning, mustering, assembling, assisting, or
                      controlling the movement of passengers during emergencies.

               c.     Employees falling within the U.S. Department of Transportation
                      Federal Highway Administration program guidelines shall submit
                      to random testing at an annual rate of not less than 50% for drug
                      use and not less than 25% for alcohol use. Drivers who must be
                      tested are those required to have a Commercial Driver’s License
                      (CDL) who drive a motor vehicle, (1) with a GVWR of 26,001 or
                      more pounds inclusive of a towed unit with a GVWR of more than
                      10,000 pounds; or (2) with a GVWR of 26,001 pounds; or (3)
                      designed to transport 16 or more passengers, including the driver,
                      (4) of any size that is used to transport hazardous material which
                      requires the vehicle to be placarded.

         B.    Applicants and employees required to undergo testing will be screened on
               a controlled and carefully monitored basis for marijuana and all THC
               containing substances, cocaine, amphetamines, PCP and opiates.
               Employees who are being tested for reasonable cause including
               involvement in an accident may also be tested for alcohol.

         C.    Blood and/or urine samples will be taken only under the direction of a
               licensed physician designated by the Company or under the direction of a
               designated medical laboratory facility. “Split Samples” will be taken to
               permit re-testing of the original sample.

               Breath alcohol tests will be taken only by a breath alcohol technician
               trained to proficiency in the operation of the testing device in use.



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         D.     Employees who are taking medication prescribed by a licensed medical
                practitioner should disclose this information to the Company and to the
                medical laboratory facility prior to them administering the test.

         E.     Time spent by an employee who undergoes a blood alcohol test or a drug
                screen test under this policy, will be considered compensable time
         worked, to a maximum of one (1) hour. However, this provision does not apply
         to job applicants or to “subsequent” tests while the employee is on suspension.

   V.    POSITIVE TEST READINGS

         A.     When an applicant’s test reading is positive the applicant will be notified
                of the findings and will be rejected for employment.

         B.     When an employee’s test reading is positive the employee will be notified
                of the findings, will be subject to disciplinary action in accordance with
                Section VI.A. below, and will be referred to the Company’s Employee
                Assistance Program.

         C.     Department of Transportation Coast Guard program guidelines. If an
                employee holding a license, certificate of registry or merchant mariner’s
                document has a positive test reading, the employee will be notified of the
                findings and the Company shall report the test results in writing to the
                Coast Guard Officer in Charge, Marine Inspection (OCMI). The
                employee shall be immediately removed from his/her duties which
                directly affect the safe operation of the vessel, will be subject to
                disciplinary action in accordance with Section VI.A. below, and will be
                referred to the Company’s Employee Assistance Program.

         D.     An employee who tests positive and is later allowed to return to work
                pursuant to Sections VI.A.1. and 2. below will be subject to unannounced
                testing until two (2) subsequent consecutive tests are negative.

                1.     Such tests shall be conducted within twelve (12) months after the
                       employee returns to work. The period for unannounced testing
                       may be extended to comply with federal or state regulations.

                2.     Department of Defense and Department of Transportation (Coast
                       Guard and Highway Administration). Such tests shall be
                       conducted within sixty (60) months after the employee returns to
                       work. The period for unannounced testing may be extended to
                       comply with federal or state regulations.


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         E.    Records on all positive test results will be retained for six (6) years and
               records on all negative results will be retained for twelve (12) months.
               These records are confidential and will not be disclosed unless required by
               law or authorized, in writing, by the employee tested.

         F.    An employee receiving a positive test result may, within sixty (60) days
               after receipt of the test result, submit a written request for re-testing of the
               specimen producing the positive test result. The sample may be provided
               to the original testing laboratory for re-testing. The laboratory will follow
               the established chain-of-custody procedures. The costs of the additional
               test, and all associated handling and shipping costs, will be the employee’s
               responsibility. Written requests should be submitted to the Corporate
               Human Resources Manager and will be forwarded to the medical
               laboratory facility


   VI.   DISCIPLINARY POLICY

         A.    The following disciplinary action will be taken against an employee whose
               drug screen or blood alcohol test results in a positive reading:

               1.      First Offense. A suspension for the time it takes to obtain a
                       negative reading from any subsequent test, but, in any case, no less
                       than a two-week suspension and no more than a three (3) month
                       suspension and referral to employee assistance program. The
                       employee on suspension will determine when he/she wants to be
                       subsequently re-tested. (The Company will pay for only one (1)
                       retest.) However, should a subsequent test fail to produce a
                       negative reading within three (3) months, the employee will be
                       terminated.

               2.      Second Offense. A suspension for the time it takes to obtain a
                       negative reading from any subsequent test, but, in any case, no less
                       than a four-week suspension and no more than a two (2) month
                       suspension and referral to the employee assistance program. The
                       employee on suspension will determine when he/she wants to be
                       subsequently re-tested. (The Company will pay for only one (1)
                       retest.) However, should a subsequent test fail to produce a
                       negative reading within two (2) months, the employee will be
                       terminated.

               3.      Third Offense. Any employee who tests positive for the third time
                       will be terminated.

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          B.   The subsequent test as referenced in Section VI.A.1. and 2. above, taken
               after a positive reading to determine when an employee may return to
               work, will not be counted as an added offense.

          C.   Disciplinary action, up to and including termination, will also be taken
               under the following circumstances:

               1.     An employee refuses to sign a release and authorization to submit
                      to any blood alcohol or drug screen test, or who refuses to undergo
                      such a test, or refuses to permit the medical facility to provide the
                      results to the company. Submission by an employee of an
                      adulterated or diluted urine sample shall be construed as a refusal
                      to test

               2.     An employee refuses to submit to a search of his personal property
                      for contraband;

               3.     An employee refuses to submit to the Employee Assistance
                      Program after being referred to the program by management;

               4.     Employees found in the possession of, using, consuming, selling or
                      attempting to sell alcohol, illegal drugs and/or drug paraphernalia
                      while on duty or on the Company’s premises or job site;

               5.     An employee who fails to notify the Company within five (5) days
                      of a conviction for drug violations which occurred when the
                      employee was on duty or on the Company’s premises or job site.

          D.   Employees who violate the Company’s policy on substance abuse will be
               reported to the proper authorities for investigation and prosecution.

          E.   Department of Defense program guidelines. Employees convicted for
               drug violations which occurred while the employee was on duty or on the
               Company’s premises or job site must notify the company no later than five
               (5) days after conviction. A company who is notified of an employee’s
               conviction for a drug violation while the employee was on duty or on the
               Company’s premises or job site must notify the Contracting or Granting
               Agency within ten (10) days after receiving actual notice that an employee
               has been convicted of a drug violation in the workplace.

   VII.   SEARCHES

          A.   The Company reserves the right, where there is a reasonable cause to


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               believe or reasonable suspicion to conclude that contraband may be
               present, to search employees’ personal property including, but not limited
               to, lunch boxes, purses, bags, desks, lockers, or automobiles on the
               Company’s premises or job sites without prior warning.

         B.    Any contraband or suspected contraband will be impounded and turned
               over to authorities for examination and/or analysis. A receipt will be
               issued for any seized property.
         C.    Time spent by an employee who undergoes a search under this policy,
               shall be considered compensable time worked.

   VIII. DISCLOSURE OF INFORMATION

         C.    The records maintained by the Company for its Employee Assistance
               Program are confidential and protected by federal and state laws and
               regulations. The Company cannot disclose information identifying an
               employee as a participant in its program except in the following limited
               circumstances:
               1.      The employee-participant consents to the disclosure in writing
               2.      The disclosure is required by a court order;
               3.      The information is necessary to meet a medical emergency
                       involving the employee-participant; or
               4.      The information is required by qualified personnel for research,
                       audit or program evaluation.

         B.    The Company will provide each employee who participates in the
               Employee Assistance Program with a written summary, as requested, of
               the federal law and regulations governing disclosure as set forth in Exhibit
               B attached hereto and made a part hereof. The Company will request that
               the employee consent to release of treatment information to the Company
               by the treatment provider.

         C.    An employee’s participation in the Employee Assistance Program will
               prohibit the Company and/or Employee Assistance Program provider from
               reporting any crimes committed by the employee-participant either at the
               program or against any person who works for the program, or from
               reporting any threats to commit such crimes, to the appropriate federal,
               state or local authorities.

         D.    An employee’s participation in the Employee Assistance Program will not
               prohibit the Company and/or Employee Assistance Program plan provider
               from reporting any information about suspected child abuse or neglect
               under state law to the appropriate state or local authorities.

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    DISCRIMINATION, HARASSMENT AND SEXUAL HARASSMENT

           Navatek, Ltd. is firmly committed to a policy of non-discrimination and the right
   of all employees to a work environment free of harassment and intimidation.
   Discrimination or harassment of any employee on the basis of age, sex, religion, race,
   color, national origin, disability, marital status, sexual orientation or arrest and court
   record, pregnancy, and genetic information is prohibited. Furthermore, unwelcome
   sexual advances, requests for sexual favors, and other verbal or physical conduct of a
   sexual nature by any employee to any other employee are serious violations of the
   Company’s policy against sexual harassment and will not be tolerated.

           Unwelcome verbal, non-verbal, visual, or physical conduct of a sexual nature
   constitute inappropriate sexual conduct, which can form the basis of sexual harassment
   claims. Inappropriate sexual conduct can take many forms. It is not limited to physical
   assaults, unwelcome or unwanted sexual advances, or requests and demands for sexual
   favors. It can also involve:

          •   Unnecessary or unwanted physical contact (e.g. patting, pinching, hugging or
              intentional brushing up against another’s body);

          •   Verbal conduct (e.g. offensive sexual flirtations, advances, propositions,
              verbal abuse of a sexual nature, graphic verbal commentaries about an
              individual’s body, sexually degrading words used to describe an individual or
              the telling of “dirty jokes”); and

          •   Non-verbal conduct (e.g. the display in the work place of sexually suggestive
              objects or posters and calendars showing nude or partially nude photographs,
              winking, lingering glances, wolf whistles, sexual gestures).

           Inappropriate sexual conduct becomes unlawful sexual harassment when: (1)
   submission to such conduct is made a term or condition of an individual’s employment;
   (2) submission to or rejection of such conduct is used as a basis for employment
   decisions affecting the individual; or (3) such conduct has the purpose or effect of
   interfering with an individual’s work performance or creates an intimidating, hostile or
   offensive working environment.

   All employees are responsible for compliance with this policy. Where management
   determines that sexual or other harassment may have occurred, it will take immediate and
   appropriate corrective action to end the harassment, make the victim whole by restoring
   lost employment benefits or opportunities, if applicable, and prevent the misconduct from
   recurring.


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           Any employee who feels he or she has been subject to discrimination,
   harassment or sexual harassment, should contact either their supervisor,
   department head, manager or the Corporate Human Resources Manager/EEO
   Officer, immediately. An investigation into the surrounding circumstances will be
   conducted, keeping it confidential to the extent possible, to resolve the matter promptly.
   Retaliation in any form against an individual who has filed a complaint of discrimination
   or harassment will not be tolerated.




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   VIOLENCE PREVENTION

   I.    POLICY

         The Company has a zero tolerance for violence. Any employee who displays any
         violence in the workplace or threatens violence in the workplace, will be subject
         to immediate termination from employment. No talk of violence or joking about
         violence will be tolerated.

         “Violence” is defined to include physically harming another, shoving, pushing,
         harassment, verbal or physical intimidation, coercion, brandishing weapons, and
         threats or talk of violence.

   II.   SAFE WORKPLACE COMMITMENT

         We are committed to providing a safe environment for employees, customers,
         vendors and visitors. In order to provide a safe workplace, the following rules
         apply:

         A.     Property Access. Access to our property is limited to those with a
                legitimate business interest. All employees and employee vehicles
                entering the property must display a valid company parking sticker. All
                visitors and visitor vehicles must register and display a Visitor Parking
                Pass while on company property.

         B.     Inspections. Desks, telephones and computers are company property. The
                Company has the right to enter or inspect work area including, but not
                limited to, desks, lockers, computers and computer storage disks, with or
                without notice.

         C.     Equipment. Our fax machines, copiers and mail systems, including E-
                mail, where applicable, are for business purposes. Personal business
                should not be conducted through these business systems. Under
                conditions approved by the management, telephone conversations may be
                overheard and voice mail messages may be retrieved in the process of
                monitoring customer service.

         D.     Threats. Any private conversations overheard or private messages
                retrieved during such monitoring constituting threats against other
                individuals will be a basis of termination from employment.



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   IV.   CORRECTIVE ACTION

         To ensure consistent treatment of all our employees, we have a corrective action
         system. Should there be a problem regarding your adherence to our policies and
         work rules, you may be given an opportunity to change the inappropriate
         behavior.

   V.    EMPLOYEE ASSISTANCE PROGRAM

         We provide the resources of an employee assistance program (EAP) to all of our
         full-time employees. (See Section D for more details on EAP services.) EAP
         services are offered to these employees and their eligible dependents. While we
         receive periodic reports on the number and types of visits made to the EAP, we do
         not receive any information about individual contacts, or matters discussed during
         scheduled sessions.

         You are encouraged to use our EAP whenever you feel the need for guidance in
         coping with any problems you have. If you have difficulty with the use of drugs
         or alcohol, the EAP can provide information on treatment.

         The EAP is a confidential service to be used when you need help.

   VI.   REPORTING POTENTIAL PROBLEMS

         It is everyone’s business to prevent violence in the workplace. You can help by
         reporting what you see in the workplace that could indicate that a co-worker is in
         trouble. Often, you are in a better position than management to know what is
         happening to those you work with.

         You are encouraged to report any incident that may involve a violation of our
         policies that are designed to provide a comfortable and safe working environment.
         Concerns may be presented to your supervisor, manager or the Corporate Human
         Resources Manager.

         All reports will be investigated promptly and information will be kept
         confidential, except where there is a need to know in order to resolve the problem.
         The Company prohibits retaliation against any employee who has made a good-
         faith complaint of intimidation, harassment, or threat of violence or who has
         cooperated with the investigation of such a complaint.




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   VII.   WORKPLACE INCIDENTS

          In the event of a major workplace incident that affects or has the potential to
          affect the mental health of our work force, we may provide initial counseling and
          support services to you and your immediate family members.

          As the crisis passes and support systems are put into place for individuals affected
          by the incident, we will make every effort to return to normal business operations.
          A reasonable effort will be made to notify employees, customers and others who
          need to know of the status of our business operations directly whenever possible.
          In cases where direct contact is not possible or practical, an effort will be made to
          communicate through the news media and other available resources.




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   SMOKING POLICY

   I.     PURPOSE AND BACKGROUND

          A.     This policy is designed to promote employee health and safety and the
                 conduct of company business. It is not intended to totally prohibit
                 smoking on the Company’s premises, but does restrict it to certain areas.

          B.     Smoking poses a significant risk to a smoker’s and non-smoker’s health.
                 It can also damage sensitive technical equipment and can be a safety
                 hazard. In sufficient concentrations, side stream of second-hand smoke
                 can be annoying to non-smokers. It may be harmful to individuals with
                 heart and respiratory diseases or allergies related to tobacco smoke.

          C.     Smoking is a complex problem that concerns elements of a psychological
                 and physiological addiction. Many individuals require assistance to
                 eliminate smoking from their lives. It is not a problem that can be solved
                 completely by prohibition or restriction. This policy is intended to assist
                 employees in finding a reasonable accommodation between those who do
                 not smoke and those who do, and demonstrates the Company’s desire to
                 encourage good health for all employees.

          D.     According to the Hawaii Smoke Free Law, the Act is to protect the public
                 health and welfare by prohibiting smoking in public places and places of
                 employment to ensure a consistent level of basic protections statewide
                 from exposure to secondhand smoke.

   II.    POLICY

          It is the Company’s policy to respect the non-smoker’s and the smoker’s rights in
          company buildings and facilities. When these rights conflict, the Company and
          its employees should endeavor to find a reasonable accommodation. When an
          accommodation is not possible, the non-smoker’s rights should prevail.

   III.   PROHIBITED AREAS

          Smoking is not permitted:

          A. In all enclosed or partially enclosed areas, including buildings and vehicles
             owned, leased, or operated by the State or any county.




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         B. In all enclosed or partially enclosed areas of places of employment, which
            includes a minimum distance of 20 (twenty) feet from entrances, exits,
            windows that open, and ventilation intakes that serve an enclosed or partially
            enclosed area where smoking is prohibited.

         C. In areas with sensitive equipment, computer systems, or where records and
            supplies would be exposed to hazard from fires, ashes or smoke;

         D. Where combustible fumes can collect, as in garage and storage areas, areas
            where chemicals are used, and all other designated areas where an
            occupational safety or health hazard might exist;

         E. In confined areas of general access, as in restrooms, copy rooms, the
            conference room, etc.;

         F. Aboard all vessels.

         G. Where company premises are frequently visited by customers, such as public
            offices and customer service areas; and

         H. The Company may designate locations where smoking specifically is
            permitted.




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   CONFLICT OF INTEREST

           A successful working relationship with the Company requires your full effort and
   attention. Outside interests should be avoided if they might adversely affect your
   employment with the Company including conflict with the Company’s interests.
   Examples of conflicts of interest include, but are not limited to:

               *   Outside activities including part-time employment, which have a negative
                   effect on your ability to satisfy job-related requirements of your position
                   with the Company;
               *   Outside employment or business interests, which are in competition with
                   the Company’s business; and
               *   Outside activities, which involve the use of confidential information
                   learned directly or indirectly through employment at the Company.

           You are required to report all outside employment and business interests to your
   Department or Division Manager in order to determine if there is any possibility of a
   conflict of interest. You are also requested to report any other activities that might be
   regarded as a conflict of interest. Failure to report potential conflicts of interest or refusal
   to resolve such conflicts may result in disciplinary action, including discharge.




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   SAFETY AND HEALTH

           The safety and health policy for the Company provides the basis for the safety and
   health program. Accident prevention is a management function and responsibility.
   However, all employees should work toward a goal of zero accidents, injuries/illnesses.
   We will provide a safe and healthful work place through the identification of hazards and
   mitigation of them to prevent injuries and illnesses. Employee involvement in the
   identification and mitigation of hazards is an integral element to our success. The
   involvement of employees in every aspect of our safety and health program also includes
   a policy that employees are protected from any discriminatory or reprisal actions as a
   result of their participation or involvement.

           Implementation of the safety and health program is the responsibility of the first
   line supervisors. Managers are responsible for ensuring that the safety and health
   programs are developed. Meeting their responsibilities in providing a safe and healthful
   work place requires knowledge of the company safety and health program, application of
   the program elements to the daily work activities, monitoring the implementation
   methods and correcting deficiencies or unsatisfactory trends.

           Employees are expected to participate in the implementation of the safety and
   health program through suggestions for improvements, identification of hazards or
   potential hazards, and compliance with the program requirements, e.g., wearing of
   personal protective equipment, participating in work place monitoring activities to
   determine employee exposure, reporting accidents, injuries, or illnesses, and complying
   with procedures and safety related signs, tags, and barricades.

           Protection of our employees and the environment are top priorities and must be
   considered in all decisions regarding our work operations. Implementing and integrating
   the safety and health regulations, Federal and State, with our work activities are expected
   to further our efforts to eliminate accidents, injuries and illnesses.




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   CONFIDENTIALITY

           It is the Company’s policy to protect its property and sensitive information. The
   willful disclosure of confidential Company information constitutes violation of Company
   policy and may result in disciplinary action up to and including discharge for current
   employees and legal action against former employees. The information not to be released
   to people and entities outside the Company includes, but is not limited to, the following:

          *       Marketing goals and/or margins
          *       Sales Figures
          *       Customer spending, lists and other data
          *       Profit margins
          *       Product Mark-up
          *       All Company reports such as sales reports, operating reports
          *       Photocopies
          *       Names and addresses of employees or customers
          *       Employee handbook
          *       Employee compensation
          *       Project documents, records, studies, internal memos, grant proposals
          *       Contracts and supporting documentation
          *       Communications (emails, letters, other social media venues) to and from
                  customers, partners, government agencies, independent contractors and
                  others who deal with company business
          *       Computer files and data
          *       Proprietary processes, trade secrets, and intellectual property of the
                  company, or owned by clients/customers and shared with the company.

   These company related materials should not be shared with people outside the company.
   If you are unsure of the materials’ confidentiality, please check with your supervisor.




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   COMMUNICABLE AND LIFE-THREATENING ILLNESSES

           The Company is committed to providing a healthy work environment and to
   protecting the physical and emotional health and well-being of all employees in the
   workplace.

          We recognize that employees with communicable or life-threatening illnesses,
   including but not limited to cancer, heart disease, AIDS, hepatitis and tuberculosis, may
   wish to continue working for as long as their condition allows, providing the employee’s
   condition does not pose a threat to the health of other employees.

            As with any illness or disability, employees are permitted to continue to work as
   long as acceptable performance standards are met and medical evidence indicates that
   their illness is not a threat to others. Such persons will be treated consistently with other
   employees.

           Any employee diagnosed with a communicable or life-threatening illness is
   entitled, as is any other employee, to confidentiality of information regarding their
   medical condition and records. All precautions to protect such information will be taken.

          No other accommodation will be provided as long as medical advice indicates the
   work environment is a safe one. Education will be provided to members of such a work
   group as necessary.




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   CELLULAR PHONES



   Purpose

   The purpose of this policy is to promote a safe and productive work environment and
   increase public safety. This policy applies to both incoming and outgoing cellular calls.

   Scope

   This policy applies to all employees.

   Policy and Procedure

   1. Cell phones shall be turned off or set to silent or vibrate mode during meetings,
   conferences and in other locations where incoming calls may disrupt normal workflow.

   2. Employees may carry and use personal cell phones while at work on a sporadic basis.
   If employee use of a personal cell phone causes disruptions or loss in productivity, the
   employee may become subject to disciplinary action per company policy.

   3. Department managers reserve the right to request that the employee provide cell phone
   bills and usage reports for calls made during the working hours of that employee to
   determine if use is excessive.

   4. Personal cell phones shall be used for company business on a sporadic basis.
   Employees may be reimbursed for the incoming calls to their personal cell phones.
   Employees shall not be reimbursed for outgoing calls made from their cell phones unless
   prior authorization is obtained from their immediate supervisor.

   5. Use of the cellular phone while driving is strictly prohibited. Texting or instant
   messaging is also not allowed while operating a company vehicle as well. Failure to
   follow this policy may result in disciplinary action up to and including termination.

   6. If an employee is issued a company cell phone, this may not be used for personal
   phone calls unless authorized by the Company prior to usage. All rules from this policy
   applies to company issued cell phones.

   7. Any unauthorized use and/or illegal activity shall not be done in conjunction with a
   cellular phone whether it is company owned or personally owned. Such activities
   include, but are not limited to, downloads, internet usage of any kind, drug-related
   activities, and the like.


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                ELECTRONIC MAIL AND INTERNET USAGE


   I. POLICY

          Computers, computer files, electronic communication systems, internet access,
          and software furnished to employees are Company property intended to be used
          solely for business purposes. Any materials developed by an employee with
          company resources during or after normal work hours will be the property of the
          Company, including patentable inventions, copyrights, and trade secrets. All
          work done with Company resources will be owned by the Company or will be
          deemed assigned to the Company. Employees should not use a password, access
          a file, or retrieve any stored communication without authorization. To ensure
          compliance with this policy, computer, e-mail, and internet usage may be
          monitored.


   II.    ACCESS OF INFORMATION

          An electronic mail system has been installed by the Company to facilitate
          business communications. The password to access this system belongs to the
          Company. This system should be treated like other shared filing systems and the
          Company reserves the right to access the contents of e-mail communications at all
          times, with or without notice, for any purpose. All system passwords and
          encryption keys must be available to Company management, and you may not use
          passwords that are unknown to your supervisor or install encryption programs
          without turning over encryption keys to your supervisor. All e-mail messages are
          Company records. The contents of e-mail, properly obtained for legitimate
          business purposes, may be disclosed within the Company without your
          permission. Therefore, you should not assume that messages are confidential.
          Back-up copies of e-mail may be maintained and referenced for business and
          legal reasons.

   III.   E-MAIL USAGE

          Because the Company provides the electronic mail system to assist you in the
          performance of your job, you should use it for official Company business. You
          may also use e-mail to communicate regarding Union issues protected under the
          National Labor Relations Act. Incidental and occasional personal use of e-mail is
          permitted by the Company, but these messages will be treated the same as other
          messages. The Company reserves the right to access and disclose as necessary all
          messages sent over its e-mail system, without regard to content.


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         Since your personal messages can be accessed by Company management without
         prior notice, you should not use e-mail to transmit any messages you would not
         want read by a third party. For example, you should not use the Company’s e-
         mail for gossip, including personal information about yourself or others, for
         forwarding messages under circumstances likely to embarrass the sender, or for
         emotional responses to business correspondence or work situations.

   IV.   E-MAIL CONTENT

         You may not use the Company’s e-mail system in any way that may be seen as
         insulting, disruptive, or offensive by other persons, or harmful to morale.
         Examples of forbidden transmissions include sexually-explicit messages,
         cartoons, or jokes; unwelcome propositions or love letters; ethnic or racial slurs;
         or any other message that can be construed to be harassment or disparagement of
         others based on their sex, race, sexual orientation, age, national origin, or
         religious or political beliefs. An Employee sending any inappropriate e-mail
         content may be subject to discipline up to and including termination.

   INTERNET ACCESS

         Access to the Internet is provided for legitimate business purposes and “surfing”
         the net for non-business purposes during business hours is prohibited. To avoid
         copyright infringement claims or unlicensed use, downloading any software from
         the Internet without Company authorization is prohibited. Additionally, posting
         of copyrighted materials on the Internet for any business purpose is prohibited.
         Employees will be responsible for all costs arising out of the intentional improper
         or unlawful use or abuse of the Internet/e-mail, including attorneys fees and costs
         incurred.

   V.    SYSTEM SECURITY

         Security of information is a priority. Employees with access to the Internet are
         expected to use extreme care in the selection and confidentiality of their
         password. Employees are prohibited from the unauthorized use of the passwords
         and encryption keys of other employees to gain access to the other employee’s e-
         mail messages. Anyone using the e-mail system who discovers a security
         problem is required to notify the Systems Analyst.

   VI.   NOTIFICATION AND DISCIPLINARY ACTION

         Employees should notify their immediate supervisor, the Human Resources
         Manager or any member of management upon learning of violations of this
         policy. Employees who violate any portion of this policy will be subject to
         disciplinary action, up to and including termination of employment.

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   MEAL BREAKS

          Employees entitled to meals breaks are required to punch or sign out on their
   timecards for all meal or rest breaks of 30 minutes or more. Employees should observe
   all meal and rest breaks unless otherwise authorized by the employee’s immediate
   supervisor. Failure to return from meal and rest breaks on time could subject the
   employee to disciplinary action up to and including discharge.




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                               EMPLOYEE BENEFITS

                            SUMMARY OF BENEFITS
                     for FULL-TIME REGULAR EMPLOYEES

           The Company provides, in addition to competitive wages, a wide range of
   benefits to help meet the needs of its employees.

          This section contains brief summaries and eligibility requirements of the benefit
   plans which are currently part of the Company’s benefit package for full-time regular
   employees. The summaries do not provide detailed technical and/or exhaustive
   explanations of the benefits available but are merely intended to provide you with general
   descriptions of some of the more important features of the various plans.

           The Company reserves the right to amend, modify, delete and/or add to any and
   all terms related to these benefits without notice as it deems fit, including but not limited
   to, types of benefits provided, premiums and insurance.




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                                        SUMMARY OF BENEFITS
                                 for FULL-TIME REGULAR EMPLOYEES
              Full-time regular employees may be eligible to receive the following benefits according to the
    time schedule listed below. Please refer to the following pages to determine your eligibility and cost, if
    any, for these benefits. More detailed information on benefits may be obtained from the Corporate Human
    Resources Department.

   ELIGIBILITY PERIOD                                             TYPE OF BENEFIT
 Upon Hire                                                 •     Workers’ Compensation Insurance
                                                           •     Temporary Disability Insurance
                                                           •     Social Security contributions
                                                           •     Military Service Leave without Pay
                                                           •     Witness/Jury Duty (without pay)
                                                           •     Voting Time, if applicable
 Upon completion of one month of continuous                •     Medical/Vision/Prescription Insurance - for Employee
 employment                                                      only
                                                           •     Flexible Spending Plan - Insurance Premiums Account -
                                                                 for Employee only
 Upon completion of three months of                        •     Dental Insurance - for Employee only
 continuous employment                                     •     Group Life Insurance
                                                           •     Paid Holidays
                                                           •     Employee Assistance Program
 Upon completion of six months of continuous               •     Medical/Vision/Prescription Insurance for Dependents
 employment                                                •     Dental Insurance for Dependents
                                                           •     Flexible Spending Plan - Insurance Premiums Account -
                                                                 for Dependent coverage
                                                           •     Flexible Spending Plan - Medical Expense Account
                                                           •     Flexible Spending Plan - Dependent Care Expense
                                                                 Account
                                                           •     Voluntary Insurance Coverage
 Upon completion of a twelve month period and              •     Family and Medical Leave
 1250 hours of service at a worksite with 50 or
 more employees
 Upon completion of one year of continuous                 •     401(k) Retirement Savings Plan
 employment and 1000 hours of service                      •     ROTH 401(k) Retirement Savings Plan
 Upon completion of one year of continuous                 •     Leave with Pay = 6 days
 employment as a full-time regular                         •     Leave without Pay
                                                           •     Witness/Jury Duty Leave with Partial Pay
                                                           •     Funeral Leave
 Upon completion of two years of continuous                •     Leave with Pay = 12 days
 employment as a full-time regular
 Upon completion of three or more years of                 •     Leave with Pay = 18 days
 continuous employment as a full-time regular


    NOTE: This list briefly summaries the eligibility periods for full-time regular employees of the Company. Plan
    documents should be consulted for all details regarding any benefit plans. The Company reserves the right to amend,
    modify, delete and/or add to any and all terms related to these benefits, including but not limited to, types of benefits
    provided, premiums and insurance, to interpret any and all provisions of the Handbook or the other plan documents,
    and to determine eligibility for the benefits, without notice as it deems fit.

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   MEDICAL INSURANCE

           Full-time regular employees may participate in either of the three medical plans
   specified below. All plans include drug and vision riders and cover a percentage of
   medical, surgical, hospital, lab and professional service fees. Employee as well as
   dependent coverage is available. Once the employee meets the eligibility requirements,
   the Company pays a portion of the monthly medical premium. Information on these
   plans can be obtained from the Corporate Human Resources Department.

   Insurers

          1.      HMSA Comp Med Plan

          2.      HMSA Preferred Provider Plan, Preferred Provider Drug Plan

          3.      HMSA Health Plan Hawaii Plus

          4.      Kaiser with Drug and Vision


   Eligibility Requirements

          •    For Employee coverage:

                  Employees are eligible for coverage when their term of employment is
                  equal to 30 calendar days.

          •    To include Dependent coverage:

                  Dependents are eligible for coverage when the employee’s term of
                  employment is equal to 180 calendar days.


   The company does not allow medical insurance coverage for a spouse and/or
   dependent(s), if your spouse and/or dependent(s) are covered by another medical
   plan.




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   DENTAL INSURANCE

          Full-time regular employees may participate in one of the two dental plans listed
   below. Both plans are provided by HMSA. Once the employee meets the eligibility
   requirements, the Company pays a portion of the monthly dental premium. Additional
   information on these plans can be obtained from the Corporate Human Resources
   Department.

   Insurers

          1.      Dental L48 Plan

          2.      Dental HMO Plan

   A detailed benefits listing may be obtained from the Corporate Human Resources
   Department

   Eligibility Requirements

          •    For Employee coverage:

                  Employees are eligible for coverage when their term of employment is
                  equal to 90 calendar days.

          •    To include Dependent coverage:

                  Dependents are eligible for coverage when the employee’s term of
                  employment is equal to 180 calendar days.

   The company does not allow dental insurance coverage for a spouse and/or
   dependents, if your spouse and/or dependents are covered by another dental plan.




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   COBRA

           Under the Consolidated Omnibus Budget Reconciliation Act (COBRA)
   employees and their dependents may elect to continue coverage under the Company’s
   group health care plan if either the employee, spouse, or dependent children would
   otherwise lose coverage for certain specific reasons and do not have any other group
   health care plan. See the Corporate Human Resources Department for details.




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   PERSONAL LEAVE WITH PAY

   Full-time regular employees are eligible for Leave with Pay based upon their length of
   employment as follows:

          1 year of employment          =       6 days*
          2 years of employment         =       12 days*
          3+ years of employment        =       18 days*

          *Personal Leave with Pay earned will be earned at the employee’s current wage
          rate and calculated based on the average number of hours worked per day in a
          given week, not to exceed a maximum of eight (8) hours per day. Personal Leave
          with Pay will be accumulated in a dollar amount equivalent.

   Employees may use their Leave with Pay for vacation and absences which occur on the
   employee’s normal work days, or for any other personal reasons as the employee wishes.
   On the Request, the employee must indicate the approximate date of his/her return to
   work and the reasons for the Leave with Pay. The Company will try to make every effort
   to grant your Leave with Pay as requested. However, approval of Leave with Pay is
   subject to workload and staffing needs.

   All employees absent or who miss work due to an emergency, must complete and submit
   a Leave with Pay Request to their Supervisor upon their return to work in order to be paid
   for such days.

   Employees incurring a long-term, non-industrial injury or illness that is compensable
   under temporary disability insurance (TDI) will receive compensation for part of the 7-
   day waiting period as follows:

          1 year of employment          =       3 days (or a maximum of 24 hours) paid
                                                during the waiting period
          2 years of employment         =       4 days (or a maximum of 32 hours) paid
                                                during the waiting period
          3+ years of employment        =       5 days (or a maximum of 40 hours) paid
                                                during the waiting period


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   Leave with Pay may be accumulated up to a maximum of five (5) week s which may be
   up to 250 hours.. At the time of the employee’s anniversary date, any accumulated Leave
   exceeding this maximum (5 weeks or up to 250 hours) that has not been taken, will be
   forfeited.

   Leave with Pay will not be accrued or due an employee until one (1) full year of
   employment as a full-time regular is completed. Subsequently, Leave with Pay is earned
   and calculated on each anniversary year thereafter and there is no prorating for a partial
   year of service. Leave with Pay will be prorated for an anniversary year only if an
   employee is granted a leave of absence without pay, or if an employee was employed for
   a full anniversary year but worked less than 1800 hours.

   An employee’s leave with pay is calculated on the first of the month following one’s
   anniversary date. (An employee’s anniversary date is defined as the day on which an
   employee’s status was changed to “full-time regular.”)




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   PERSONAL LEAVE WITHOUT PAY

          A leave of absence without pay may be granted to full-time regular employees for
   compelling personal reasons. Personal leave without pay is not authorized to extend
   absences provided under the Family & Medical Leave (FMLA) benefit. A personal leave
   of absence without pay is defined as a period during which the employee is not working
   and receiving wages. Employees can take no more than two (2) leave of absences with a
   combined total of no more than 60 calendar days within a 365 consecutive day period.
   Employees requesting a Leave of Absence without pay will be required to use all
   accumulated Leave with Pay before taking an unpaid Leave of Absence.

           Each case will be reviewed on an individual basis taking into consideration length
   of leave and position involved. Written request by the employee and approval by the
   employee’s Supervisor and Subsidiary/Division Manager is required. Efforts will be
   made to reinstate you to the same position, if it can be held open, or if possible, to a
   similar position, at the end of the leave. However, this statement should not to be
   construed to be a guarantee of continued employment.

           Company-provided benefits will cease as of the first day of the month following
   the effective date of your unpaid Leave of Absence. The employee may elect to continue
   coverage under the company’s group medical and dental plans at a cost of 102% of the
   monthly benefit premiums. (Refer to Page D-7 for COBRA benefit.) Contact the
   Corporate Human Resources Department for details.

          It is the employee’s responsibility to notify his/her Supervisor two weeks before
   the end of the leave, should the expected date of return change. Failure to do so may be
   considered a voluntary resignation.

   Eligibility Requirements

          •   Full-time regular employees are eligible to request a leave of absence without
              pay when their term of employment as a full-time regular is equal to one (1)
              year.




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   FLEXIBLE SPENDING PLAN

           Full-time regular employees are eligible to participate in the Company’s Flexible
   Spending Plan upon completion of the eligibility requirements. A “Flex Plan” enables
   the employee to set aside portions of their wages to pay for medical, dental, drug, vision,
   voluntary insurance and dependent care expenses before income and Social Security
   taxes are applied. The money set aside reduces the employee’s taxable income so the
   employee pays less taxes and increases his/her net spendable income.

           With the Flex Plan, the employee can pay bills with tax-free money that may be
   put into one or all of three separate spending accounts:

          (1)     Insurance Premiums Plan - The portion of the monthly insurance
                  premiums the employee pays through payroll deduction for dependent
                  medical and dental insurance, can be automatically paid with pretax
                  dollars. Voluntary insurance premium plans with exception to Group Life
                  Insurance is also eligible in the Flex Plan.

          (2)     Medical Expense Plan - Use this account to pay for medical, dental, drug
                  and vision expenses that the health plan doesn’t cover. This account is
                  especially useful to employees with predictable expenses such as contact
                  lenses, braces, maintenance drugs and medical supplies.

          (3)     Dependent Care Expense Plan - Employees who pay for child care
                  services, including preschool and afterschool care can take advantage of
                  this account. It can also be used to pay for the care of someone, child or
                  adult, who is physically or mentally incapacitated and dependent upon the
                  employee.

           At the beginning of each plan year, the employee decides how much money, if
   any, he/she wants to allocate to each account by carefully estimating what his/her
   expenses will be for the plan year. Elections remain constant for the plan year unless
   there is a family status change or job status change for the employee and/or spouse
   including termination of spouse’s employment. Each pay period, the amounts that were
   decided on are deducted and then allocated to individual spending accounts established
   especially for the employee. The flexible spending plan provider will manage each of the
   accounts -- all the employee does is keep track of his/her medical, dental, drug, vision
   and dependent care expenses.


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           To be reimbursed for these expenses, the employee chooses a “Benny Card” that
   is used like a debit card for an annual fee or the employee fills out a Reimbursement
   Request Form and sends it with copies of receipts to the flexible spending plan provider.
   A reimbursement check is then mailed directly to the employee’s home. It is important
   that employees plan their expenses carefully since any money remaining in the
   employee’s accounts at the end of the plan year are forfeited. Additional information on
   the Flexible Spending Plan can be obtained from the Corporate Human Resources
   Department.

   Eligibility Requirements

          •   Insurance Premiums Plan - Employees are eligible to participate in this plan
              upon completion of 30 days of service. For dependent coverage, the
              eligibility period is extended to 180 calendar days.

          •   Medical Expense Plan - Employees are eligible to participate in this plan upon
              completion of 180 calendar days. Amount placed into the Medical Expense
              Plan is subject to years of service.

          •   Dependent Care Expense Plan - Employees are eligible to participate in this
              plan upon completion of 180 calendar days.




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   GROUP LIFE INSURANCE

          Full-time regular employees may join the group life insurance plan Medical Life
   Insurance Company and are then provided term life insurance in the amount of one and
   one half (1-1/2) times their base annual salary with a maximum of $50,000 of coverage.
   The plan provides employees with term life and accidental death and dismemberment
   insurance coverage 24 hours per day. The Company pays the premium for this insurance
   coverage.

   Eligibility Requirements:

          •   Employees are eligible for coverage when their term of employment is
                equal to 90 calendar days.

          •   Dependent coverage is not available.




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   WORKER’S COMPENSATION INSURANCE

           Worker’s compensation insurance is provided as required by state and federal
   regulations. It covers a work-related injury or illness. If you are injured, notify your
   Supervisor or the office management personnel immediately, but in no event later than 24
   hours. Modified duty will always be available, if feasible. A written release, with
   physical limitations if any, by your physician is required, at the latest, on the first day you
   return to work. FMLA Leave and Workers Compensation will be run simultaneously.




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   SOCIAL SECURITY BENEFITS

          The Company pays its required portion of the cost of retirement benefits provided
   under the federal Social Security Administration. Upon retirement, the amount of an
   employee’s monthly benefit is determined by his level of earnings and the number of
   years of coverage under the plan. The range of benefits and levels of benefits are
   periodically adjusted by Congress.

   Eligibility Requirements

          •   No Company eligibility requirements. Benefits are provided in accordance
              with governmental statutory requirements.




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   PAID HOLIDAYS

          Full-time regular employees receive the following ten (10) paid holidays per
   calendar year:

          New Year’s Day, President’s Day, Memorial Day, Kamehameha Day,
          Independence Day, Labor Day, Veteran’s Day, Thanksgiving Day, Christmas
          Day, Employee’s Birthday


   Full-time regular employees are eligible to receive holiday pay under the following
   conditions:
       1. When an employee’s term of employment is 90 calendar days or more
       2. The employee must have worked the regular scheduled work day prior to and
           after the holiday
       3. If an employee was absent:
           a. The absence was due to an accident or illness covered by a medical doctor’s
               disability certificate
           b. The absence was due to a pre-approved Leave of Absence Request (which
               includes timely notification to and approval from an employee’s immediate
               supervisor or manager excusing the absence

   An employee wishing to take a Birthday Holiday must complete a Leave of Absence
   Request form for their supervisor and/or Manager to approve. A birthday holiday should
   be taken within the month it occurs. Exceptions will be handled on a case by case basis.

   If a paid holiday falls within an employee’s scheduled and approved leave, it will be paid
   as a holiday versus vacation.

   Employees will not receive Holiday with pay if the employee is eligible for or receiving
   the following:
       1. Temporary Disability Insurance (TDI) Benefits
       2. Workers Compensation Benefits
       3. Unemployment Insurance Benefits




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   FAMILY AND MEDICAL LEAVE (FMLA)

   Basic Leave Entitlement
   FMLA requires covered employers to provide up to 12 weeks of unpaid, job protected
   leave to eligible employees for the following reasons:
       • For incapacity due to pregnancy, prenatal medical care or child birth;
       • To care for the employee’s child after birth, or placement for adoption or foster
           care;
       • To care for the employee’s spouse, son or daughter, or parent, who has a serious
           health condition or
       • For a serious health condition that makes the employee unable to perform the
           employee’s job.

   Military Family Leave Entitlements
   Eligible employees with a spouse, son, daughter, or parent on active duty or call to active
   duty status in the National Guard or Reserves in support of a contingency operation may
   use their 12-week entitlement to address certain qualifying exigencies. Qualifying
   exigencies may include attending certain military events, arranging for alternative
   childcare, addressing certain financial and legal arrangements, attending certain
   counseling sessions, and attending post-deployment reintegration briefings.

   FMLA also includes a special leave entitlement that permits eligible employees to take
   up to 26 weeks of leave to care for a covered service member during a single 12-month
   period. A covered servicemember is a current member of the Armed Forces, including a
   member of the National Guard or Reserves, who has a serious injury or illness incurred in
   the line of duty on active duty that may render the servicemember medically unfit to
   perform his or her duties for which the servicemember is undergoing medical treatment,
   recuperation, or therapy; or is in outpatient status; or is on the temporary disability retired
   list.

   Benefits And Protections
   During FMLA leave, the employer must maintain the employee’s health coverage under
   any “group health plan” on the same terms as if the employee had continued to work.
   Upon return from FMLA leave, most employees must be restored to their original or
   equivalent positions with equivalent pay, benefits, and other employment terms.

   Use of FMLA leave cannot result in the loss of any employment benefit that accrued
   prior to the start of an employee’s leave.

   Eligibility Requirements
   Employees are eligible if they have worked for a covered employer for at least one year,
   for 1,250 hours over the previous 12 months, and if at least 50 employees are employed
   by the employer within 75 miles.

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   Definition of Serious Health Condition
   A serious health condition is an illness, injury, impairment, or physical or mental
   condition that involves either an overnight stay in a medical care facility, or continuing
   treatment by a health care provider for a condition that either prevents the employee from
   performing the functions of the employee’s job, or prevents the qualified family member
   from participating in school or other daily activities.

   Subject to certain conditions, the continuing treatment requirement may be met by a
   period of incapacity of more than 3 consecutive calendar days combined with at least two
   visits to a health care provider or one visit and a regimen of continuing treatment, or
   incapacity due to pregnancy, or incapacity due to a chronic condition. Other conditions
   may meet the definition of continuing treatment.

   Use of Leave
   An employee does not need to use this leave entitlement in one block. Leave can be
   taken intermittently or on a reduced leave schedule when medically necessary.
   Employees must make reasonable efforts to schedule leave for planned medical treatment
   so as not to unduly disrupt the employer’s operations. Leave due to qualifying exigencies
   may also be taken on an intermittent basis.

   Substitution of Paid Leave for Unpaid Leave
   Employees may choose or employers may require use of accrued paid leave while taking
   FMLA leave. In order to use paid leave for FMLA leave, employees must comply with
   the employer’s normal paid leave policies.

   Employee Responsibilities
   Employees must provide 30 days advance notice of the need to take FMLA leave when
   the need is foreseeable. When 30 days notice is not possible, the employee must provide
   notice as soon as practicable and generally must comply with an employer’s normal call
   in procedures.

   Employees must provide sufficient information for the employer to determine if the leave
   may qualify for FMLA protection and the anticipated timing and duration of the leave.
   Sufficient information may include that the employee is unable to perform job functions,
   the family member is unable to perform daily activities, the need for hospitalization or
   continuing treatment by a health care provider, or circumstances supporting the need for
   military family leave. Employees also must inform the employer if the requested leave is
   for a reason for which FMLA leave was previously taken or certified. Employees also
   may be required to provide a certification and periodic recertification supporting the need
   for leave.



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   Employer Responsibilities
   Covered employers must inform employees requesting leave whether they are eligible
   under FMLA. If they are, the notice must specify any additional information required as
   well as the employees’ rights and responsibilities. If they are not eligible, the employer
   must provide a reason for the ineligibility.

   Covered employers must inform employees if leave will be designated as FMLA-
   protected and the amount of leave counted against the employee’s leave entitlement. If
   the employer determines that the leave is not FMLA-protected, the employer must notify
   the employee.

   Unlawful Acts by Employers
   FMLA makes it unlawful for any employer to:
      • Interfere with, restrain, or deny the exercise of any right provided under FMLA;
      • Discharge or discriminate against any person for opposing any practice made
         unlawful by FMLA or for involvement in any proceeding under or relating to
         FMLA.

   Enforcement
   Any employee may file a complaint with the US Department of Labor or may bring a
   private lawsuit against an employer.

   FMLA does not affect any Federal or State law prohibiting discrimination, or supersede
   any State or local law or collective bargaining agreement which provides greater family
   or medical leave rights.




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   Uniformed Services Employment And Reemployment Rights Act
   (USERRA)
   USERRA protects the job rights of individuals who voluntarily or involuntarily leave
   employment positions to undertake military service or certain types of service in the
   National Disaster Medical System. USERRA also prohibits the Company from
   discriminating against past and present members of the uniformed services, and
   applicants to the uniformed services.

           The Company will provide its employees the benefits and rights afforded under
   the Uniformed Services Employment and Reemployment Rights Act of 1994. An
   employee’s rights under this policy will be terminated if the employee is: (1) separated or
   dismissed from service with a dishonorable or bad conduct discharge; (2) discharged
   under other than honorable conditions; or (3) dropped from the rolls of the uniformed
   service before satisfactory completion of the employee’s term of service.

           Employee Status And Entitlements While Performing Military Service.
   Employees called to duty in the uniformed services, including duty with the National
   Guard, the Reserves or the Public Health Service, will receive authorized military
   absence without pay. Employees performing duty with a uniformed service will be
   entitled to reemployment rights and other benefits if:
           (1)     They give their Supervisor advanced written or verbal notice of their
                   intention or obligation to perform the service requiring their absence; and
           (2)     The cumulative length of the absence plus all prior absences from the
                   Company on military service leave does not exceed five (5) years.

           Notice And Requests For Military Leave. To avoid disruption in Company
   operations, the Company requests that employees complete a Leave of Absence Request
   and give it to the Corporate Human Resources Department at least two (2) weeks prior to
   the absence period.
           The Leave of Absence form should indicate the beginning date of the leave, the
   anticipated duration, and the expected date of return to work. In addition, the employee
   should attach to the Leave of Absence form a copy of the official military orders
   directing the military duty.

          Return To Work. Employees returning to work with the Company must comply
   with the following return times:

           (1)    For Absences of less than 31 days. The employees must report to the
                  Corporate Human Resources Department and apply for return to work not
                  later than the first regularly scheduled work shift on the day after
                  completion of uniformed service. (The employee will be permitted
                  sufficient time for safe travel from their duty site to home plus eight
                  hours).
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          (2)    For Absences of more than 30 days but less than 181 days. The employee
                 must report to the Corporate Human Resources Department and apply for
                 return to work not later than 14 days after completion of uniformed
                 service.

          (3)    For Absences of more than 180 days. The employee must report to the
                 Corporate Human Resources Department and apply for return to work not
                 later than 90 days after the completion of uniformed service.

           Reemployment Benefits and Positions. Unless the Company circumstances have
   so changed as to make reemployment impossible or unreasonable, the Company will
   provide reemployment opportunities outlined below to employees returning from
   uniformed service. In addition, the Company will afford a returning employee the
   seniority ranking and benefits that the employee would have received if his or her
   continuous employment had not been interrupted by uniformed service.

          The Company will place employees returning from military leave in positions
   according to the following scheme:

          (1)    For absences of less than 91 days. The employee will be placed in the
                 position in which he or she would have been employed if uniformed
                 service had not interrupted the employee’s continuous employment. If the
                 position is different from the position the employee left to perform
                 uniformed service, the Company will make reasonable efforts to qualify
                 the employee for the new position. If after reasonable efforts, the
                 employee is not qualified for the new position, the Company will return
                 the employee to the position he or she filled at the time of departure on
                 military leave.
          (2)    For absences of more than 90 days. The employee will be placed
                 in the position in which he or she would have been employed if uniformed
                 service had not interrupted the employee’s continuous employment or a
                 position of like seniority, status, and pay. If the employee is not qualified
                 to perform the duties of this position, the Company will make reasonable
                 efforts to qualify the employee for the position.

                 If after reasonable efforts the employee does not qualify for the new
                 position, the Company will place the employee in the position the
                 employee left to perform uniformed service. If that position is not
                 available, the Company will place the employee is a position the employee
                 is qualified to perform and is of like seniority, status and pay as the
                 position the employee left to perform uniformed service.



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   WITNESS / JURY DUTY LEAVE

           A leave of absence with partial pay will be granted to you if you are summoned to
   serve as a juror or witness as prescribed by law. During the first five (5) days you are on
   jury or witness duty, the Company will pay you the difference between the amount to you
   receive from jury duty or as a witness (excluding travel/mileage reimbursement) and your
   regular straight time pay. If your jury or witness duty lasts beyond five (5) days, you
   may take Leave with Pay or you will receive a Leave of absence without Pay for the
   remainder of your service.

           If you are serving as a juror, you must submit to your Supervisor a proper
   certification from a court official indicating the time you spent on jury duty and the
   amount of jury fees you received. If you are summoned to serve as a witness in a case,
   you must submit to your Supervisor a copy of the subpoena you received and the amount
   of witness fee you received. Employees on jury or witness duty will receive full service
   credits and privileges during the entire period they are on jury or witness duty.

   Eligibility Requirements

          •   Full-time regular employees are eligible for witness / jury duty leave with
              partial pay when their term of employment is equal to one (1) year.




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   FUNERAL LEAVE

           A funeral leave with pay is available to all full-time regular employees for the loss
   of a member of their immediate family, defined as spouse, children, father, mother, sister,
   brother, grandfather, grandmother, father-in-law, mother-in-law, grandparents-in-law.
   An employee will receive a leave with pay of up to three (3) days per fiscal year to make
   funeral arrangements or attend services.

   Eligibility Requirements

          •   Full-time regular employees are eligible for funeral leave when their term of
              employment is equal to one (1) year.




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   401(k) RETIREMENT SAVINGS PLAN
   ROTH 401(K) RETIREMENT SAVINGS PLAN

           The Company offers full-time employees the opportunity to start a retirement
   savings fund through the Unitek 401(k) Retirement Savings Plan or Roth 401(k) upon
   completion of the eligibility requirements. Employees are encouraged to participate in
   this plan by contributing part of their compensation into the plan where it is invested per
   direction of the employee. Gains on these contributions are also tax deferred until funds
   are distributed to the employee. Participants are allowed to contribute the lesser of 15%
   of their gross salary or the varying annual Internal Revenue Service limit per calendar
   year. The Company may elect to match employee contributions with additional company
   funds. Additionally, the Company may annually contribute a portion of its net profits
   into the plan. All plan accounts are 100% vested at all times. Funds that are added at the
   company’s discretion will have a 5 year vesting period. Additional information on the
   401(k) Retirement Savings Plan or Roth 401(k) can be obtained from the Corporate
   Human Resources Department.

   Eligibility Requirements

          •   Employees are eligible to participate in either of the Retirement Savings Plan
              upon completion of one (1) full year (365 days) of employment with a
              minimum of 1000 hours of service within that period.




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   EMPLOYEE ASSISTANCE PROGRAM (EAP)

           Full-time regular employees are eligible to participate in the company-sponsored
   employee assistance program (EAP). This program is designed to help employees and
   their families resolve personal problems (e.g. physical illness, emotional problems,
   family and marital conflicts, alcohol and drug problems, financial stress and legal
   problems) before they adversely affect the employee’s health, happiness and ability to
   perform their job. Confidential and professional counseling assistance is currently
   provided by Work Life Hawaii (808-543-8445 or Toll Free 24 hours/7 days a week 800-
   994-3571). Additional information about the Company’s Employee Assistance Program
   can be obtained from the Corporate Human Resources Department.

   Eligibility Requirements

          •   Full-time employees are eligible to utilize the services of this program when
              their term of employment is equal to 90 calendar days.




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   VOTING TIME

           The Company encourages employees to register and vote in the Primary, General,
   or Special Elections. If you are unable to vote before or after your normal working hours
   on election day, you may request and obtain time off, up to a maximum of two
   consecutive (2) hours with pay for voting time. To ensure the Company can properly
   schedule workers for ongoing work requirements, you must schedule voting time with
   your supervisor at least one (1) week prior to election day.

          Employees who are granted time off to vote during their normal hours are
   required to produce a voter receipt to their supervisor upon their return from voting.
   Employees who take time off but fail to vote will not be paid for such time off.

   Eligibility Requirements

          •   No Company eligibility requirements. Benefits are provided in accordance
              with governmental statutory requirements.




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                              SUMMARY OF BENEFITS
               for FULL-TIME TEMPORARY and PART-TIME EMPLOYEES

             Full-time temporary and Part-time employees may be eligible to receive the following benefits
   according to the time schedule listed below. Please refer to the following pages to determine your
   eligibility and cost, if any, for these benefits. More detailed information on benefits may be obtained from
   the Corporate Human Resources Department.

   ELIGIBILITY PERIOD                                          TYPE OF BENEFIT

   Upon Hire                                                    •    Workers’ Compensation Insurance
                                                                •    Temporary Disability Insurance
                                                                •    Social Security contributions
                                                                •    Military Service Leave without Pay
                                                                •    Witness/Jury Duty
                                                                •    Voting Time
   Upon completion of four consecutive weeks                    •    Medical Insurance - for Employee only
   consisting of 20 hours of work
   Upon completion of three months of continuous                •    Employee Assistance Program
   employment
   Upon completion of a twelve month period and                 •    Family and Medical Leave
   1250 hours of service at a worksite with 50 or
   more employees
   Upon completion of one year of continuous                    •    401(k) Retirement Savings Plan
   employment and 1000 hours of service
   Upon completion of one year of continuous                    •    Leave without Pay
   employment


   NOTE: This list briefly summaries the eligibility periods for full-time temporary and part-time employees of the
   Company. Plan documents should be consulted for all details regarding any benefit plans. The Company reserves the
   right to amend, modify, delete and/or add to any and all terms related to these benefits, including but not limited to,
   types of benefits provided, premiums and insurance, to interpret any and all provisions of the Handbook or the other
   plan documents, and to determine eligibility for the benefits, without notice as it deems fit.




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              ACKNOWLEDGEMENT OF EMPLOYEE HANDBOOK


            I hereby acknowledge receipt of the Navatck Lifting Body Technologies, LLC.
     (Navatek LBT) Employee Handbook. I understand that the handbook is merely a general
     overview of some of Navatek LBT's Human Resources policies, benefits and procedures
     which are subject to modification, discontinuation or change which I agree to conform to
     the mies and regulations of Navatek LBT.

             I also understand and agree that the language in the Handbook is not intended to
     create a contract or agreement between Navatek LBT and myself and that my
     employment is for no fixed term and may be terminated, with or without cause or notice,
     at any time, at the option of Navatek LBT or myself. J understand that no person other
     than the President of Navatek LBT has the authority to enter into any written or oral
     employment contracts or agreements on behalf of Navatek LBT.

             I further understand that it is my responsibility to read the policies and procedures
     within this Handbook. I also understand that it is my responsibility to return this
     Handbook prior to or on my last day of employment.


                                                   Martin Kao
                                                   Print Name



                                                   ~
                                                   Date




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    Information System Security
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 Approved by:




 _____________________________________                                   ________________
 Daniel Brunk                                                             Date
 Martin Defense Group LLC Chief Executive Officer



 _____________________________________                                   ________________
 Eric Schiff                                                              Date
 Senior VP Administration and Operations




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                                                                   RECORD OF CHANGES

   Change No.                             Date                     Brief Description
           -                         10/28/201 9                    Original Issue
               1                     3/15/2021                      Updated policies




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 1 Introduction
 As a contractor doing business with the U.S . Department of Defense, Maliin Defense Group
 receives an d generates, in the com se of om work, infon nation (data) that is considered sensitive
 with negative implications for national defense should it be disclosed to unauthorized paiiies.
 Executive Order 13556, dated November 4, 2010, established a unifo1m program for man aging
 sensitive info1mation that requires safeguai·ding or dissemination controls but doesn 't meet the
 standard for classification. This program defined such info1mation as Controlled Unclassified
 Info1mation (CUI) and designated the National Archives and Records Administration as the
 Executive Agent to implement the prograin an d to oversee agency actions to ensme compliance.
 As pa1i of its mandate, NARA developed a "CUI Registiy ,"1 defining 24 discrete categories of
 CUI, as shown in the following table :


 -2
   1          Agriculture

              Controlled Technical Info1mation
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                                                                        Legal

                                                                        Natural and Cultural Resources

  3           Critical Infrastructure                          15       North Atlantic Treaty Organization

  4           Emergency Management                             16       Nuclear

   5          Export Control                                   17       Patent

   6          Financial                                        18       Privacy

  7           Geodetic Product Inf01mation                     19       Procurement and Acquisition

   8          Immigration                                      20       Proprietary Business Infonnation

  9           Info Systems Vulnerability Infonnation           21       SAFETY Act Information

   10         Intelligence                                     22       Statistical

   11         International Agreements                         23       Tax

   12         Law Enforcement                                  24       Transportation


 In 2016, the Depaiilllent of Defense ainended the Defense Federal Acquisition Regulation
 Supplement (DFARS) to provide for the safeguarding of conti·olled unclassified info1mation
 when residing on or ti·ansiting through a conti·actor 's internal info1mation system or network.
 DFARS Clause 252.204-7012, Safeguai·ding Conti-olled Unclassified Infon nation and Cyber
 Incident Repo1iing, requires conti-actors to implement National Institute of Standards an d
 Technology (NIST) Special Publication (SP) 800-171, "Protecting Conti·olled Unclassified
 Info1mation in Nonfederal Infon nation Systems and Organizations to safeguard Conti·olled
 Unclassified info1mation that is processed or stored on their internal info1mation system or
 network. This is included in all conti·acts awai·ded by DoD, and, as a DoD conti·actor, we are
 bound by its te1ms.



 1 The   CUI Registty is found at https://www.archives.gov/cui/registty/categoiy-list.


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 The two principal elements of this DFARS clause concern adequate security and cyber incident
 reporting. These require, in part, that contractors implement the security requirements in NIST
 SP 800-171, and that cyber incidents affecting a covered contractor information system, or the
 Controlled Unclassified information residing therein, must be reported to DoD within 72 hours
 of discovery.

 2 Purpose
 The purpose of this manual is to establish a comprehensive set of policies and procedures that
 enable Martin Defense Group to comply with the requirements of DFARS Clause 252.204-7012
 for providing adequate security for CUI and for cyber incident reporting.

 3 Scope
 The policies and procedures set forth herein apply to all Martin Defense Group Users and its
 subsidiaries.

 4 Organization
 This manual comprises the preceding introductory material and the following sections containing
 the policies and procedures, respectively, that govern the implementation and use of Martin
 Defense Group’s information system.

 5 Key Roles and Responsibilities
 The following key roles perform a variety of functions that are specified throughout this manual.
 Where appropriate, a single individual may fulfill multiple roles.
       Senior Management Official (SMO). The SMO is the “owner” of Martin Defense
        Group’s information system, performing executive-level functions. Specific
        responsibilities are given in the relevant individual policies.
       System/Network Administrator. Administers the information system on behalf of the
        SMO. Specific responsibilities are given in the relevant individual policies.
       Account Managers. Approve new information system accounts, set and change account
        privileges, and terminate accounts. Generally, each Account Manager is responsible for
        the accounts of personnel in their respective reporting chains.
       Audit Administrator. Performs essential information system security audit functions on
        behalf of the SMO. Specific responsibilities are given in the relevant individual policies.
       Facility Security Officer (FSO). The FSO supervises and directs security measures
        necessary for implementing applicable requirements of the National Industrial Security
        Program at Martin Defense Group and is assigned specific roles for information system
        security.




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 Acceptable Use Policy
 1 Overview
 Internet/Intranet-related systems at Martin Defense Group LLC (Martin Defense Group),
 including, but not limited to, computer equipment, software, operating systems, storage media,
 network accounts providing electronic mail and internet access, are the property of Martin
 Defense Group. These systems are to be used for business purposes in serving the interests of the
 organization, and of our clients and customers in the course of normal operations. Please review
 Human Resources policies for additional guidance.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 2 Purpose
 The purpose of this policy is to outline the acceptable use of information systems at Martin
 Defense Group. These rules are in place to protect a User and Martin Defense Group.
 Inappropriate use exposes Martin Defense Group to risks including virus attacks, compromise of
 network systems and services, and legal liability.

 3 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to access Martin Defense
 Group computers and systems in accordance with Martin Defense Group policies and standards,
 and local laws and regulations. Definitions to terms are provided in Appendix C Glossary.

 4 Policy
 4.1 General Use and Ownership
 a. Martin Defense Group sensitive information stored on electronic and computing devices
    whether owned or leased by Martin Defense Group, a User, or a third party, remains the sole
    property of Martin Defense Group. You must ensure through legal or technical means that
    sensitive information is protected in accordance with NIST SP 800-1712.
 b. Users have a responsibility to promptly report the theft, loss or unauthorized disclosure of
    Martin Defense Group proprietary information.



 2
  National Institute of Standards and Technology Special Publication 800-171, Rev 1, published 7-June 2018,
 “Protecting Controlled Unclassified Information in Nonfederal Systems and Organizations.”


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 c. Users may access, use or share Martin Defense Group proprietary information only to the
    extent it is authorized and necessary to fulfill your assigned job duties.
 d. Users are responsible for exercising good judgment regarding the reasonableness of personal
    use. If there is any uncertainty regarding a particular use, Users should consult their
    supervisor or manager.
 e. For security and network maintenance purposes, Designated IT Personnel will monitor
    equipment, systems, and network traffic at any time, per Martin Defense Group’s Monitoring
    and Systems/Communications Protection Policy.
 f. Martin Defense Group reserves the right to audit networks and systems on a periodic basis to
    ensure compliance with this policy.
 g. Users will only use the appropriate login or set of system permissions to perform their tasks,
    per Martin Defense Group’s Access Control Policy. For instance, Designated IT Personnel
    shall not perform non-system-administrator tasks while logged in as a system administrator.
    (3.1.4, AC-5)3
 h. Users may not change the configuration of their workstation or laptop without authorization
    from Designated IT Personnel (see Martin Defense Group’s Configuration Management
    policy).

 4.2 Security Training
 Adequate training in security procedures is an essential element of overall security. As such,
 Martin Defense Group:
 a. Ensures that Users are made aware of the security risks associated with their activities and of
    the applicable policies, standards, and procedures related to the security of those systems
    before being authorized to access the system, and that they receive security awareness
    training at least annually and when required by security changes. (3.2.1, AT-2a, AT-2b, AT-
    2c)
 b. Ensures that Users are adequately trained to carry out their assigned information security-
    related duties and responsibilities, and that they receive security-related duty and
    responsibility training at least annually and when required by security changes. (3.2.2, AT-
    3a, AT-3b, AT-3c)
 c. Provides security awareness training on recognizing and reporting potential indicators of
    insider threat. (3.2.3, AT-2 (2))

 4.3 Safe Controlled Unclassified Information (CUI) Management
 Controlled unclassified information (CUI) must be protected from disclosure. Further, CUI must
 be protected when it is sent outside a CUI-safe network and also when it is stored on removable
 media. As such:
 a. Users may only store CUI on a computer that is designated as a CUI computer and:


 3
  Numbers in parentheses indicate a cross-reference to NIST SP 800-171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800-53 (beginning with a letter, e.g., “AC-2”).


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         1. The computer is currently in a specific CUI-safe network, or
         2. The computer is completely unattached from any networks, or
         3. The computer is connected to a CUI-safe network through a Martin Defense Group-
            approved VPN.
 b. Users may only send CUI over networks that are not CUI-safe if the CUI is first encrypted
    with FIPS 140-2 level encryption. This includes, but is not limited to, sending data via email
    or web browser. Address any questions regarding the safety of a specific network to
    Designated IT Personnel.
 c. Users may only store CUI on removable media if the media is owned by the company, has
    been scanned for viruses and malware, and the CUI has been encrypted with FIPS 140-2
    level encryption (see Media Protection and Backup Policy).
 d. Once CUI has been removed from removable media, the media must be sanitized (see Media
    Protection and Backup Policy).
 e. CUI may be stored on notebook/laptop computers in accordance with section 4.3.a.
 f. CUI may not be stored on mobile computing devices other than laptops and encrypted
    company-issued cellphones.

 4.4 Remote Access and CUI
 Systems containing CUI must be protected from unauthorized access. Before allowing or starting
 remote connections to Martin Defense Group systems, review the following policies:
        Access Control Policy (remote sessions must be authorized, monitored and controlled,
         use cryptographic mechanisms, and be routed via managed access control points).
        Monitoring and System/Communications Protection Policy (prevent split-VPNs and
         remote activation of collaborative computing devices and provide an indication when
         collaborative computing devices are in use).

 4.5 Safe System/Internet Use
 a. Before opening email attachments received from untrusted sources, Users must first ensure
    such attachments are free from malware, etc., by using anti-virus tools provided by the
    organizational system.
 b. If there is a need to access untrusted websites blocked by Martin Defense Group’s
    information system, Users should contact Designated IT Personnel to obtain access.

 4.6 Unacceptable Use
 The following activities are, in general, prohibited. Users may be exempted from some of these
 restrictions during the course of their legitimate job responsibilities (e.g., Designated IT
 Personnel may have a need to disable the network access of a host if that host is disrupting
 business operations). These lists are by no means exhaustive but provide a framework for
 identifying activities that constitute an unacceptable use.
 a. Under no circumstances is a User authorized to engage in any activity that is illegal under
    local, state, federal or international law while using Martin Defense Group-owned resources.


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 b. Unacceptable Use - System and Network Activities. The following activities are
    prohibited:
         1. Providing system access to another individual through a User’s account, either
            deliberately or through failure to secure its access.
         2. Transmission of unencrypted CUI over non-CUI-safe networks via email, HTTP, and
            any other applications or protocols. (3.13.8, 3.13.11, SC-8, SC-8 (1), SC-13)
         3. Violations of the rights of any person or organization protected by copyright, trade
            secret, patent or other intellectual property, or similar laws or regulations, including,
            but not limited to, the installation or distribution of "pirated" or other software
            products that are not appropriately licensed for use by Martin Defense Group.
         4. Unauthorized copying of copyrighted material including, but not limited to,
            digitization and distribution of photographs from magazines, books or other
            copyrighted sources, copyrighted music or videos, and the installation of any
            copyrighted software for which Martin Defense Group or the User does not have an
            active license.
         5. Accessing data, a server or an account for any purpose other than conducting Martin
            Defense Group business, even if a User has authorized access. However, incidental
            personal use of Martin Defense Group’s information system is permissible so long as:
                 i. It does not consume more than a trivial amount of resources;
                 ii. It does not interfere with staff productivity;
                iii. It does not preempt any business activity.
             Use of Martin Defense Group’s systems for malicious or illegal purposes or
             commercial activities outside the business objectives of Martin Defense Group, as
             noted elsewhere in this policy, is strictly prohibited.
         6. Exporting software, technical information, encryption software or technology, in
            violation of international or regional export control laws. Consult appropriate
            management personnel prior to the export of any material that is in question.
         7. Introduction of malicious programs into the network or server (e.g., viruses, worms,
            Trojan horses, email bombs, etc.).
         8. Revealing your account password to others or allowing your account to be used by
            others. This includes family and other household members when work is being done
            at home.
         9. Using a Martin Defense Group computing asset to actively engage in procuring or
            transmitting material that is in violation of sexual harassment or hostile workplace
            laws in the user's local jurisdiction.
         10. Making fraudulent offers of products, items, or services originating from any Martin
             Defense Group account.
         11. Making statements about warranty, expressly or implied, unless it is a part of normal
             job duties.



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         12. Effecting security breaches or disruptions of network communication. Security
             breaches include, but are not limited to, accessing data of which a User is not an
             intended recipient, or logging into a server or account that a User is not expressly
             authorized to access unless these duties are within the scope of regular duties. For
             purposes of this section, “disruption” includes, but is not limited to, network sniffing,
             pinged floods, packet spoofing, denial of service, and forged routing information for
             malicious purposes.
         13. Port scanning or security scanning is expressly prohibited unless prior arrangements
             are made with the appropriate IT personnel.
         14. Executing any form of network monitoring that will intercept data not intended for a
             User's host, unless this activity is a part of the User's normal job/duty.
         15. Circumventing User authentication or security of any host, network, or account.
         16. Introducing honeypots, honeynets, or similar technology on the Martin Defense
             Group network.
         17. Interfering with, or denying service to, any user (for example, denial of service
             attack).
         18. Using any program/script/command, or sending messages of any kind, with the intent
             to interfere with, or disable, a user's terminal session, via any means, locally or via the
             Internet/Intranet/Extranet.
         19. Providing information about, or lists of, Martin Defense Group employees to parties
             outside Martin Defense Group for non-business purposes.
 c. Unacceptable Use - Email and Communication Activities. When using Martin Defense
    Group resources to access and use the Internet, including the electronic mail (email) system,
    Users must realize they represent Martin Defense Group in doing so. While incidental and
    occasional personal use of email is permitted by the Company, in such use whenever Users
    state an affiliation to Martin Defense Group, they must also clearly indicate that “the
    opinions expressed are my own and not necessarily those of Martin Defense Group.”
    Questions should be addressed to the User’s supervisor or manager.
         1. Sending unsolicited email messages, including the sending of “junk mail” or other
            advertising material to individuals, whether internal or external to Martin Defense
            Group, who did not specifically request such material (email spam).
         2. Any form of harassment via email, telephone, text message, or paging, whether
            through language, frequency, or size of messages.
         3. Unauthorized use, or forging, of email header information.
         4. Solicitation of email for any other email address, other than that of the poster's
            account, with the intent to harass or to collect replies.
         5. Creating or forwarding "chain letters," "Ponzi," or other "pyramid" schemes of any
            type.
         6. Posting the same or similar non-business-related messages to large numbers of social
            media accounts.



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 d. Unacceptable Use - Blogging and Social Media. Blogging and social media posting by
    Users, whether using Martin Defense Group’s property and systems or personal computer
    systems, is also subject to the terms and restrictions set forth in this Policy. Limited and
    occasional use of Martin Defense Group’s systems to engage in blogging or posting on social
    media (online activity) outside of normal business hours is acceptable, provided that it is
    done in a professional and responsible manner, does not otherwise violate Martin Defense
    Group’s policy, is not detrimental to Martin Defense Group’s best interests, and does not
    interfere with a User's regular work duties. Blogging and social media posting from Martin
    Defense Group’s systems is also subject to monitoring.
         1. Users are prohibited from revealing any Martin Defense Group confidential or
            sensitive information, or trade secrets.
         2. Users shall not engage in any online activity that may harm or tarnish the image,
            reputation and/or goodwill of Martin Defense Group, its partner organizations, and/or
            any of its employees. Users are also prohibited from making any discriminatory,
            disparaging, defamatory or harassing comments when engaged in an online activity or
            otherwise engaging in any conduct prohibited by Martin Defense Group’s non-
            discrimination and anti-harassment policy.
         3. Users may not attribute personal statements, opinions, or beliefs to Martin Defense
            Group when engaged in online activity. If a User is expressing his or her beliefs
            and/or opinions in blogs or social media posts, the User may not, expressly or
            implicitly, represent himself or herself as an employee or representative of Martin
            Defense Group. Further, such postings by Users from a Martin Defense Group email
            address to newsgroups, blogs, or social media shall contain a disclaimer stating that
            the opinions expressed are strictly their own and not necessarily those of Martin
            Defense Group. Users assume any and all risk associated with non-business online
            activities.
         4. In addition to complying with all laws pertaining to the handling and disclosure of
            copyrighted or export controlled materials, Users may not use Martin Defense
            Group’s trademarks, logos, and any other Martin Defense Group intellectual property
            in connection with any non-business online activities.




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 Access Control Policy
 5 Overview
 Properly managing access to organization information systems is a critical component of
 information security. Controlling access to systems and data reduces the potential for harming
 Martin Defense Group LLC (Martin Defense Group) through data theft, malware installation,
 and system damage. To that end, access to organization systems, including but not limited to
 laptop computers, desktop computers, servers, and network devices, is to be managed according
 to rules outlined in this document.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 6 Purpose
 The purpose of this policy is to outline the required and acceptable methods for controlling
 access to information systems at Martin Defense Group. These rules are in place to protect a
 User and Martin Defense Group. Circumventing or avoiding access controls exposes Martin
 Defense Group to risks including virus attacks, compromise of network systems and services,
 and legal liability.

 7 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to access Martin Defense
 Group computers and systems following Martin Defense Group policies and standards, and local
 laws and regulations. Definitions to terms are provided in Appendix C Glossary.

 8 Policy
 8.1 Access Control
 a. Martin Defense Group:
         1. Limits system access to authorized users, processes acting on behalf of authorized
            users, or devices (including other systems). (3.1.1)4
                   i. The Senior Management Official (SMO) identifies and selects the following
                      types of information system accounts to support organizational



 4
  Numbers in parentheses indicate a cross-reference to NIST SP 800-171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800-53 (beginning with a letter, e.g., “AC-2”).


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                      missions/business functions: system/network administrator, audit
                      administrator, incident response, the user (AC-2a)
               ii. The SMO assigns account managers for information system accounts. (AC-
                   2b)
              iii. Conditions for group and role membership are established as follows: (AC-2c)
                         1. The system/network administrator group shall only have personnel
                            who have been authorized to handle Controlled Unclassified
                            Information (CUI) and are assigned to the administration of host and
                            network devices.
                         2. The audit administrator group shall only have personnel who have
                            been cleared to handle CUI and are assigned to administer the audit
                            function of the system.
                         3. The incident response group shall only have personnel who have been
                            cleared to handle CUI and are assigned to Martin Defense Group’s
                            Incident Response Team.
                         4. The user group shall only have personnel who have been approved to
                            handle CUI.
              iv. Account managers specify authorized users of the information system, group,
                  and role membership, and access authorizations (i.e., privileges) and other
                  attributes (as required) for each account. (AC-2d)
                         1. System/Network administrator privileges – Administrative rights
                            (except for audit file access and management) on appropriate host and
                            network devices.
                         2. Audit administrator privileges – Administrative rights for audit file
                            access and management on appropriate host and network devices.
                         3. Incident response privileges – Administrative read rights for all system
                            and log information on all system components.
                         4. User privileges – User rights to read/execute appropriate system
                            information and read/write/execute access for all user-created
                            documents on appropriate host devices.
               v. Account managers approve requests to create information system accounts.
                  (AC-2e)
              vi. Designated IT Personnel create, enable, modify, disable, and remove
                  information system accounts following procedures or conditions defined in
                  SOP MDG-AC-100. (AC-2f)
              vii. Designated IT Personnel monitor the use of information system accounts for
                   indicators of compromise. (AC-2g)
             viii. Account managers notify administrators:
                         1. When accounts are no longer required. (AC-2h.1)



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                       2. When Users are terminated or transferred. (AC-2h.2)
                       3. When individual information system usage or need-to-know changes.
                          (AC-2h.3)
              ix. Account managers authorize access to the information system based on:
                       1. A valid need for access. (AC-2i.1)
                       2. Intended system usage. (AC-2i.2)
                       3. Other attributes as required by the organization or associated
                          missions/business functions. (AC-2i.3)
               x. The Audit Administrator reviews accounts for compliance with account
                  management requirements at least annually. (AC-2j)
                       1. Validate authorized users of the information system.
                       2. Appropriate assignment of users to Group and Role membership.
                       3. Appropriate access authorizations/privileges for each account.
                       4. Required specialized training for accounts, as relevant.
                       5. Appropriate removal or deactivation of information system accounts.
              xi. Shared/group account credentials (if deployed) will be reissued by hand
                  delivery by Designated IT Personnel when Users are removed from the group.
                  (AC-2k)
              xii. Account managers authorize remote access to the information system before
                   allowing such connections. (AC-17b)
        2. Limits system access to the types of transactions and functions that Users are
           permitted to execute. (3.1.2)
                i. The information system enforces approved authorizations for logical access to
                   information and system resources following the access control policies
                   specified herein. (AC-3)
               ii. Remote access usage restrictions, configuration/connection requirements, and
                   implementation guidance are established as follows. (AC-17a)
                       1. Remote administration.
                              a. Usage Restrictions.
                                      i. The connection must not be initiated in a generally-
                                         accessible open area where unknown personnel can
                                         observe the screen and actions of the person connecting
                                         to the system.
                                     ii. The connection shall only be for business purposes.
                              b. Configuration/connection requirements and implementation
                                 guidance.




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                                       i. Must use organization-provided Internet Protocol
                                          Security (SSL VPN) client to connect to the CUI-safe
                                          network.
                                      ii. For laptop-type devices, if CUI data is downloaded to
                                          the device then it must be encrypted on the drive using
                                          FIPS-140-2 certified modules
                                     iii. For tablet and phone type devices, Martin Defense
                                          Group does not allow unencrypted CUI to be
                                          downloaded to these types of devices as a matter of
                                          policy.
                       2. Remote user connections. Same usage restrictions,
                          configuration/connection requirements, and implementation guidance
                          as for remote administration.
        3. Controls the flow of CUI following approved authorizations. (3.1.3, AC-4)
        4. Separates the duties of individuals to reduce the risk of malevolent activity without
           collusion. (3.1.4)
                i. The organization separates the System/Network Administrator and Audit
                   Administrator and documents the separation of duties of individuals. (AC-5a)
               ii. Defines information system access authorizations to support the separation of
                   duties as defined in Section 4.1.a.1 for the System/Network Administrator and
                   Audit Administrator. (AC-5c, AC-5b)
        5. Employs the principle of least privilege, including for specific security functions and
           privileged accounts. (3.1.5)
                i. The organization only authorizes access for Users (or processes acting on
                   behalf of Users) as necessary to accomplish assigned tasks following
                   organizational missions and business functions. (AC-6)
               ii. The organization explicitly authorizes access to all security functions and
                   security-relevant information. (AC-6(1))
              iii. The organization restricts privileged accounts on the information system to
                   system/network and audit administrators. (AC-6(5))
        6. Requires that users of information system accounts, or roles, with access to privileged
           security functions, use non-privileged accounts, or roles when accessing nonsecurity
           functions. (3.1.6, AC-6(2)) Nonsecurity functions include reading e-mail and surfing
           the Internet.
        7. Authorizes remote execution of privileged commands and remote access to security-
           relevant information only for system and/or network administration needs. (3.1.15,
           AC-17(4)a)
                i. Privileged commands are all those commands configured to be accessible only
                   to an administrator.




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               ii. Security-relevant information includes log entries and system settings
                   implementing policy.
        8. Controls wireless access to the information system. (3.1.16, AC-18b)
                i. Wireless access usage restrictions, configuration/connection requirements, and
                   implementation guidance are established as follows. (AC-18a)
                       1. Usage restrictions. Limited only to personnel that would/should have
                          access to CUI through account manager authorization and issuance of
                          select computers preconfigured for such purposes by Designated IT
                          Personnel.
                       2. Configuration/connection requirements. Use encryption.
               ii. Account managers authorize wireless access to the information system before
                   allowing such connections. (AC-18b)
              iii. External users may be provided passwords by Designated IT Personnel to
                   allow their devices to access Martin Defense Group’s WIFI and connect to the
                   Internet, but such accounts will not enable such users to access Martin
                   Defense Group’s information system.
        9. Protects wireless access to the information system using authentication and
           encryption. (3.1.17, AC-18(1))
        10. Controls the connection of mobile devices to the information system. (3.1.18, AC-19)
                i. Usage restrictions, configuration requirements, connection requirements, and
                   implementation guidance for organization-controlled mobile devices are
                   established as follows:
                       1. Usage restrictions. Downloading unencrypted CUI to mobile devices
                          is prohibited (see also Section 4.a.2).
                       2. Configuration/connection requirements. Use FIPS 140 encryption and
                          a password consistent with Martin Defense Group’s password policy.
                       3. Implementation guidance. Load the VPN client to encrypt information
                          from the device to the CUI system.
               ii. Account managers authorize the connection of mobile devices to
                   organizational information systems before allowing such connections.
        11. Encrypts CUI on mobile computing platforms (notebook/laptop computers/encrypted
            company-issued cellphones); see also Acceptable Use Policy. (3.1.19, AC-19(5))
        12. Verifies and controls/limits connections to and use of external systems. (3.1.20)
                i. The organization establishes terms and conditions, consistent with any trust
                   relationships established with other organizations owning, operating, and/or
                   maintaining external information systems, allowing authorized individuals to:
                       1. Access the information system from external information systems.
                          (AC-20a)



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                       2. Process, store, or transmit organization-controlled information using
                          external information systems. (AC-20b)
               ii. The organization permits authorized individuals to use an external information
                   system to access the information system or to process, store, or transmit
                   organization-controlled information only when the organization retains
                   approved information system connection or processing agreements with the
                   organizational entity hosting the external information system. (AC-20 (1),
                   AC-20 (1)(b))
                       1. Users are prohibited from using all file-sharing services except for the
                          following:
                               a. Microsoft OneDrive
                               b. secure.mdefensegroup.com. Only when necessary to share
                                  information with external users.
        13. Limits by restriction to specific individuals the use of organizational portable storage
            devices on external systems. (3.1.21, AC-20(2))
        14. Prohibits posting or processing CUI on publicly-accessible Martin Defense Group
            information systems; reviews the proposed content of information before posting onto
            publicly-accessible information systems, which include our public website, social
            media accounts (LinkedIn, YouTube), and job application website, to ensure that
            nonpublic information is not included. (3.1.22, AC-22c).
 b. The information system:
        1. Prevents non-privileged users from executing privileged functions, to include
           disabling, circumventing, or altering implemented security
           safeguards/countermeasures, and audits the execution of such functions. (3.1.7, AC-
           6(10), AC-6(9))
        2. Limits unsuccessful logon attempts (3.1.8)
                i. Enforces a limit of five (5) consecutive invalid login attempts by a user during
                   a 15-minute time period. (AC-7a)
               ii. Automatically locks the account/node for at least 15 minutes, or until
                   unlocked by an administrator, when the maximum number of unsuccessful
                   attempts is exceeded. (AC-7b)
        3. Provides privacy and security notices consistent with applicable CUI rules. (3.1.9)
                i. Displays a banner to users before granting access to the system that provides
                   privacy and security notices consistent with applicable federal laws, Executive
                   Orders, directives, policies, regulations, standards, and guidance and states
                   that:
                       1. Information system usage may be monitored, recorded, and subject to
                          audit. (AC-8.a2)
                       2. Unauthorized use of the information system is prohibited and subject
                          to criminal and civil penalties. (AC-8.a3)


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                       3. The use of the information system indicates consent to monitoring and
                          recording. (AC-8.a4)
                           Banner: ATTENTION… ATTENTION…. This is a restricted use
                           system. All actions performed by a user may be monitored, recorded,
                           and are subject to audit. Any unauthorized use of this system is
                           prohibited and may be subject to criminal and civil penalties. The use
                           of this information system indicates consent to the monitoring and
                           recording implemented by the system.
               ii. Retains the notification message or banner on the screen until users
                   acknowledge the usage conditions and take explicit actions to log on to or
                   further access the information system. (AC-8b)
        4. Uses session lock with pattern-hiding displays to prevent access and viewing of data
           after a period of inactivity (3.1.10)
                i. Prevents further access to the system by initiating a session lock after fifteen
                   (15) minutes of inactivity or upon receiving a request from the user. (AC-11a)
               ii. Retains the session lock until the user reestablishes access using established
                   identification and authentication procedures. (AC-11b)
              iii. Conceals, via the session lock, information previously visible on the display
                   with a publicly-viewable image. (ACC-11(1))
        5. Automatically terminates application-level user sessions after a specific period of
           inactivity as follows (3.1.11, AC-12):
                i. Remote Desktop Protocol (RDP) sessions: 15 minutes.
               ii. Secure Shell (SSH) sessions: 15 minutes.
        6. Employs automated monitoring and control of remote access sessions. (3.1.12, AC-
           17(1))
        7. Employs cryptographic mechanisms to protect the confidentiality of remote access
           sessions. (3.1.13, AC-17(2))
        8. Routes remote access via managed access control points. (3.1.14, AC-17(3))

 8.2 Identification and Authentication
 a. The information system:
        1. Identifies system users, processes acting on behalf of users, or devices. (3.5.1,
           IA-2)
        2. Authenticates (or verifies) the identities of those users, processes, or devices, as a
           prerequisite to allowing access to organizational systems. (3.5.2)




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          3. Uses multifactor authentication5 for local and network access6 to all accounts (3.5.3,
             IA-2 (1), IA-2 (2), IA-2 (3))
          4. Employs replay-resistant authentication mechanisms for network access to privileged
             and non-privileged accounts. (3.5.4, IA-2 (8), IA-2 (9))
          5. Prevents reuse of identifiers. (3.5.5, IA-4d)
          6. Disables identifiers after 30 days of inactivity for all user accounts except for
             designated maintenance accounts that may be infrequently accessed. (3.5.6, IA-4e)
          7. Enforces a minimum password complexity of a case-sensitive, 12-character mix of
             upper case letters, lower case letters, numbers, and special characters, and a change of
             at least one of the characters when new passwords are created. (3.5.7, IA-5 (1)(a), IA-
             5 (1)(b)) (NIST SP 800-63b)
          8. Prohibits password reuse for a minimum of one (1) generation (does not apply to one-
             time use passwords). (3.5.8, IA-5(1)(e))
          9. Requires that passwords be changed every 60 days. (IA-5g)
          10. Allows temporary password use for system logins with an immediate change to a
              permanent password. (3.5.9, IA-5 (1)(f))
          11. Stores and transmits only cryptographically-protected passwords. (3.5.10, IA-5 (1)(c))
          12. Obscures feedback of authentication information. (3.5.11, IA-6)
 b. Martin Defense Group:
          1. Manages information system identifiers by (IA-4)
                    i. Receiving authorization from an account manager to assign an individual,
                       group, role, or device identifier. (IA-4a)
                   ii. Selecting an identifier that identifies an individual, group, role, or device. (IA-
                       4b)
                  iii. Assigning the identifier to the intended individual, group, role, or device. (IA-
                       4c)


 5
   Multifactor authentication requires two or more different factors to achieve authentication. The factors include:
 something you know (e.g., password/PIN); something you have (e.g., cryptographic identification device, token); or
 something you are (e.g., biometric). The requirement for multifactor authentication should not be interpreted as
 requiring federal Personal Identity Verification (PIV) card or Department of Defense Common Access Card (CAC)-
 like solutions. A variety of multifactor solutions (including those with replay resistance) using tokens and biometrics
 are commercially available. Such solutions may employ hard tokens (e.g., smartcards, key fobs, or dongles) or soft
 tokens to store user credentials.

 6
   Local access is any access to a system by a user (or process acting on behalf of a user) communicating through a
 direct connection without the use of a network. Network access is any access to a system by a user (or a process
 acting on behalf of a user) communicating through a network (e.g., local area network, wide area network, Internet).




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        2. Manages information system authenticators by:
                i. Verifying, as part of the initial authenticator distribution, the identity of the
                   individual, group, role, or device receiving the authenticator. (IA-5a)
               ii. Default passwords for the initial login to the system shall be a randomly-
                   generated word or phrase as determined by Designated IT Personnel. (IA-5b)
              iii. Establishing and implementing administrative procedures for initial
                   authenticator distribution, for lost/compromised or damaged authenticators,
                   and for revoking authenticators. Initial authenticator distribution shall be
                   accomplished either face to face or over the phone via voice or text. (IA-5d)
               iv. Changing the default content of authenticators before information system
                   installation. (IA-5e)
               v. Protecting authenticator content from unauthorized disclosure and
                  modification. (IA-5h)
               vi. Requiring individuals to take, and having devices implement, specific security
                   safeguards to protect authenticators. (IA-5i)
              vii. Changing authenticators for group/role accounts when membership to those
                   accounts changes. (IA-5j)

 8.3 Policy on Publicly Accessible Website
 a. The IT Steering Committee is responsible for the development and administration of Martin
    Defense Group’s public affairs policies and procedures as follows:
        1. Administer and update the policy as outlined in this instruction.
        2. Administer and maintain the Martin Defense Group website for the posting of
           appropriate Martin Defense Group LLC information and images.
        3. Maintain overall cognizance for Martin Defense Group website content as it pertains
           to the appropriateness of publicly accessible material.
        4. Maintain overall cognizance for questions about the Martin Defense Group website as
           it pertains to the security of computer operations or classified information.
        5. Establish a mechanism for receiving and reviewing all requests for Martin Defense
           Group information.
 b. The Audit Administrator is responsible for the following:
        1. Conduct assessments of the Martin Defense Group website at least annually to ensure
           compliance with information assurance and security policy requirements.
        2. Notify the responsible parties when a site is discovered to be non-compliant to ensure
           the site is either removed from the world wide web or brought into compliance.
 c. Martin Defense Group staff or contractors that maintain the publicly accessible Martin
    Defense Group website shall:
        1. Ensure all information currently residing on the website is reviewed by the public
           affairs officer, and the FSO is accurate and is appropriate for viewing by a worldwide


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           audience, friend and foe alike. Information not suitable for a publicly accessible
           website must be removed.
        2. Develop local procedures for the approval of information posted on the website. At a
           minimum, Martin Defense Group’s public affairs officer, in conjunction with
           information assurance personnel, or those at the next appropriate level to ensure
           posted information meets requirements.
        3. Designate, in writing, a primary website manager, who may be known as the
           Webmaster. Contact information for the Webmaster (e.g., email address) will be
           included in the companies “home page” source code. At a minimum, the Webmaster
           shall:
                i. Have access to and be familiar with currently applicable instructions, notices,
                   and rules regulating the content of the Martin Defense Group publicly
                   accessible website and shall be conversant in the provisions of these
                   directives.
               ii. Serve as the principal point of contact on all matters about the administration
                   of the publicly accessible website.
              iii. Oversee Martin Defense Group’s website and ensure compliance with current
                   directives. Oversight includes monitoring the site as often as possible to
                   ensure no unauthorized changes have occurred.
              iv. Register the Martin Defense Group website with required government
                  agencies if required. Martin Defense Group will review and update their
                  registration yearly or whenever there is a change in any of the registration data
                  fields.
 d. Administration of website
        1. The Martin Defense Group website must have an articulated purpose, approved by
           the management, and supporting the company activity’s core competency mission.
        2. Only unclassified material that is approved for public release may appear on a
           publicly accessible website.
        3. A designation of “Unofficial” is not recognized for the Martin Defense Group
           website. Any website created by Martin Defense Group constitutes an official
           website and is subject to this instruction.
        4. The Martin Defense Group website must be protected from modification on systems
           exposed to public networks.
        5. All company/activity home pages -- the logical entry point of the company/activity
           website -- must contain, at a minimum, the following:
                i. Full organizational name and official postal mailing address.
               ii. A statement that the site is an official Martin Defense Group website.
              iii. A prominently displayed hypertext link to a tailored Privacy Policy on the
                   home page. All references to the Privacy Policy shall state: “Please read our
                   Privacy Policy notice.” Overt warning signs or other graphics such as the


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                      “skull and crossbones” or “cloak and dagger,” or wording indicating danger or
                      warning are specifically forbidden.
              iv. The Martin Defense Group website will provide accessibility to all U.S.
                  citizens, including persons with disabilities. This is not intended to permit
                  open public access to those sites behind any security scheme, but those sites
                  must be accessible to authorized persons who might also have disabilities.
 e. Content of website
        1. All information, graphics, and photos posted on publicly accessible the Martin
           Defense Group website must be carefully reviewed to ensure they meet the standards
           and requirements as published herein, including Operations Security (OPSEC)
           considerations.
        2. Photos may not be altered in any way. Standard photographic practices of cropping,
           sizing, or burning are not considered an alteration.
        3. The Martin Defense Group website shall:
                i. Be presented in a manner reflecting the professionalism of the Martin Defense
                   Group.
               ii. Contain only “approved for release” general information suitable for viewing
                   by anyone any place in the world, friend and foe alike.
              iii. Contain only those images which support the overall mission of the website.
                   Images with captioning will only have caption information suitable for
                   viewing by a worldwide audience, both internal and external. Images of
                   personnel will not contain personal information other than name and position
                   within the company.
        4. Specific website restrictions include:
                i. The website shall not include classified material, “For Official Use Only”
                   information, proprietary information, or information that could enable the
                   recipient to infer this type of information. This includes, but is not limited to,
                   lessons learned or maps with specific locations of sensitive units, ship battle
                   orders, threat condition profiles, etc., activities or information relating to
                   ongoing criminal investigations into terrorist acts, force protection levels,
                   specific force protection measures being taken or the number of personnel
                   involved, Plans of the Day, or Plans of the Month are not permitted to be
                   posted.
               ii. The website shall not identify family members of Martin Defense Group
                   personnel in any way, including in photos or photo captions, except for the
                   spouses of senior leaders who are participating in public events. Furthermore,
                   family member information will not be included in any online biographies.
              iii. The website shall not contain any written information or display any logo
                   indicating the website is best viewed with any specific web browser(s); or,
                   that the website has been selected as a recommended or featured site by any
                   organization; or, point to any particular search engines or recommend any


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                      commercial software. Websites developed and/or maintained by contractors
                      may not include the contractor’s name nor may they link to the contractor's
                      website.
              iv. The website shall not provide commercial software or links to commercial
                  software except in those cases where the software is unique and required for
                  viewing documents provided within the Web site’s purpose. An example is
                  Adobe Acrobat required to read Portable Document Files (PDF) used for
                  viewing documents that must be presented in an unalterable form. In these
                  cases, only a text link directly to the vendors download web page is permitted.
                  There will be no use of corporate logos.
               v. The website shall not display any commercial page counters.
              vi. The website shall not contain any material that is copyrighted or under
                  trademark without the written permission of the copyright or trademark
                  holder. The material must relate directly to Martin Defense Group’s primary
                  mission. Works prepared by Martin Defense Group personnel as part of their
                  official duties and posted to the company website may not be copyrighted, nor
                  may the website itself be copyrighted.
              vii. The website shall not display personnel lists, "roster boards,” organizational
                   charts, or staff directories which show individuals’ names, individuals’ phone
                   numbers or e-mail addresses which contain the individual’s name.
             viii. General telephone numbers and non-personalized e-mail addresses for
                   commonly-requested resources, services, and contacts, without individuals’
                   names, are acceptable.
              ix. The names, telephone numbers, and personalized, official e-mail addresses of
                  public affairs personnel and/or those designated by management as the
                  spokespersons may be included in otherwise non-personalized directories, etc.
               x. Biographies of executive officers or management may be posted to the Martin
                  Defense Group website. However, biographies published on the publicly
                  accessible website will not include the date of birth, current residential
                  location, nor any information about family members.
              xi. Exceptions
                         1. Educational mission. In instances where the mission of the company
                            includes an educational mission, and where unclassified dissertations
                            or professional papers may be published to the Web for the purpose of
                            peer review, the following disclaimer for exchange of professional
                            information and ideas among scientists, engineers, or educators, must
                            be displayed:
                             "Material contained herein is made available for the purpose of peer
                             review and discussion and does not necessarily reflect the views of the
                             Martin Defense Group LLC or its clients or subcontractors."
                         2. Recruiting mission. Martin Defense Group may include advertising
                            for employment opportunities.


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 f. Interactivity of website
        1. Martin Defense Group may not operate unmoderated newsgroups, bulletin boards, or
           any other unrestricted access posting. This specifically prohibits a publicly accessible,
           services interactive site that supports automatic posting of information submitted by
           personnel other than those authorized by the company to post information. Some
           Weblogs (blogs) may fall into this category. This does not, however, prohibit the
           company from posting frequent messages from the executive team. There is also no
           prohibition on blogs operated by individual members as private citizens.
        2. Public queries for information should be linked/directed to the site web manager or
           public affairs office. Queries should be handled consistent with other written requests
           for information. Responses shall discuss only those issues within Martin Defense
           Group’s cognizance.
 g. Collection of personal data
        1. The Martin Defense Group website shall not collect any personal data (name, address,
           phone number, etc.) about a visitor. Network identification and Internet protocol
           addresses are not considered personal data.
        2. The use of persistent cookies or any persistent identification element is prohibited on
           the website unless all of the following four conditions are met:
                i. The site provides clear and conspicuous notice of the use of cookies and a
                   description of the safeguards for handling the information collected from the
                   cookies.
               ii. There is a compelling need to gather the data on the site.
               iii. Appropriate and publicly disclosed privacy safeguards exist for handling any
                    information derived from the cookies.
               iv. Web Bugs (i.e. tiny and/or invisible graphics on Web pages linked to third-
                   party advertising, marketing, or eavesdropping entities or the like) and other
                   automated means of collecting personally-identifying information without the
                   express permission of the user are not included.




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 SOP #:              MDG-AC-100
 Title:              Account Management
 1.0         Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to
 manage information system accounts. This includes authorizing access, establishing and
 approving new accounts, setting and changing account privileges, and terminating accounts.
 Project Managers (PM) serve as Account managers.
 2.0         Procedure
       2.1    New Access
             2.1.1   Folders in the Restricted network server
                (1) Creating a new folder
                     (a) When a PM would like to create a new folder on the Restricted network
                         server, the PM should email Martin Defense Group IT
                         <it@mdefensegroup.com> with the following information:
                        (i) Folder and subfolder names (including a full pathway to such folder on the
                             Restricted network server)
                        (ii) Full name list of all Users who should have access to (i) above
                        (iii)Type of access granted to Users in (ii) above: Read Only or Read/Write
                             Access
                        (iv) Restrictions to Users in (ii) disallowing access to particular subfolders in
                             (i) above
                        (v) The effective date of creation
                (2) Granting access to an existing folder
                     (a) Project folders created by PMs
                        (i) When a PM would like to grant a User access to an existing folder on the
                            Restricted network server, the PM should e-mail Martin Defense Group IT
                            < it@mdefensegroup.com> asking to grant access to such User with the
                            following information:
                            1. Full name of User
                            2. Folder name (including a full pathway to such folder on the Restricted
                               network server)
                            3. Type of access: Read Only or Read/Write Access
                            4. Restrictions to the User in 1. disallowing access to particular
                               subfolders in 2. Above, if any
                            5. Explanation of why the User needs access
                            6. The effective date of granting access
                     (b) Folders not created by PMs (e.g., Contracts, Proposals, etc.)
                            1. When a PM would like to grant a User access to an existing folder on
                               the Restricted network server that he or she did not create, the PM


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                            should e-mail the creator of such folder (e.g., Contracts Manager for
                            the Contracts folder) asking for access and providing an explanation of
                            why the User needs access.
                         2. Upon granting approval of such access, the creator of such folder
                            should e-mail Martin Defense Group IT < it@mdefensegroup.com>
                            asking to grant access to such User with the following information:
                          a. Full name of User
                          b. Folder name (including a full pathway to such folder on the
                             Restricted network server)
                          c. Type of access: Read Only or Read/Write Access
                          d. Restrictions to User in a. disallowing access to particular
                             subfolders in b. above, if any
                          e. Explanation of why the User needs access
                          f. The effective date of granting access
                          g.
        2.1.2   Folders under the SharePoint platform through Microsoft Teams
           (1) Creating a new team
                (a) When a PM would like to create a new team under Microsoft Teams, the PM
                    should e-mail Martin Defense Group IT < it@mdefensegroup.com> with the
                    following information:
                      (i) Team name
                      (ii) Full name list of all Users who should have access to (i) above
                      (iii)Type of access granted to Users in (ii) above: Read Only or Read/Write
                           Access
                      (iv) The effective date of creation
                      (v) Project number xx-Kxxx or Department
           (2) Granting access to an existing team
                (a) When a PM would like to grant a User access to an existing team under
                    Microsoft Teams, the PM can click the team name in Microsoft Teams at the
                    top, click the “Add member” button, type the User name in the dialog box,
                    click the Add button, and select either the “Owner” and “Member” role for the
                    User.
    2.2 Modifying Privileges
        2.2.1   Folders in the Restricted network server
           (1) Project folders created by PMs
                (a) When a PM would like to modify access to an existing folder on the
                    Restricted network server for a User, the PM should e-mail Martin Defense
                    Group IT < it@mdefensegroup.com> asking to modify access to such User
                    with the following information:
                      (i) Full name of User



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                      (ii) Folder name (including a full pathway to such folder on the Restricted
                           Drive)
                      (iii)Type of access: Read Only or Read/Write Access
                      (iv) Restrictions to Users in (i) disallowing access to particular subfolders in
                           (ii) above, if any
                      (v) The effective date of modification
           (2) Folders not created by PMs (e.g., Contracts, Proposals, etc.)
                (a) When a PM would like to modify access to an existing folder on the
                    Restricted network server for a User, the PM should e-mail the creator of such
                    folder (e.g., Contracts Manager for the Contracts folder) asking for a
                    modification of access.
                    (i) Upon granting approval of such modification, the creator of such folder
                        should e-mail Martin Defense Group IT <It@mdefensegroup.com> asking
                        to modify access to such User with the following information:
                         1. Full name of User
                         2. Folder name (including a full pathway to such folder on the Restricted
                            network server)
                         3. Type of access: Read Only or Read/Write Access
                         4. Restrictions to Users in (1) disallowing access to particular subfolders
                            in (3) above, if any
                         5. The effective date of modification
        2.2.2   Folders under the SharePoint platform through Microsoft Teams
           (1) When a PM would like to modify access to an existing team under Microsoft
               Teams for a User, the PM can click the team name in Microsoft Teams at the top
               and select either the “Owner” and “Member” role for the User under the list of
               members.
    2.3 Terminating Access
        2.3.1   Folders in the Restricted network server
           (1) Project folders created by PMs
                (a) When a PM would like to terminate access to an existing folder on the
                    Restricted network server for a User, the PM should e-mail Martin Defense
                    Group IT < it@mdefensegroup.com > asking to terminate access to such User
                    with the following information:
                      (i) Full name of User
                      (ii) Folder name (including a full pathway to such folder on the Restricted
                           network server)
                      (iii)The effective date of termination
           (2) Folders not created by PMs (e.g., Contracts, Proposals, etc.)
                (a) When a PM would like to terminate access to an existing folder on the
                    Restricted network server for a User, the PM e-mail the creator of such folder




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                      (e.g., Contracts Manager for the Contracts folder) asking for the termination
                      of access.
                      (i) The creator of such folder should e-mail Martin Defense Group IT
                          <It@mdefensegroup.com> asking to terminate access to such User with
                          the following information:
                         1. Full name of User
                         2. Folder name (including a full pathway to such folder on the Restricted
                            Drive)
                         3. The effective date of termination
          2.3.2   Folders under the SharePoint platform through Microsoft Teams
              (1) When a PM would like to terminate access to an existing team under Microsoft
                  Teams for a User, the PM can click the team name in Microsoft Teams at the top
                  and click the “X” box next to the User’s name under the list of members.
       2.4 Review Access
          2.4.1 Active Directory. On a quarterly basis, the Audit Administrator shall review the
              Active Directory on to determine whether only Users who need access to folders in
              the Restricted network server are provided access (e.g., eliminate access for Users
              who are terminated or transferred away from a project from having access to the
              associated folder). The Audit Administrator shall also determine whether Users have
              the appropriate level of access as well as remove Users who no longer need access.
          2.4.2 SharePoint. On a quarterly basis, the Audit Administrator shall review access to
              folders on the SharePoint platform to determine whether only Users who need access
              to such folders are provided access. The Audit Administrator shall also determine
              whether Users have the appropriate level of access as well as remove Users who no
              longer need access.
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1 Designated IT Personnel. Responsible for maintaining user profiles in Active
              Directory to monitor User access. Creates, enables, modifies, disables, and removes
              information system accounts for Users.
          3.1.2 PMs. Responsible for knowing which data on Martin Defense Group’s
              information systems is CUI. Responsible for creating, enabling, modifying, disabling,
              and removing information system accounts for Users on the SharePoint platform.
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:              MDG-AC-101
 Title:              Authenticator Management
 1.0         Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to
 manage information system account authenticator .
 This includes initial authenticator establishment and distribution, distribution of multifactor
 authentication (MFA) tokens, changing authenticators, lost/compromised or damaged
 authenticators, and revoking authenticators.
 2.0         Procedure
       2.1    Initial Authenticator Establishment and Distribution
             2.1.1 Designated IT Personnel shall create an initial authenticator (password) for
 new Users, which shall be randomly-generated letters and numbers. Initial authenticator
 distribution shall be accomplished either face to face or over the phone via voice or text.
             2.1.2 Upon receipt of the initial authenticator, the User shall log in to the system
 and follow system prompts to immediately create a new password that complies with Martin
 Defense Group’s password complexity policy (see Access Control Policy 4.2.a.7). Users shall
 not share their network password with anyone.
             2.1.3 Designated IT Personnel shall then provide an MFA token to the User. When
 the User initially plugs in the MFA token, the MFA token software will prompt the User to
 establish a private PIN to use the token.
       2.2    Lost/Compromised or Damaged Authenticators
          2.2.1 Users promptly report loss, damage, or compromise of their authenticator or
 MFA token to Designated IT Personnel.
                (1) Designated IT Personnel shall assist the User to recover/repair/replace the
                    authenticator and notify the FSO of the incident.
                (2) The Facility Security Officer shall initiate an investigation to determine if there
                    are any potential reportable cybersecurity breaches.
 3.0         Reference
       3.1 Roles and Responsibilities
             3.1.1   Designated IT Personnel.
                (1) Establishes system parameters such that users are required to change their
                    network password every 60 days. Establishes system parameters such that users
                    must comply with Martin Defense Group’s password complexity policy when
                    changing passwords. Establishes system parameters that prohibit users from
                    reusing passwords for a minimum of one (1) generation. Revokes authenticator(s)
                    for users who no longer require access to Martin Defense Group’s information
                    system or have been inactive for more than 30 days.


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            (2) At the time of initial authenticator distribution for new user accounts, prepares an
                MFA token for use with Martin Defense Group’s system and issues it to a User.
                Recovers MFA tokens from users who no longer require Martin Defense Group
                system access. Maintains an active inventory of all MFA tokens.
            (3) Ensures that identifiers are never re-used.
            (4) Configures information system to store and transmit only cryptographically
                protected passwords and obscure feedback of passwords when typed in.
    3.2 Definitions. See Appendix C Glossary




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 SOP #:              MDG-AC-102
 Title:              Information System Login
 1.0         Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to login
 to information system accounts. This includes logging in via direct (wired) access, wireless access,
 and restoring a network session.
 2.0         Procedure
       2.1 Direct (Wired) Access
             2.1.1   Follow these steps to login to the information system via a wired connection:
                (1) Ensure host (workstation or laptop, as applicable) is connected to the information
                    system via Ethernet cable or similar; laptops may use a docking station for this
                    purpose.
                (2) Power-up host.
                (3) Insert MFA smart card into card reader port on the computer (or docking station,
                    as appropriate).
                (4) When prompted, enter your username and password.
       2.2    Wireless Access
             2.2.1   Follow these steps to login to the information system via a wireless connection:
                (1) Power-up host (workstation or laptop, as applicable).
                (2) Insert MFA smart card into card reader on the computer (or docking station, as
                    appropriate).
                (3) When prompted, enter your username and password.
                (4) Ensure Wi-Fi is enabled on the host.
                (5) Connect to a Wi-Fi network.
                (6) To also access the information on the Restricted network server, establish a VPN
                    connection with the Fortinet VPN client (select “Corporate” under the WiFi screen
                    and click the “Connect” button).
       2.3    Restoring a Session
             2.3.1 The information system is configured to prevent further access to the system by
                 initiating a session lock after fifteen (15) minutes of inactivity or upon receiving a
                 request from the user. To re-establish access from a session lock, follow these steps:
                (1) Activate the login screen by simultaneously pressing the Ctrl, Alt, and Delete
                    buttons.
                (2) Insert MFA smart card into card reader on the computer (or docking station, as
                    appropriate).
                (3) When prompted, enter your username and password.
       2.4    Unsuccessful Logins




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          2.4.1 After 5 consecutive login attempts, the session will be locked. Please wait 15
              minutes before attempting to login again or contact the Designated IT Personnel.
 3.0      Reference
       3.1 Definitions. See Appendix C Glossary.




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 SOP #:             MDG-AC-103
 Title:             Use of Portable Storage Devices
 1.0         Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to
 manage the use of portable storage devices with the information system. This includes authorizing
 usage, inventory control, marking, encryption, physical protection, and disposal/release.
 2.0         Procedure
       2.1    USB drive: Users that wish to store information electronically (regardless of its
              classification as CUI or not) on a portable storage device may only do so using a USB
              drive issued by the IT department after sending a request to it@mdefensegroup.com.
              Users are prohibited from using all other devices such as portable hard drives or
              personal USB drives to store Martin Defense Group information.
       2.2    SD/micro SD/CF: Users that wish to use recording devices such as a GoPro to conduct
              Martin Defense Group business may only do so using such a device issued by the IT
              department after submitting a request to it@mdefensegroup.com. Users are prohibited
                                                                    ■
              from using all other devices such as personal devices or company-issued cell phones to
              generate digital information for Martin Defense Group business.
             2.2.1 Users are allowed to upload digital media from Martin Defense Group-issued
                 devices to Martin Defense Group’s network.
 3.0         Reference
       3.1 Roles and Responsibilities
             3.1.1 Designated IT Personnel. Must maintain an inventory of USB drives and
                 recording devices issued to Users, which would include (1) make and model and (2)
                 User name. Conducts annual audits of inventory to make sure such a device has not
                 been lost or stolen. Designated office employees at remote offices will maintain and
                 inventory of USB drives and recording devices at those specified locations.
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:             MDG-AC-104
 Title:             Printing in a Network Environment
 1.0         Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to print
 documents containing CUI using printers connected to Martin Defense Group’s information
 system.
 2.0         Procedure
       2.1    Printing CUI.
             2.1.1 When printing documents containing or possibly containing CUI, an Information
                 System User must choose a CUI Designated Printer in the software print screen and
                 select “Secure Print” or “Private Print” in the Printer Properties rather than “Normal
                 Print.” The Information System User should then be prompted by the software to
                 create a code.
             2.1.2 The Information System User must then physically go to the selected CUI
                 Designated Printer and input the code in step 2.1.1 above. This should release the
                 hold on the print job, and the CUI Designed Printer will print the document.
       2.2    Verifying pages. Upon picking up their document from the CUI Designated Printer,
              the Information System User should verify that they have picked up all of the pages of
              the document that was sent to such a printer.
       2.3    Dispose of CUI printouts. If an Information System User decides not to keep any
              pages of a print job that contains CUI, they must dispose such pages according to the
              MP-102 Sanitizing Digital Media procedures.
 3.0         Reference
       3.1 Roles and Responsibilities
             3.1.1 Designated IT Personnel. Establishes system/network protocols to implement the
                 procedures detailed herein. Determines which network printers may print documents
                 containing CUI (Designated CUI Printers) by verifying whether a printer has secure
                 print capabilities, which causes a print job to be placed on hold and not print until the
                 Information System User inputs a code into the printer to release the hold. Places
                 Designated CUI Printers in locations accessible only by a User. Notifies Information
                 System Users which printers are Designated CUI Printers by placing labels on these
                 printers stating that it is a “Designated CUI Printer.”
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:           MDG-AC-105
 Title:           Publicly Accessible Content
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to protect
 Controlled Unclassified Information (CUI) from unauthorized disclosure via publicly-accessible
 systems.
 2.0      Procedure
       2.1 Uploading content to the Martin Defense Group website: A User who wishes to post
           content to the Martin Defense Group website must first send an e-mail to the FSO with a
           secure.mdefensegroup.com link to the content to request confirmation that such content
           does not contain CUI. Upon his or her approval after review, the Webmaster will upload
           the content to the appropriate online site, which will cause such content to appear on the
           Martin Defense Group website.
       2.2 Posting employment openings on the Martin Defense Group website: A User who
           wishes to post an employment opening at Martin Defense Group must fill out a Job
           Requisition Form, prepare a Job Description for the position, and forward these two
           documents to the HR Manager. Upon his or her approval after review, the HR Manager
           will upload the Job Description to the appropriate online site, which will cause the
           employment opening to appear on the Martin Defense Group website.
       2.3 Annual website review: The Audit Administrator will review Martin Defense Group’s
           website on an annual basis to find any CUI in its content and immediately notify the
           Webmaster to remove any information verified by Users to be CUI.
       2.4 Reference
          2.4.1   Definitions. See Appendix C Glossary.




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 Assessment Policy
 9 Overview
 Properly auditing and assessing the organization, information system, and processes is a critical
 component of information security. Auditing prepares the system to identify inappropriate
 behaviors and provide clues to system attacks that have penetrated the information system
 boundaries. Assessments ensure that the processes and procedures are correct and effective. To
 that end, auditing and assessments of organization systems and processes, including but not
 limited to laptop computers, desktop computers, servers, and network devices, is to be managed
 according to rules set forth in this document.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 10 Purpose
 The purpose of this policy is to outline the required and acceptable methods for auditing and
 assessing information systems, policies, and procedures at Martin Defense Group. These rules
 are in place to protect a User and Martin Defense Group. Circumventing or avoiding auditing
 and assessments exposes Martin Defense Group to risks including virus attacks, compromise of
 network systems and services, and legal liability.

 11 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to use Martin Defense Group
 computers and systems in accordance with Martin Defense Group policies and standards, and
 local laws and regulations. Definitions to terms are provided in Appendix C Glossary.

 12 Policy
 12.1 Risk Assessment
 Martin Defense Group:
 a. Periodically assesses the risk to organizational operations (including mission, functions,
    image, or reputation), organizational assets, and individuals, resulting from the operation of
    organizational systems and the associated processing, storage, or transmission of CUI.
    (3.11.1)7


 7
  Numbers in parentheses indicate a cross-reference to NIST SP 800-171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800-53 (beginning with a letter, e.g., “AC-2”).


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        1. Conducts an assessment of risk, including the likelihood and magnitude of the harm,
           from the unauthorized access, use, disclosure, disruption, modification, or destruction
           of the information system and the information it processes, stores, or transmits; (RA-
           3a)
        2. Documents risk assessment results in a risk assessment report;
        3. Reviews and updates risk assessment results at least annually or when there are
           events or conditions that may impact the security of the system. (RA-3c, RA-3e)
        4. Disseminates risk assessment results to system/network and audit administrators.
           (RA-3d)
 b. Scans for vulnerabilities in organizational systems and applications periodically and when
    new vulnerabilities affecting those systems and applications are identified. (3.11.2)
        1. External scans are performed on a quarterly basis and when new vulnerabilities
           affecting those systems and applications are identified. (RA-5a)
        2. Internal scans are performed when the risk assessment is performed. (RA-5a)
        3. Analyzes vulnerability scan reports (RA-5c)
        4. Authorizes privileged access to system components for selected vulnerability scans.
 c. Remediates vulnerabilities in accordance with assessments of risk. (3.11.3, RA-5d)

 12.2 Security Assessment
 Martin Defense Group:
 a. Periodically assesses the security controls in organizational systems to determine if the
    controls are effective in their application. (3.12.1)
        1. Develops a security assessment plan that describes the scope of the assessment. (CA-
           2a)
        2. Assesses the security controls in the information system and its environment of
           operation at least annually to determine the extent to which the controls are
           implemented correctly, operating as intended, and producing the desired outcome
           with respect to meeting established security requirements; (CA-2b)
        3. Produces a security assessment report that documents the results of the assessment.
           (CA-2c)
        4. Analyzes results from security control assessments (RA-5c)
 b. Develops and implements plans of action designed to correct deficiencies and reduce or
    eliminate vulnerabilities in organizational systems. (3.12.2, CA-5a, CA-5b, CA-7f)
 c. Monitors security controls on an ongoing basis to ensure the continued effectiveness of the
    controls. (3.12.3)
        1. Develops a continuous monitoring strategy document that drives the continuous
           monitoring program (CA-7)




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        2. Requires monthly monitoring reports and at least annual assessments supporting such
           monitoring that is provided to the Senior Management Official; (CA-7b, CA-7c, CA-
           7g)
        3. Ongoing security status monitoring in accordance with the organizational continuous
           monitoring strategy (CA-7d)
 d. Develops, documents, and periodically updates system security plans that describe system
    boundaries, system environments of operation, how security requirements are implemented,
    and the relationships with or connections to other systems. (3.12.4, PL-2a.2, PL-2a.5, PL-
    2a.8, PL-2d)
        1. Develops a security plan for the information system that is consistent with the
           organization's enterprise architecture. (PL-2a.1)
        2. Describes the operational context of the information system in terms of missions and
           business processes. (PL-2a.3)




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 Configuration Management Policy
 13 Overview
 Properly managing organization information systems configurations is a critical component of
 information security. Properly configured systems reduce the potential for harming Martin
 Defense Group LLC (Martin Defense Group) through data theft, malware installation, and
 system damage. To that end, organization systems, including but not limited to laptop computers,
 desktop computers, servers, and network devices, is to be placed under configuration
 management according to rules set forth in this document.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 14 Purpose
 The purpose of this policy is to outline the required and acceptable methods for managing
 information systems configurations at Martin Defense Group. These rules are in place to protect
 a User and Martin Defense Group. Circumventing or avoiding configuration management
 exposes Martin Defense Group to risks including virus attacks, compromise of network systems
 and services, and legal liability.

 15 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to use Martin Defense Group
 computers and systems in accordance with Martin Defense Group policies and standards, and
 local laws and regulations. Definitions to terms are provided in Appendix C Glossary.

 16 Policy
 Martin Defense Group:
 a. Establishes and maintains baseline configurations and inventory of organizational system
    components within the authorization boundary throughout the respective system
    development life cycles. (3.4.1, CM-8a.1, CM-8a.2, CM-8a.3, CM-8(1))8
         1. The baseline configuration documentation for each component includes: (CM-2)
                   i. Operating system and its non-default configuration parameters;
                  ii. Applications and their non-default configuration parameters;
                 iii. Component installation and operation manuals;

 8
  Numbers in parentheses indicate a cross-reference to NIST SP 800-171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800-53 (beginning with a letter, e.g., “AC-2”).


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                 iv. Firmware documentation.
         2. The inventory information includes: (CM-8a.4)
                  i.   Hardware - manufacturer, type, model, serial number, physical location;
                 ii.   Software – List of applications and the associated license information;
                iii.   System component custodian;
                iv.    Network information – name, IP address (if applicable), MAC address.
         3. The baseline configuration and inventory are reviewed at least annually and when
            changes are made to the system to determine if changes/updates should be performed.
            (3.4.1, CM-8b)
 b. Establishes and enforces security configuration settings for information technology products
    employed in organizational systems. (3.4.2, CM-6a)
 c. Tracks, reviews, approves/disapproves, and audits changes to organizational systems. (3.4.3,
    CM-6c, CM-3b, CM-3c, CM-3d, CM-3e)
         1. The types of changes to the system that require CM control include; (CM-3a)
                  i. Adding/removing a device
                 ii. Modifying any security-related configuration of a perimeter, server,
                     workstation, or network device.
                iii. Adding applications to any server or workstation
                iv. Modifying the network configuration of a workstation/server/network device
                 v. Updating any software (operating system or application) of a
                     workstation/server/network device
         2. A periodic review of the documented changes is performed every 30 days and a
            record of the review is captured (CM-3f)
 d. Analyzes the security impact of changes prior to implementation. (3.4.4, CM-4)
 e. Defines, documents, approves and enforces physical and logical access restrictions associated
    with changes to organizational systems. (3.4.5, CM-5)
 f. Employs the principle of least functionality by configuring organizational systems to provide
    only essential capabilities. To that end, specific ports/protocols/services are disabled on all
    system components as listed in SOP MDG-CM-101. (3.4.6, CM-7a, CM-7b)
 g. Restricts, disables, and prevents the use of nonessential programs, functions, ports, protocols,
    and services. (3.4.7, CM-7(2))
         1. Review every month what ports/protocols are available on the system, and if any
            ports/protocols are found that are not approved, then those ports/protocols are
            removed. (CM-7(1)a, CM-7(1)b)
         2. Execution of software applications are restricted to appropriate personnel and are
            operated within their license restrictions. (CM-7(2))
 h. Applies deny-by-exception (blacklist) policy to prevent the use of unauthorized software or
    deny-all, permit-by-exception (whitelisting) policy, as appropriate, to allow the execution of
    authorized software. (3.4.8, CM-7 (4)a, CM-7 (4)b, CM-7 (5)a, CM-7 (5)b)



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         1. Peer-to-peer file-sharing software applications specified in SOP MDG-CM-102 are
            not approved to operate on any organizational workstation/server. (CM-7(4)a)
         2. All workstations are configured to prevent the execution of the peer-to-peer file-
            sharing software applications listed in SOP MDG-CM-102. (CM-7(4) b)
         3. The software applications listed in SOP MDG-CM-100 are the only applications
            approved for use by the user role on Windows workstations. (CM-7(5)a)
         4. All workstations are configured to only allow the user role to execute the applications
            listed in SOP MDG-CM-100. (CM-7(5) b)
 i. Controls and monitors user-installed software. (3.4.9)
         1. Software installation rights for workstations are reserved for Designated IT Personnel
            using active directory group policy. Software installation rights for servers are
            reserved for the system/network administrator role using active directory group
            policy. (CM-11a, CM-11b)
         2. Workstation and server system components are configured to log the installation of
            software applications (CM-11c)




 SOP #:          MDG-CM-100
 Title:          Authorized Applications
 1.0     Purpose

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 The purpose of this Standard Operating Procedure (SOP) is to specify the software applications
 authorized for use with Martin Defense Group information systems.
 2.0      Procedure
       2.1 Authorized applications. A list of authorized applications on Martin Defense Group’s
           information systems is contained in a file managed by the IT department.
       2.2 Adding applications. Users that wish to add applications not included in the list above to
           their computers must e-mail the IT department to have Designated IT Personnel to
           review, approve, and install such applications.
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1 Designated IT Personnel. Responsible for conducting an annual review of the
              authorized applications.
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:           MDG-CM-101
 Title:           Prohibited Ports/Protocols/Services
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify those ports, protocols, and
 services that are prohibited from use on Martin Defense Group’s information systems.
 2.0      Procedure
       2.1 Prohibited ports/protocols/services. In compliance with our Configuration Management
           Policy, the following nonessential functions, ports, protocols, and services have been
           disabled from Martin Defense Group’s information systems:
          2.1.1 Web filter profile is set to block: Abortion, Advocacy Organizations, Alcohol,
              Alternative Beliefs, Dating, Gambling, Lingerie and Swimsuit, Marijuana, Nudity and
              Risque, Other Adult Materials, Pornography, Sex Education, Sports Hunting and War
              Games, Tobacco, Dynamic DNS, Malicious Websites, Phishing, and Spam URLs.
          2.1.2   Web filter is set to warn for: Extremist Groups.
          2.1.3 Services blocked: FastLemon.VPN, Hola.Unblocker, Hotspot.Shield, and
              Private.Internet.Access.VPN.
       2.2 Enabling ports/protocols/services. Users that wish to enable any nonessential capability
           listed above on their computers must e-mail Martin Defense Group IT
           <it@mdefensegroup.com> to have Designated IT Personnel to enable such capability.
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1   Designated IT Personnel. Responsible for:
              (1) Reviewing what ports/protocols are available on Martin Defense Group’s system
                  every 6 months and remove any that are unapproved.
              (2) Conducting an annual review of prohibited ports/protocols/services.
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:           MDG-CM-102
 Title:           Prohibited Applications
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the software applications
 that are prohibited from use with Martin Defense Group information systems
 2.0      Procedure
       2.1 Prohibited applications. A list of prohibited applications on Martin Defense Group’s
           information systems is managed by the IT department.
       2.2 Adding applications. Users that wish to add any application included in the list above to
           their computers must e-mail the IT department to have specific applications reviewed and
           approved to install such applications.
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1 Designated IT Personnel. Responsible for conducting an annual review of
              prohibited application


       3.2 Definitions. See Appendix C Glossary.




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 SOP #:           MDG-CM-103
 Title:           Configuration Change Control
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to track,
 review, approve/disapprove, and audit changes to organizational systems.
 2.0      Procedure
       2.1 Designated IT Personnel must document changes to Martin Defense Group’s
           organizational system (Configuration Documentation).
       2.2 Designated IT Personnel shall review the Configuration Documentation every 30 days.
       2.3 A notice will be provided to Users of upcoming changes. This will be identified at the
           weekly Friday IT status meeting.
 3.0      Reference
       3.1 Definitions. See Appendix C Glossary.




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 Media Protection and Backup Policy
 17 Overview
 Properly backing up organization information systems and protecting media are critical
 components of information security and reduce the potential for harming Martin Defense Group
 LLC (Martin Defense Group) through data theft, malware installation, and system damage. To
 that end, protection of media and backups of organization systems, including, but not limited to,
 laptop computers, desktop computers, servers, and network devices, are to be managed according
 to rules set forth in this document.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 18 Purpose
 The purpose of this policy is to outline the required and acceptable methods for protecting media
 and backing up information systems at Martin Defense Group. These rules are in place to protect
 a User and Martin Defense Group. Circumventing or avoiding media protection and backups
 exposes Martin Defense Group to risks including virus attacks, compromise of network systems
 and services, and legal liability.

 19 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to access Martin Defense
 Group computers and systems in accordance with Martin Defense Group policies and standards,
 and local laws and regulations. Definitions to terms are provided in Appendix C Glossary.
 Policy

 19.1 Media Protection
 Martin Defense Group:
 a. Protects (i.e., physically controls and securely stores) system media containing CUI
    (Controlled Unclassified Information), both paper and digital. (3.8.1, MP-4a, MP-4b)9
 b. Limits access to CUI on system media to authorized users. (3.8.2, MP-2)
 c. Adds into media that contain CUI.
 d. Sanitizes or destroys system media containing CUI before disposal or release for reuse.
    (3.8.3, MP-6)


 9
  Numbers in parentheses indicate a cross-reference to NIST SP 800-171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800-53 (beginning with a letter, e.g., “AC-2”).


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 e. Purge CUI from IT components before they are taken off-site for maintenance

 f. Physical Removal and Sanitization of Information Systems [NIST MA-2(c) and NIST MA-
    2(d)]

 g. Authorized personnel are to formally document any physical removal of information systems
    from facilities that are owned, operated, maintained, and/or controlled by Martin Defense
    Group. Approval procedures for physically removing information systems are to consist of
    the following: ISSM will be responsible for approving any physical removal of Information
    Systems and will log appropriate information pertaining to the removal, including reason for
    removal and any vendor related information. Additionally, all equipment is to be sanitized as
    necessary to remove all information from associated media prior to removal from
    organizational facilities for off-site maintenance or repairs.

 h. Controls access to media containing CUI and maintains accountability for media during
    transport outside of controlled areas. (3.8.5, MP-5a, MP-5b)
 i. Implements cryptographic mechanisms to protect the confidentiality of CUI stored on digital
    media during transport unless otherwise protected by alternative physical safeguards. (3.8.6,
    MP-5 (4))
 j. Controls (restricts) the use of removable media on system components. USB removable
    drives are strictly controlled by Designated IT Personnel. (3.8.7, MP-7)
 k. Prohibits the use of portable storage devices when such devices have no identifiable owner.
    (3.8.8, MP-7 (1))
 l. Protects the confidentiality of backup CUI at storage locations. (3.8.9, CP-9d)

 19.2 Backups
 Martin Defense Group conducts backups of user-level information contained in the information
 system at least weekly. (CP-9a)




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 SOP #:           MDG-MP-100
 Title:           Media Marking Requirements
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to mark
 media with necessary Controlled Unclassified Information (CUI) markings and distribution
 limitations.
 2.0      Procedure
       2.1 Distribution Statement Markings: Media shall be marked in accordance with DoDM
           5200.01 - Volume 4, which requires distributions statement markings based on
           Distribution Statement A – F classifications.
       2.2 Other Markings: Any CUI not meeting the specific labeling instructions provided in
           DoDM 5200-01 Volume 4 shall have the following markings: (3.8.4, MP-3a). See the
           Martin Defense Group “Handling of Controlled Unclassified Information Manual” for
           more specifics to Martin Defense Group.
          2.2.1 Electronic media shall contain one of the following notifications based on
              physical space available on the media:
              (1) CUI… This media contains Controlled Unclassified Information and appropriate
                  handling restrictions must be observed… CUI
              (2) Controlled Unclassified Information
              (3) CUI
          2.2.2 All paper media shall be labeled with “Controlled Unclassified Information” on
              the front cover (if there is one), the title page, the first page, and the outside of the
              back cover (if there is one). Internal pages of the document that contain CUI shall be
              marked “CUI” at the bottom.
          2.2.3
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1 PMs. Responsible for determining the proper distribution statement markings for
              media.
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:          MDG-MP-101
 Title:          Media Accountability
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to
 maintain accountability of media containing Controlled Unclassified Information (CUI) during
 transport outside of controlled areas.
 2.0      Procedure
       2.1 Paper media:
          2.1.1 Transport by mail. If sent by mail, paper media containing or possibly
              containing CUI must be sent by U.S. Postal Service Registered, Express, or Certified
              Mail.
             (1) The outer envelope must be marked "Do Not Forward. Return to Sender," and
                 under no circumstances shall the USPS Express Mail label 11-B "Waiver of
                 Signature and Indemnity" be used.
             (2) The envelope must be taken to the post office, and the use of street mail collection
                 boxes is prohibited.
             (3) The paper media must be double-wrapped with opaque inner and outer covers. It
                 shall be marked as follows:
                 (a) Mark the inner envelope top and bottom on both sides, preferably in red, with
                     the classification in capital letters. A box, on the other hand, should be marked
                     with the classification on all surfaces of the inner wrapping.
                 (b) Write the complete mailing address and complete return address on the inner
                     envelope. The address on the inner envelope should have the name of an
                     appropriately cleared individual.
                 (c) On the outer envelope, write the complete mailing address and return address.
                     Do not indicate on the outer envelope that it contains classified information.
                     The mail or shipment should be addressed to the recipient by title, not by
                     name, or to an approved classified mailing address of a federal activity or to a
                     cleared contractor using the name and classified mailing address of the
                     facility. An individual's name should not appear on the outer envelope. Instead
                     of a person's name, use office code letters, numbers, or phrases in an attention
                     line to aid in internal routing. When necessary to direct material to the
                     attention of a particular individual, put the individual's name on an attention
                     line in the letter of transmittal or on the inner container or wrapper.
             (4) A receipt identifying the sender, the addressee, and the document should be
                 attached to or enclosed in the inner envelope if the sender deems necessary or if
                 the information is being sent to a foreign government.
          2.1.2 Transport by foot or car. If transported by foot or car, paper media containing or
              possibly containing CUI must be double wrapped or packaged as though it were
              being sent by mail, kept under the User’s constant control (i.e., not left in the trunk of
              the car while the User runs another errand), and delivered only to an authorized


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              person. A briefcase may serve as the outer wrapper only if it is locked and approved
              for carrying such material by the FSO. Prepare an inventory of the material and leave
              one copy in the User’s office and another copy with the FSO. Carrying CUI on trips
              that involve an overnight stopover is not permitted without advance arrangements for
              overnight storage in a U.S. Government office or a cleared contractor facility.
          2.1.3 Transport by air travel. If transported by air travel, paper media containing or
              possibly containing CUI may only be transported by a User after obtaining a written
              letter of authorization from the FSO.
       2.2 Electronic media:
          2.2.1 CUI stored on a physical device: CUI may only be stored on a burned CD/DVD,
              Martin Defense Group-issued laptop, or Martin Defense Group-owned USB drive and
              must be kept under constant control by the User.
              (1) If sent to a destination by mail, transported by foot or car, or transported by air
                  travel, the electronic media must be treated as paper media and satisfy all of the
                  requirements in paragraph 2.1.1, 2.1.2, or 2.1.3, respectively. For purposes of
                  double wrapping, the media device does not count as inner wrapping.
          2.2.2   CUI transported electronically:
              (1) Email: CUI may not reside inside the body of or as an attachment to e-mails.
                  When e-mailing others, Users may only provide access to CUI as Liquidfiles
                  links.
              (2) Website upload or other file transmission methods: CUI must be encrypted
                  with FIPS 140-2 level encryption before transmission to others through means
                  other than e-mail.
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1 Designated IT Personnel. Ensures that company-issued phones and laptops are
              encrypted and key vaulting is implemented.
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:           MDG-MP-102
 Title:           Sanitizing Digital Media
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to sanitize
 or destroy system media containing Controlled Unclassified Information (CUI) before disposal or
 release for reuse.
 2.0      Procedure
       2.1 Paper media: Users must place unwanted documents containing or possibly containing
           CUI into shred bins provided by Martin Defense Group.
       2.2 CD/DVDs: Users must place unwanted CD/DVDs containing or possibly containing CUI
           into shred bins provided by Martin Defense Group.
       2.3 Laptops and workstations: Users must return unused laptops and workstations to
           Designated IT Personnel for sanitation.
       2.4 Martin Defense Group-issued USB drives: Users must return unused Martin Defense
           Group USB drives to Designated IT Personnel for sanitation.
       2.5 SD/micro SD/CF cards in Martin Defense Group-issued devices: Users must return
           unused Martin Defense Group-issued devices containing SD/micro SD/CF cards to
           Designated IT Personnel for sanitation.
          Reference
       2.6 Roles and Responsibilities
          2.6.1 Designated IT Personnel: Responsible for sanitizing laptops, workstations, Martin
              Defense Group-issued USBs, and SD/micro SD/CF cards in compliance with DoD
              5220.22-M procedures.
          2.6.2 FSO and/or Office Manager: Responsible for placing shred bins that comply with
              DoD 5220.22-M procedures in each Martin Defense Group branch.
 3.0 Reference
       3.1 Definitions. See Appendix C Glossary.




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 SOP #:          MDG-MP-103
 Title:          Backups of User-Level Information
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to ensure
 the availability of the data in Martin Defense Group’s information systems by protecting it from
 inadvertent loss due to system/hardware failures or natural disasters.
 2.0      Procedure
       2.1 Encryption for backups. For purposes of backing up server information, Designated IT
           Personnel must use software (currently Veeam) and storage (currently AWS GovCloud)
           that encrypts data during transit and rest.
       2.2 Periodic backups. Designated IT Personnel shall conduct backups of user-level
           information at least weekly.
 3.0      Reference
       3.1 Definitions. See Appendix C Glossary.




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 Monitoring and Systems/Communications
 Protection Policy
 20 Overview
 Properly monitoring and protecting Martin Defense Group’s information and communications
 systems and the activities within them are critical components of information security. Protecting
 information and communications systems helps prevent inappropriate behaviors and provide
 clues to system attacks that have penetrated the information system boundaries. To that end, the
 monitoring and protection of organization systems and communications, including but not
 limited to laptop computers, desktop computers, servers, and network devices, is to be managed
 according to rules set forth in this document.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 21 Purpose
 The purpose of this policy is to outline the required and acceptable methods for monitoring and
 protecting the information and communications systems at Martin Defense Group. These rules
 are in place to protect a User and Martin Defense Group. Circumventing or avoiding these
 protections exposes Martin Defense Group to risks including virus attacks, compromise of
 network systems and services, and legal liability.

 22 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to use Martin Defense Group
 computers and systems in accordance with Martin Defense Group policies and standards, and
 local laws and regulations. Definitions to terms are provided in Appendix C Glossary.

 23 Policy
 23.1 Audit and Accountability
 Martin Defense Group:
 a. Creates, protects, and retains system audit records to the extent needed to enable the
    monitoring, analysis, investigation, and reporting of unlawful, unauthorized, or inappropriate
    system activity. Determines that the information system is capable of auditing the events




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      specified in SOP MDG-MSP-100. (3.3.1, AU-2a, AU-2d, AU-12a)10
 b. Ensures that the actions of individual system users can be uniquely traced to those users so
    they can be held accountable for their actions. The information system generates audit
    records containing information that establishes what type of event occurred, when the event
    occurred, where the event occurred, the source of the event, the outcome of the event, and the
    identity of any individuals or subjects associated with the event. (3.3.2, AU-3)
 c. Reviews and updates the audited events list at least annually. (3.3.3, AU-2(3))
 d. Alerts system/network and audit administrators in the event of an audit process failure.
    (3.3.4, AU-5a)
 e. Correlates audit reviews, analyses, and reporting processes for investigation and response to
    indications of inappropriate, suspicious, or unusual activity. (3.3.5).
         1. Reviews and analyzes information system audit records continuously for indications
            of inappropriate or unusual activity; (AU-6a)
         2. Reports findings to the Incident Response Team. (AU-6b)
         3. The organization analyzes and correlates audit records across different repositories to
            gain organization-wide situational awareness. (AU-6(3))
 f. Provides an audit reduction and report generation capability within the information system
    that supports on-demand audit review, analysis, and reporting requirements and after-the-fact
    investigations of security incidents. (3.3.6, AU-7a)
 g. It provides a system capability that compares and synchronizes internal system clocks with
    an authoritative source to generate timestamps for audit records. (3.3.7)
         1. The information system uses internal system clocks to generate timestamps for audit
            records (AU-8a)
         2. The information system compares the internal information system clocks at least
            every 24 hours with NIST authoritative time source (AU-8(1)a)
 h. Using the information system protects audit information and audit tools from unauthorized
    access, modification, and deletion. (3.3.8, AU-9)
 i. Limits management of audit functionality to a subset of privileged users, specifically audit
    administrators only. (3.3.9, AU-9(4))

 23.2 System and Communications Protection
 a. Martin Defense Group:
         1. Employs architectural designs, software development techniques, and system security
            engineering principles in the specification, design, development, implementation, and
            modification of the information system that promotes effective information security
            within organizational systems. (3.13.2, SA-8)



 10
   Numbers in parentheses indicate a cross-reference to NIST SP 800-171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800-53 (beginning with a letter, e.g., “AC-2”).


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           2. Establishes and manages c1yptographic keys for required c1yptography employed in
              organizational systems per NIST FIPS-compliance. (3 .13 .10, SC-12)
           3. C1yptographic Key Establishment an d Management & Protection [NIST SC-12, NIST
              SC-13] Ma1tin Defense Group LLC establishes and manages c1yptographic keys for
              required c1yptography employed within the info1m ation system in accordance with
              man dated requirements, an d that enc1yption is used where necessaiy for ensuring
              info1mation is protected during transit, and at rest. Maitin Defense Group LLC will
              abide by th e recommendations for key management established in NIST SP 800-57
              Paits 1 - 3, DoDI 8520.02 "Public Key Infrastm cture and Public Key
              Enabling", DoDI 8520.03 "Identity Authentication for Infonnation Systems." , and
              NSA Key Management Requirements Annex vl .0. Maitin Defense Group LLC
              produces, controls, and distributes c1yptographic keys using NSA-approved key
              man agement technology and processes. Maitin Defense Group LLC 's initiatives
              related to c1yptographic key establishment and management ai·e listed in the matrix
              below:




                                 1 data is enc1ypted using Microsoft Bitlocker on all hard drives.
                                 1 Bitlocker recove1y keys ai·e printed an d stored in the safe.

                                 1NFS traffic is enc1ypted in transit using Transpo1t Layer
                                ecurity (TLS) 1.2.
   ata in Transit
                                 e system is configured to use FIPS-compliant algorithms for
                                nc1yption, hashing, an d signing.

                                1yptographic keys ai·e all stored in the Windows Ce1tificate Store
 Storage                        n each computer and backed up during nonnal maintenan ce
                                 indows.

                                  e organization maintains availability of info1mation in the event
   ccess                        f the loss of c1yptographic keys by users. All users have access to
                               h e Windows Certificate Store.

                                  en there are no fmt her requirements for retaining KM or its
                                ssociation with an entity, the key will be de-registered (i.e., all
                               ·ecords of the KM and its associations should be destroyed), and all
   estruction                   opies of the private or secret key will be destroyed.
                                  y media on which the KM was stored will be erased in a manner
                               h at removes all traces of the KM so that it cannot be recovered by
                                ither physical or electronic means.




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         4. Controls and monitors the use of mobile code within the information system.
            (3.13.13, SC-18c)
                 i. Logged mobile code includes ActiveX, Shockwave, JavaScript, VBA script,
                    and Java applet.
                 ii. Denied mobile code includes: Flash
                iii. Utilizing PDF files with approved readers.
         5. Martin Defense Group shall implement a tamper protection program for the
            information system, system component, or information system service to protect the
            network from mobile code that performs unauthorized and malicious actions. The
            following are categories of mobile code/active content:
                i. Category 1/high risk mobile code technologies exhibit a broad functionality,
                     allowing unmediated access to workstation, server and remote system services
                     and resources. These pose a significant risk to the company’s information
                     systems because they allow unlimited access to a user’s computer. There are
                     two subgroups of Category 1 mobile code technologies:
                ii. Category 1 technologies can differentiate between signed and unsigned
                     mobile code. The technologies can also be configured to allow the execution
                     of signed mobile code while simultaneously blocking the execution of
                     unsigned mobile code. Category 1 mobile code technologies may be used by
                     Martin Defense Group when additional restrictions are implemented. The
                     following are assigned to Category 1:
                             (a) ActiveX controls
                             (b) Shockwave movies (e.g., dcr, .dxr, .dir files), including Xtras, that
                                 execute in the Shockwave for Director plug-in.
                iii. Category 1 consists of mobile code technologies that are prohibited from use
                     on information systems beyond the local information system’s authorization
                     boundary, or to or from external entities because they cannot differentiate
                     between signed and unsigned mobile code nor can they be configured to block
                     the execution of unsigned mobile code while enabling the execution of signed
                     mobile code. The following are assigned to Category 1:
                             (a) Mobile code scripts that execute in Windows Scripting Host
                                 (WSH) (e.g., JavaScript or VBScript downloaded via URL file
                                 reference or email attachments)
                             (b) Hypertext Mark-up Language (HTML) applications (e.g., .hta
                                 files) that download as mobile code • Scrap objects (e.g., .shs and
                                 .shb files)
                             (c) Microsoft Disk Operating System (MS-DOS) batch scripts
                             (d) UNIX shell scripts
                             (e) Binary executables (e.g., .exe files) that download as mobile code
                iv. Category 1 mobile code must be obtained from a trusted source and must be
                     signed with a company approved PKI code-signing certificate.


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                 v. iii. All information systems capable of executing mobile code must be
                      configured to disable the execution of unsigned Category 1 mobile code
                      obtained from outside the managed boundary.
                 vi. Category 2/medium risk mobile code technologies have full functionality,
                      allowing mediated or controlled access to workstations, server, and remote
                      system services and resources. Category 2 technologies can pose a moderate
                      security threat to the information systems because they offer limited control
                      by the user on what the code is allowed to do. They may be used when the
                      Category 2 restrictions are implemented.
                 vii. The following are assigned to Category 2:
                              (a) Java applets and other Java mobile code
                              (b) Visual Basic for Applications (VBA) (e.g., Microsoft Office
                                  macros)
                              (c) LotusScript (e.g., Lotus Notes scripts)
                              (d) PerfectScript (e.g., Corel Office macros)
                              (e) Postscript
                              (f) Mobile code executing in .NET Common Language Runtime
                 viii. Category 2 mobile code may be used if it is obtained from a trusted source
                      over an assured channel (i.e., TLS VPN, IPsec, or other approved by the
                      ESRMO).
                 ix. Unsigned Category 2 code, whether or not obtained from a trusted source over
                      an assured channel, may be used if it executes in a constrained environment
                      without access to local system and network resources (e.g., file system,
                      Windows registry, or network connections other than to its originating host).
                 x. Where technically configurable, web browsers and other mobile code-enabled
                      products must be configured to prompt the user prior to the execution of
                      Category 2 code.
                 xi. Where technically configurable, protections against malicious Category 2
                      technologies must be employed at end user systems and at system boundaries.
                 xii. Category 3/low risk mobile code technologies support limited functionality,
                      with no capability for unmediated access to workstation, server, and remote
                      system services and resources. Category 3 mobile code may be freely used
                      without restrictions in information systems. Category 3 technologies pose
                      limited risk to the information systems because they are very restricted in the
                      actions they can perform. The following are assigned to Category 3:
                              (a) JavaScript, including Jscript and European Computer
                                  Manufacturers Association (ECMA) Script variants, when
                                  executing in the browser
                              (b) VBScript, when executing in the browser
                              (c) Portable Document Format (PDF)
                              (d) Flash animations (e.g., .swf and .spl files) that execute in the
                                  Shockwave Flash plug-in




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                 xiii. Emerging mobile code technologies refer to all mobile code technologies,
                      systems, platforms, or languages whose capabilities and threat level have not
                      yet undergone a risk assessment and therefore have not been assigned to one
                      of the three risk categories described above. Emerging mobile code
                      technologies must not be used unless approved by the IT department. The
                      download and execution of mobile code using emerging technologies must be
                      blocked by all means available at the network boundary, workstation, host,
                      and within applications.


         6. Controls and monitors the use of Voice over Internet Protocol (VoIP) technologies
            within the information system, separating VOIP systems into a separate VLAN from
            systems handling CUI. (3.13.14, SC-19b)
 b. The information system:
         1. Monitors, controls, and protects communications (i.e., information transmitted or
            received by organizational systems) at the external boundaries and key internal
            boundaries of organizational systems. (3.13.1)
                 i. Monitors and controls communications at the external boundary of the system
                    and at key internal boundaries within the system (SC-7a)
                 ii. Connects to external networks or information systems only through managed
                     interfaces consisting of boundary protection devices arranged in accordance
                     with an organizational security architecture. (SC-7c)
         2. Separates user functionality (including user interface services) from information
            system management functionality. (3.13.3, SC-2)
         3. Prevents unauthorized and unintended information transfer via shared system
            resources. Only modern operating systems that support object reuse requirements
            may be used for workstation and server components. (3.13.4, SC-4)
         4. Implement subnetworks for publicly-accessible system components that are
            physically or logically separated from internal organizational networks. (3.13.5, SC-
            7b)
         5. Denies network communications traffic by default and allows network
            communications traffic by exception (i.e., deny all, permit by exception). (3.13.6, SC-
            7 (5))
         6. Prevents remote devices from simultaneously establishing non-remote connections
            with organizational systems and communicating via some other connection to
            resources in external networks. (3.13.7, SC-7 (7))
         7. Implements cryptographic mechanisms to prevent unauthorized disclosure of
            Controlled Unclassified Information (CUI) during transmission unless otherwise
            protected by alternative physical safeguards. (3.13.8)
                 i. The information system protects the confidentiality of transmitted
                    information. (SC-8)


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                 ii. The information system implements cryptographic mechanisms to prevent
                     unauthorized disclosure of sensitive information during transmission unless
                     otherwise protected by alternative physical safeguards when traversing areas
                     not approved for the sensitivity of the information. (SC-8 (1))
         8. Employs FIPS-validated cryptography when used to protect the confidentiality of
            CUI in accordance with applicable federal laws, Executive Orders, directives,
            policies, regulations, and standards. (3.13.11, SC-13)
         9. Terminates network connections associated with communications sessions at the end
            of the sessions or after 15 minutes of inactivity. (3.13.9, SC-10)
         10. Prohibits remote activation of collaborative computing devices and provides an
             indication of devices in use to users present at the device. (3.13.12)
                 i. Prohibits remote activation of collaborative computing devices with the
                    following exceptions: dedicated VTC suites, which rely on one of the
                    participants calling or connecting to the other party to activate the video
                    conference, located in approved VTC locations that are centrally managed.
                    (SC-15a)
                 ii. It provides an explicit indication of use to users physically present at the
                     devices. Where such an indicator is not feasible, provides a means to
                     physically obstruct the device. (SC-15b)
         11. Protects the authenticity of communications sessions. (3.13.15, SC-23)
         12. Protects the confidentiality of CUI at rest. (3.13.16, SC-28)

 23.3 System and Information Integrity
 Martin Defense Group:
 a. Identifies, reports and corrects information system flaws in a timely manner. (3.14.1)
         1. Identifies, reports, and corrects information system flaws (SI-2a)
         2. Installs security-relevant software and firmware updates within 30 days of the release
            of the updates (SI-2c)
 b. Employs malicious code protection mechanisms at information system entry and exit points
    to detect and eradicate malicious code. (3.14.2, SI-3a)
 c. Monitors system security alerts and advisories and takes appropriate actions in response.
    (3.14.3)
         1. Receives information system security alerts, advisories, and directives from the US-
            CERT on an ongoing basis. (SI-5a)
         2. Generates internal security alerts, advisories, and directives as deemed necessary (SI-
            5b)
         3. Disseminates security alerts, advisories, and directives to system/network and audit
            administrators. (SI-5c)




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         4. Implements security directives in accordance with established time frames, or notifies
            the issuing organization of the degree of noncompliance (SI-5d)
 d. Updates malicious code protection mechanisms whenever new releases are available in
    accordance with organizational configuration management policy and procedures. (3.14.4,
    SI-3b)
 e. Performs periodic scans of organizational systems and real-time scans of files from external
    sources as files are downloaded, opened, or executed. (3.14.5)
         1. Configures malicious code protection mechanisms to perform periodic scans of the
            information system at least weekly and real-time scans of files from external sources
            at endpoints and network entry/exit points as the files are downloaded, opened, or
            executed in accordance with organizational security policy (SI-3c.1)
         2. Configures malicious code protection mechanisms to block and quarantine malicious
            code then send an audit event in response to malicious code detection (SI-3c.2)
 f. Continuously monitors organizational systems, including inbound and outbound
    communications traffic, for unusual or unauthorized activities or conditions to detect attacks
    and indicators of potential attacks. (3.14.6, SI-4(4))
 g. Identifies unauthorized use of organizational systems. (3.14.7)
         1. Monitors the information system to detect attacks and indicators of potential attacks
            with the objective of preventing incursions and, when they occur, to reduce the time
            that an incursion is active. (SI-4a.1)
         2. Monitors the information system to detect unauthorized local, network, and remote
            connections. (SI-4a.2)
         3. Identifies unauthorized use of the information system through monitoring
            communications and system logs. (SI-4b)
         4. Deploys monitoring devices:
                 i. Strategically within the information system to collect organization-determined
                    essential information; (SI-4c.1) and
                 ii. At ad hoc locations within the system to track specific types of transactions of
                     interest to the organization. (SI-4c.2)
         5. Protects information obtained from intrusion-monitoring tools from unauthorized
            access, modification, and deletion. (SI-4d)
         6. Provides system monitoring and log information to system/network and audit
            administrators as needed. (SI-4g)




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 SOP #:           MDG-MSP-100
 Title:           System Audit Events
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the system events that
 require auditing.
 2.0      Procedure
       2.1 System audits. Designated IT Personnel shall install the software (currently Forticlient)
           on Martin Defense Group’s information systems to monitor the network and generate
           audit records. Designated IT Personnel shall ensure that the software generates audit
           records are sufficient to trace actions to specific Users and time stamps the record with
           time.nist.gov.
          2.1.1 Trusted Internet LLC, a third party hired by Martin Defense Group, shall review
              the audit records generated by Forticlient, provide monthly reports to Martin Defense
              Group organizing this data, and notify Martin Defense Group of audit process failures
              and indications of inappropriate, suspicious, or unusual activity. Trusted Internet shall
              also provide Martin Defense Group with network audit logs generated by Martin
              Defense Group’s firewall software, which Trusted Internet manages.
          2.1.2 Designated IT Personnel shall analyze Trusted Internet’s reports and network
              audit logs and the Microsoft GCC High data on a monthly basis to correlate them to
              detect any inappropriate, suspicious, or unusual activity.
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1 Designated IT Personnel and Audit Administrator. Shall have sole access to audit
              records and logs generated by Trusted Internet.
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:          MDG-MSP-101
 Title:          Collaborative Computing Devices
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to protect
 organizational information, including Controlled Unclassified Information (CUI), by preventing
 unauthorized personnel from participating in collaborative computing sessions.
 2.0      Procedure
       2.1 Conducting teleconferences
          2.1.1 Users may only access Martin Defense Group video cameras using approved
              video conference software, such as Microsoft Teams, on Martin Defense Group-
              issued equipment to conduct teleconferences for Martin Defense Group-related
              business. Users may not access Martin Defense Group video cameras remotely from
              non-Martin Defense Group issued equipment.
          2.1.2 Users may not use non-Martin Defense Group issued equipment (e.g., personal
              video cameras) to conduct any Martin Defense Group-related teleconferences.
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1 Designated IT Personnel. Must purchase video cameras of a uniform brand and
              model for installation in all sites that allow for teleconferences (both onsite and offsite
              Martin Defense Group premises if any). These devices must provide an indication
              (e.g., light turn on) when they are actively transmitting data. Must ensure that non-
              Martin Defense Group issued equipment cannot access Martin Defense Group video
              cameras.
       3.2 Definitions. See Appendix C Glossary.




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 SOP #:           MDG-MSP-102
 Title:           System and Information Integrity
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to
 identify and eliminate potential information system security vulnerabilities.
 2.0      Procedure
       2.1 Access Control
          2.1.1   Account Management
             (1) User accounts. Designated IT Personnel shall only assign user accounts to Users
                 and shall not provide administrative accounts to Users.
             (2) Administrator accounts. Designated IT Personnel shall have a separate (1) user
                 account to conduct user functions and (2) administrator account to conduct
                 administrative functions. Designated IT Personnel may not conduct user
                 functions on his or her administrative account.
             (3) Active Directory. Using Active Directory, Designated IT Personnel shall prevent
                 Users from accessing any information in the Restricted network server unless the
                 User is granted access through the AC-100 Account Management procedures.
             (4) SharePoint access. PMs shall prevent Users from accessing any information on
                 the SharePoint platform unless the User is granted access through the AC-100
                 Account Management procedures.
             (5) Login banner. Designated IT Personnel shall configure all systems to display a
                 banner to users before granting access to the system that provides privacy and
                 security notices consistent with applicable CUI laws.
          2.1.2   Automatic Session Terminations
             (1) Designated IT Personnel shall configure systems to automatically terminate after
                 the following periods of inactivity:
                 (a) Remote Desktop Protocol (RDP) sessions: 15 minutes.
                 (b) Secure Shell (SSH) sessions: 15 minutes.
          2.1.3   Remote Access
             (1) Using remote access, Designated IT Personnel may perform limited number of
                 privileged commands including system account management, firewall/VPN
                 configuration, and log archiving.
             (2) Using remove access, Designated IT Personnel may access limited security
                 related information including user account information, firewall configuration
                 data, and log files.
          2.1.4   Mobile Devices




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            (1) Designated IT Personnel shall prevent any mobile device other than company-
                issued laptops, notebooks, and cellphones from connecting to Martin Defense
                Group’s network.
        2.1.5   External Systems
            (1) Designated IT Personnel shall prohibit the use of all file sharing services except
                for the following:
                (a) Microsoft OneDrive
            (2) secure.mdefensegroup.com. Only when necessary to share information with
                external users.
        2.1.6   Publicly Accessible Content
            (1) Website. Designated IT Personnel shall host Martin Defense Group’s website on
                a web server (currently GoDaddy) that is physically separate from Martin Defense
                Group’s network.
        2.1.7   Screening
            (1) Martin Defense Group’s Human Resources Manager shall conduct the following
                background checks before employees are authorized access to CUI: drug/alcohol,
                nationwide criminal background check, and citizenship verification.
    2.2 Assessment
        2.2.1   Risk Assessment
            (1) Trusted Internet, Inc., an outside vendor hired by Martin Defense Group, shall
                perform an initial assessment of risk to Martin Defense Group’s information
                system, generate monthly monitoring reports, and update the assessment on an
                annual basis. Trusted Internet shall provide the risk assessment results to the
                System/Network Administrator and the Audit Administrator.
            (2) Based on the risk assessment, Designated IT Personnel shall use host software
                (currently FortiClient) to apply appropriate software patches to eliminate
                vulnerabilities.
                (a) For those vulnerabilities that cannot be resolved using software patches,
                    Designated IT Personnel shall develop a plan of action to resolve the issue
                    within two weeks from the development date of this plan.
        2.2.2 Security Assessment. Designated IT Personnel shall do a full assessment of all of
            Martin Defense Group’s security controls and then do an annual assessment of all
            critical controls and 1/3 of the remaining controls.
        2.2.3 Vulnerabilities. Designated IT Personnel shall configure vulnerability scanner
            software (currently Nessus) to scan for vulnerabilities in Martin Defense Group’s
            network on a quarterly basis. Upon completion of each scan, Designated IT
            Personnel shall analyze the vulnerability scan report and fix such vulnerabilities.
        2.2.4   System Security Plan (SSP).
            (1) The System/Network Administrator shall develop a SSP that describes system
                boundaries, system environments of operation, how security requirements are


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                implemented, and the relationships with or connections to other systems and
                update this plan on an annual basis.
            (2) Designated IT Personnel and the FSO shall update the SSP on an annual basis.
    2.3 Media Protection and Backup
        2.3.1 Encryption. Designated IT Personnel shall encrypt all of Martin Defense Group’s
            network servers, laptops, workstations, and backups with FIPS 140-2 level encryption
            (currently using BitLocker software). Designated IT Personnel shall collect and
            manage all cryptographic keys through a spreadsheet.
    2.4 Monitoring & Systems/Communications Protection
        2.4.1 Network traffic. Designated IT Personnel shall configure network software
            (currently FortiGate) to deny network traffic by default with exceptions made for
            authorized programs.
        2.4.2 Split tunneling. Designated IT Personnel shall configure software (currently
            FortiGate Virtual Private Network) to prevent split tunneling into Martin Defense
            Group’s network.
        2.4.3 System flaws. Designated IT Personnel shall configure software (currently
            Forticlient) to identify system flaws on Martin Defense Group’s network. Designated
            IT Personnel shall configure software (currently Windows Server Update Services) to
            update any system flaws discovered in a timely manner.
        2.4.4   Malicious Code Protection
            (1) Designated IT Personnel shall configure boundary intrusion prevention systems,
                antivirus, and firewall software (currently FortiGate) to provide protection against
                malicious code from external sources as well as host-based antivirus software
                (currently FortiClient) on all Martin Defense Group laptops and workstations.
            (2) Designated IT Personnel shall configure software (currently Microsoft Office 365
                Advanced Threat Protection) to scan e-mail attachments for malware and viruses.
            (3) Designated IT Personnel shall configure software to perform weekly antivirus
                scans and have real time protection enabled.
        2.4.5 Security alerts. The System/Network Administrator and Audit Administrator
            shall register with the United States Computer Emergency Readiness Team and
            Defense Industrial Base Cybersecurity Program to receive security alerts and
            advisories.
        2.4.6 Communications traffic. Designated IT Personnel shall configure firewall
            software (currently FortiGate) to monitor inbound and outbound communications
            traffic.
        2.4.7 Unauthorized use. Designated IT Personnel shall configure software (currently
            Forticlient) to identify unauthorized use of Martin Defense Group’s network.
        2.4.8 Mobile code. Designated IT Personnel shall log mobile code including ActiveX,
            Shockwave, JavaScript, VBA script, and Java applet and deny the use of Flash.



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 3.0      Reference
       3.1 Definitions. See Appendix C Glossary.




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 Personnel Security Policy
 24 Overview
 Properly maintaining personnel security is a critical component of information security.
 Maintaining personnel security reduces the potential for harming Martin Defense Group LLC
 (Martin Defense Group) through data theft, malware installation, and system damage. To that
 end, personnel security is to be managed according to rules set forth in this document.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 25 Purpose
 The purpose of this policy is to outline the required and acceptable methods for maintaining
 personnel security at Martin Defense Group. These rules are in place to protect a User and
 Martin Defense Group. Circumventing or avoiding personnel security exposes Martin Defense
 Group to risks including virus attacks, compromise of network systems and services, and legal
 liability.

 26 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to access Martin Defense
 Group computers and systems in accordance with Martin Defense Group policies and standards,
 and local laws and regulations. Definitions to terms are provided in Appendix C Glossary.

 27 Policy
 Martin Defense Group:
 a. Screens individuals prior to authorizing access to organizational systems containing CUI.
    Such screening shall consist of the following: drug/alcohol, nationwide criminal background
    check, and citizenship verification. (3.9.1, PS-3a)11
 b. Ensures that CUI and organizational systems containing CUI are protected during and after
    personnel actions such as terminations and transfers. (3.9.2)
         1. Upon termination of individual employment:




 11
   Numbers in parentheses indicate a cross‐reference to NIST SP 800‐171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800‐53 (beginning with a letter, e.g., “AC‐2”).


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                  i. Disables information system access within no more than five (5) working days
                     after the final day of employment if the termination is voluntary, or within the
                     same day if the termination is involuntary; (PS-4a)
                 ii. Terminates/revokes any authenticators/credentials associated with the
                     individual; (PS-4b)
                iii. Conducts exit interviews that include a discussion of CUI protection
                     requirements; (PS-4c)
                iv. Retrieves all security-related organizational information system-related
                    property; (PS-4d)
                 v. Retains access to organizational information and information systems
                    formerly controlled by terminated individual; and (PS-4e)
                vi. Notifies the system/network administrator as soon as possible, not to exceed
                    one (1) working day. (PS-4f)
         2. Upon transfer of personnel:
                  i. Reviews and confirms the ongoing operational need for current logical and
                     physical access authorizations to information systems/facilities when
                     individuals are reassigned or transferred to other positions within the
                     organization. (PS-5a)
                 ii. Initiates reassignment actions to ensure all system access that is no longer
                     required (need to know) is removed or disabled within 10 working days. (PS-
                     5b)
                iii. Modifies access authorization as needed to correspond with any changes in
                     operational needs due to reassignment or transfer. (PS-5c)
                iv. Notifies system/network administrator as soon as possible, not to exceed 1
                     working day. (PS-5d)




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 SOP #:             MDG-PS-100
 Title:             Transfers and Terminations
 1.0         Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to ensure
 that Controlled Unclassified Information (CUI) and organizational systems containing CUI are
 protected during and after personnel actions such as transfers and terminations.
 2.0         Procedure
       2.1    Transfer of Personnel
             2.1.1 Upon notification by the HR Manager or a PM that a User is transferring (not to
                 exceed one working day), Designated IT Personnel shall review and update the
                 User’s Active Directory profile to reflect changes in a User’s role within 10 working
                 days.
             2.1.2 Within 10 working days of notification of a User’s transfer, PMs shall review the
                 User’s access to folders on the Restricted network and under the SharePoint platform
                 and follow the Terminating Access procedures outlined in the Account Management
                 procedures to remove access that the User no longer needs.
       2.2    Termination of Employment
             2.2.1 Upon notification by the HR Manager or a PM that a User’s employment with
                 Martin Defense Group is terminating (not to exceed one working day), Designated IT
                 Personnel must determine whether the termination is voluntary or involuntary and
                 disable the User’s ability to login to Microsoft 365, Active Directory, and all cloud-
                 based applications on the appropriate effective date.
                    (a) For voluntary terminations, the effective termination date is the day after the
                        User’s planned departure date.
                    (b) For involuntary terminations, the effective termination date is the middle of
                        the day on which the User will be notified of his/her termination.
             2.2.2 The HR Manager must collect all Martin Defense Group-issued equipment (e.g.,
                 laptops, Martin Defense Group-issued USBs, Martin Defense Group-issued GoPros,
                 etc.) (1) by the end of the User’s planned departure date for voluntary terminations or
                 (2) upon notification of the termination to the User for involuntary terminations. The
                 HR Manager must also include a discussion of CUI protection requirements in the
                 exit interview with the User.
 3.0         Reference
       3.1 Roles and Responsibilities
             3.1.1 Designated IT Personnel. Take the following actions within no more than five (5)
                 working days after the final day of employment if termination is voluntary, or within
                 the same day if termination is involuntary. Indicate completion of these actions by
                 checking the appropriate block:
                –   Disable the account’s information system access.


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              – Revoke account authenticators/credentials.
              – Retain access to the account’s organizational information.


     3.2 Definitions. See Appendix C Glossary.




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 Physical Security Policy
 28 Overview
 Properly managing organization physical security is a critical component of information security.
 Proper physical security reduces the potential for harming Martin Defense Group LLC (Martin
 Defense Group) through data theft, malware installation, and system damage. To that end,
 organization facilities, including but not limited to Martin Defense Group physical spaces and
 other spaces used for accessing Martin Defense Group systems or data, are to be physically
 secured according to rules outlined in this document.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 29 Purpose
 The purpose of this policy is to outline the required and acceptable methods for managing the
 physical security of information systems at Martin Defense Group. These rules are in place to
 protect a User and Martin Defense Group. Circumventing or avoiding physical security controls
 exposes Martin Defense Group to risks including virus attacks, compromise of network systems
 and services, and legal liability.

 30 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to use Martin Defense Group
 computers and systems following Martin Defense Group policies and standards, and local laws
 and regulations. Definitions to terms are provided in Appendix C Glossary.

 31 Policy
 Martin Defense Group:
 a. Limits physical access to organizational systems, equipment, and the respective operating
    environments to authorized individuals. (3.10.1)12
         1. Develops, approves, and maintains a list of individuals with authorized access to the
            facility where the information system resides. (PE-2a)
         2. Issues authorization credentials for facility access. (PE-2b)




 12
   Numbers in parentheses indicate a cross-reference to NIST SP 800-171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800-53 (beginning with a letter, e.g., “AC-2”).


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         3. Reviews the access list detailing authorized facility access by individuals at least
            semi-annually. (PE-2c)
         4. Removes individuals from the facility access list when access is no longer required.
            (PE-2d)
         5. Access to the CUI area by individuals is only provided if they are on the authorized
            access list or they are escorted by authorized personnel. (PE-3a1)
 b. Protects and monitors the physical facility and support infrastructure for organizational
    systems. (3.10.2)
         1. Control physical access to information system output devices to prevent unauthorized
            individuals from obtaining the output. (PE-5)
         2. Monitor physical access to the facility where the information system resides to detect
            and respond to physical security incidents. (PE-6a)
         3. Review physical access logs at least every 90 days and upon the occurrence of a
            physical access incident. (PE-6b)
         4. Coordinate results of reviews and investigations with the organizational incident
            response capability. (PE-6c)
 c. Escorts visitors and monitors visitor activity in all circumstances within restricted access
    areas where the information system resides. (3.10.3, PE-3d)
 d. Maintains physical access audit logs for all entry/exit points. (3.10.4, PE-3b)
 e. Controls and manages physical access devices. (3.10.5)
         1. Spare physical keys and copies of combinations are stored in a locked container. (PE-
            3e)
         2. Inventories physical keys at least annually. (PE-3f)
         3. Changes combinations and keys when keys are lost, combinations are compromised,
            an individual has shared his or her password, or individuals are transferred or
            terminated. (PE-3g)
 f. Imposes a clean desk policy.
         1. Employees are required to ensure that all sensitive/confidential information in
            hardcopy or electronic form is secure in their work area at the end of the day and
            when they are expected to be gone for an extended period.
         2. Computer workstations must be locked when the workspace is unoccupied.
         3. Computer workstations must be shut down completely at the end of the workday.
         4. Any Restricted or Sensitive information must be removed from the desk and locked
            in a drawer when the desk is unoccupied and at the end of the workday.
         5. File cabinets containing Restricted or Sensitive information must be kept closed and
            locked when not in use or when unattended.
         6. Keys used for access to Restricted or Sensitive information must not be left at an
            unattended desk.


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         7. Laptops must be either locked with a locking cable or locked away in a drawer.
         8. Passwords may not be left on sticky notes posted on or under a computer, nor may
            they be left written down in an accessible location.
         9. Printouts containing Restricted or Sensitive information should be immediately
            removed from the printer.
         10. Upon disposal, Restricted and/or Sensitive documents should be shredded in the
             official shredder bins or placed in the lock confidential disposal bins.
         11. Whiteboards containing Restricted and/or Sensitive information should be erased.
         12. Lock away portable computing devices such as laptops and tablets.
         13. Treat mass storage devices such as CDROM, DVD or USB drives as sensitive and
             secure them in a locked drawer.
         14. All printers and fax machines should be cleared of papers as soon as they are printed;
             this helps ensure that sensitive documents are not left in printer trays for the wrong
             person to pick up.
 g. Enforces safeguarding measures for CUI at alternate worksites (e.g., telework sites, satellite
    offices) by employing appropriate NIST 800-171 based security requirements. (3.10.6, PE-
    17a). Follow guidelines as documented in https://csrc.nist.gov/publications/detail/sp/800-
    114/rev-1/final
 h. Provides a means for Users to communicate with information security personnel in case of
    security incidents or problems. (PE-17c)




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 SOP #:           MDG-PHYS-100
 Title:           Authorized Access
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to protect
 the physical security of Martin Defense Group’s information systems.
 2.0      Procedure
       2.1 Access to Martin Defense Group Premises
          2.1.1 Door locks. To ensure that only Authorized Users have access to Martin Defense
              Group’s work area premises, the FSO and/or Office Manager shall install locks on all
              Martin Defense Group doors and issue Users access cards and/or keys to unlock them
              and badges that contain their picture and employee id #.
              (1) User access cards and/or keys must not be shared or loaned to others.
              (2) All access cards and/or keys that are no longer required must be returned to the
                  FSO and/or Office Manager.
              (3) Lost or stolen cards and/or keys must be reported immediately to the FSO and/or
                  Office Manager.
              (4) The FSO and/or Office Manager shall remove the card and/or key access rights of
                  Users that change roles or are separated from Martin Defense Group.
              (5) The FSO and/or Office Manager shall develop and maintain a list of individuals
                  with access cards and/or keys to Martin Defense Group’s facilities (Access List).
              (6) The FSO and/or Office Manager shall review the Access List at least semi-
                  annually.
              (7) The FSO and/or Office Manager shall review physical access logs generated by
                  the software for Martin Defense Group’s doors at least every 90 days and upon
                  the occurrence of a physical access incident.
          2.1.2 Cameras. To protect access to Martin Defense Group premises outside of normal
              business hours, the FSO and/or Office Manager shall install cameras to record images
              of personnel who approach Martin Defense Group’s doors (& data kept for three
              years) as well as an alarm system that Users will arm when they close Martin Defense
              Group’s office.
          2.1.3 Visitor log. Users who invite non-Martin Defense Group personnel onto Martin
              Defense Group premises shall have these visitors fill out a visitor log with their name,
              company, contact information, national citizenship, and name of User who authorized
              access and continuously escort these visitors until they leave Martin Defense Group’s
              premises.
              (1) Users shall give visitors badges that expire and visibly distinguishes them from
                  Users.




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              (2) Visitors shall return the visitor badge to the User before leaving Martin Defense
                  Group premises.
       2.2 Access to Media
          2.2.1   Physical Access
              (1) Users who handle documents containing CUI should store them in locked drawers
                  at the end of the day as well as take measures to cover such information when
                  stepping away from their desk.
              (2) For procedures related to printing documents containing CUI, see the AC-104
                  Printing in a Network Environment procedures.
              (3) Designated IT Personnel, Officer Manager, and/or FSO shall protect access to the
                  fileservers by keeping the door to the room containing them locked at all times.
          2.2.2   Logical Access
              (1) Designated IT Personnel may only provide access to information on the
                  Restricted network server and the SharePoint platform to Users who are
                  authorized after following the AC-100 Account Management procedures.
              (2) Designated IT Personnel must encrypt all CUI stored on digital media under FIPS
                  140-2 level encryption.
       2.3 Changes to Systems
          2.3.1 Users are not allowed to make any physical additions, modifications, and
              removals of Martin Defense Group-issued hardware or software applications. Users
              who need such changes should e-mail Martin Defense Group IT
              <IT@mdefensegroup.com> to request such changes. Designated IT Personnel shall
              make such changes.
       2.4 Offsite Access
          2.4.1 To prevent CUI from being transferred to non-Martin Defense Group equipment,
              Users may not install printer drivers to non-Martin Defense Group printers and other
              software drivers that allow Users to transfer information from their laptops to non-
              Martin Defense Group wireless devices.

 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1   FSO and/or Officer Manager. Ensure that:
              (1) Secure areas are protected by appropriate entry and controls for authorized
                  personnel.
              (2) Procedures control and validate a staff member’s access to facilities with the use
                  of security personnel, identification badges, or electronic key cards.
              (3) Procedures exist that establish visitor controls including visitor sign-in logs and
                  the wearing of visitor badges for both entry and exit of the Martin Defense Group
                  LLC.



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              (4) Policies specify management’s review of the list of individuals with physical
                  access to facilities containing sensitive information (whether in paper or
                  electronic forms)
              (5) A complete inventory of critical assets is maintained with Martin Defense Group
                  ownership defined and documented.
              (6) Card access records and visitor logs for facilities are kept for at least three years
                  and reviewed at least every 90 days.
         3.1.2    Designated IT Personnel. Responsible for:
              (1) Implementing physical and/or logical controls to restrict access to publicly
                  accessible data jacks.
              (2) Restricting physical access to wireless access points, gateways, handheld devices,
                  networking, communications hardware, and telecommunications lines for only
                  Users.
              (3) Controlling physical and logical access to diagnostic and configuration ports.
     3.2 Definitions. See Appendix C Glossary.




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 SOP #:           MDG-PHYS-101
 Title:           Physical Access Devices
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to specify the processes used to
 control and manage physical access devices issued to individuals with authorized access to
 Martin Defense Group facilities.
 2.0      Procedure
       2.1 Acquiring Access Cards/Keys. Users who wish to access Martin Defense Group’s
           premises must contact the FSO or Officer Manager to obtain access cards and/or keys to
           unlock the locks on Martin Defense Group’s doors.
          2.1.1   Employee access cards and/or keys must not be shared or loaned to others

       2.2 Reporting Lost or Stolen Cards/Keys. Lost or stolen cards/or keys must be reported
           immediately to the FSO or Office Manager.
 3.0      Reference
       3.1 Roles and Responsibilities
          3.1.1 FSO or Officer Manager. Stores all spare access codes and/or keys to Martin
              Defense Group’s doors in a locked container, maintains a log of Users who have an
              access card and/or key, inventories physical keys at least annually, and changes
              combinations and keys when access cards or keys are lost, combinations are
              compromised, or individuals are transferred or terminated. Reviews access records
              and visitor logs for the facility annually and investigate any unusual events or
              incidents related to physical facility access.
       3.2 Definitions. See Appendix C Glossary.




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 Systems Maintenance Policy
 32 Overview
 Properly maintaining organization information systems is a critical component of information
 security. Maintaining systems and data reduces the potential for harming Martin Defense Group
 through data theft, malware installation, and system damage. To that end, maintenance of
 organization systems, including but not limited to laptop computers, desktop computers, servers,
 mobile devices, and network devices, is to be managed according to rules set forth in this
 document.
 Effective security is a team effort involving the participation and support of every Martin
 Defense Group User and affiliate who deals with information and/or information systems. It is
 the responsibility of every computer user to support the security precepts in these guidelines and
 to conduct their activities accordingly.

 33 Purpose
 The purpose of this policy is to outline the required and acceptable methods for maintaining
 information systems at Martin Defense Group. These rules are in place to protect a User and
 Martin Defense Group. Circumventing or avoiding systems maintenance procedures exposes
 Martin Defense Group to risks including virus attacks, compromise of network systems and
 services, and legal liability.

 34 Scope
 This policy applies to the use of information, electronic and computing devices, and network
 resources to conduct Martin Defense Group business or interact with internal networks and
 business systems, whether owned or leased by Martin Defense Group, a User, or a third party.
 All Martin Defense Group Users and its subsidiaries are required to access Martin Defense
 Group computers and systems in accordance with Martin Defense Group policies and standards,
 and local laws and regulations. Definitions to terms are provided in Appendix C Glossary.

 35 Policy
 Martin Defense Group:
 a. Performs maintenance on organizational systems. (3.7.1)13
         1. Schedules, performs, documents, and reviews records of maintenance and repairs on
            information system components in accordance with manufacturer or vendor
            specifications and/or organizational requirements; (MA-2a)
         2. Uses a maintenance log to capture all system component maintenance that includes:
            (i) date and time of maintenance; (ii) name of individuals or group performing the
            maintenance; (iii) name of escort, if necessary; (iv) a description of the maintenance

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   Numbers in parentheses indicate a cross-reference to NIST SP 800-171 (beginning with a number, e.g., “3.1.1”)
 and/or NIST SP 800-53 (beginning with a letter, e.g., “AC-2”).


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             performed; and (v) information system components/equipment removed or replaced
             (including identification numbers, if applicable). (MA-2)
 b. Provides effective controls on the tools, techniques, mechanisms, and personnel used to
    conduct system maintenance. (3.7.2)
         1. Approves and monitors all maintenance activities, whether performed on-site or
            remotely and whether the equipment is serviced on-site or removed to another
            location. (MA-2b)
         2. Requires that system/network administrator designate or explicitly approve the
            removal of the information system or system components from organizational
            facilities for off-site maintenance or repairs. (MA-2c)
         3. Approves, controls, and monitors information system maintenance tools. (MA-3)
         4. Inspects the maintenance tools carried into a facility by maintenance personnel for
            improper or unauthorized modifications. (MA-3(1))
         5. Checks media containing diagnostic and test programs for malicious code before the
            media are used in the information system. (MA-3(2))
 c. Ensures equipment removed for off-site maintenance is sanitized of any CUI using a NIST-
    approved sanitization tool (see Media Protection and Backup Policy) or removing the media
    containing CUI. (3.7.3, MA-2d)
 d. Checks media containing diagnostic and test programs for malicious code before the media
    are used in organizational information systems. (3.7.4, MA-3(2))
 e. Requires multifactor authentication to establish nonlocal maintenance sessions via external
    network connections and terminates such connections when nonlocal maintenance is
    completed. (3.7.5)
         1. Employs strong authenticators in the establishment of nonlocal maintenance and
            diagnostic sessions; (MA-4c)
         2. Maintains records for nonlocal maintenance and diagnostic activities (MA-4d)
         3. Terminates session and network connections when nonlocal maintenance is
            completed via an automatic SSL VPN tunnel termination set to 15 minutes of
            inactivity. (MA-4e)
 f. Supervises the maintenance activities of maintenance personnel without required access
    authorization. (3.7.6)
         1. Ensures that non-escorted personnel performing maintenance on the information
            system have required access authorizations (MA-5b)
         2. Designates organizational personnel with required access authorizations and technical
            competence to supervise the maintenance activities of personnel who do not possess
            the required access authorizations. (MA-5c)
 g. The current ticketing system will be utilized to document all system changes. This will
    provide not only an audit of individual requests, and maintenance changes made by the IT
    department.



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 SOP #:          MDG-AT-100
 Title:          Awareness & Training Plan
 1.0      Purpose
 The purpose of this Standard Operating Procedure (SOP) is to ensure that managers, systems
 administrators, and users of organizational systems are made aware of the security risks
 associated with their activities and of the applicable policies, standards, and procedures related to
 the security of those systems.
 2.0      Procedure
       2.1 User training
          2.1.1 Designated IT Personnel shall provide training to Users on the following topics on
              an annual basis:
              (1) Security awareness
                  (a) This training shall include discussion that personal portable storage devices
                      and other devices with no identifiable owner are prohibited from being
                      connected to Martin Defense Group’s information systems.
              (2) Security-related duty and responsibility
              (3) Recognizing and reporting potential indicators of insider threat
          2.1.2 Designated IT Personnel shall provide training to Users annually on interacting
              with the media regarding cyber incidents, including the importance of not revealing
              sensitive information, such as technical details of countermeasures that could assist
              other attackers, and the positive aspects of communicating important information to
              the public fully and effectively.
              (1) Designated IT Personnel shall establish procedures to brief media contacts on the
                  issues and sensitivities regarding a particular incident before discussing it with the
                  media.
              (2) All Users shall be informed of general procedures for handling media inquiries
                  developed in paragraph (1) above.
       2.2 Incident Response Team training
          2.2.1 Members of the IRT shall receive training within 30 days of assuming the role
              and be trained annually on interacting with the media regarding cyber incidents,
              including the importance of not revealing sensitive information, such as technical
              details of countermeasures that could assist other attackers, and the positive aspects of
              communicating important information to the public fully and effectively.
          2.2.2 Within 30 days of assuming the role, the FSO and/or Officer Manager who is
              responsible for being the law enforcement point of contact shall receive training on
              the reporting procedures for all relevant law enforcement agencies and on
              recommending which agency, if any, should be contacted.
 3.0      Reference
       3.1 Definitions. See Appendix C Glossary.

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 Policy Compliance
 1.      Compliance Measurement
 Martin Defense Group will verify compliance with this policy through various methods,
 including but not limited to, business tool reports, internal and external audits, and feedback to
 the policy owner.
 2.      Exceptions
 Any exception to the policy must be approved by the IT Steering Committee in advance.
 3.      Non-Compliance
 A User found to have violated this policy may be subject to disciplinary action, up to and
 including termination of employment.

 Revision History
  Version Revision Date           Revised By                            Revision Notes
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                                         Appendix C. Glossary
 Adverse Event. An event with a negative consequence. Adverse events include, but are not limited
 to, system crashes, packet floods, unauthorized use of system privileges, unauthorized access to
 sensitive data, and execution of malware that destroys data.
 Authentication. Verifying the identity of a user, process, or device, often as a prerequisite to
 allowing access to resources in an information system.
 Authenticator. The means used to confirm the identity of a user, processor, or device (e.g., user
 password or token). Throughout this SOP, we will use “password” interchangeably with
 “authenticator.”
 Collaborative computing device. Collaborative computing devices include, for example,
 networked white boards, cameras, and microphones.
 Computer Security Incidents (Incidents). Violations or imminent threat of violation14 of
 computer security policies, acceptable use policies, or standard security practices. Examples of
 incidents15 are:
      1. An attacker commands a botnet to send high volumes of connection requests to a web
         server, causing it to crash.
      2. Users are tricked into opening a “quarterly report” sent via email that is actually malware;
         running the tool has infected their computers and established connections with an external
         host.
      3. An attacker obtains sensitive data and threatens that the details will be released publicly if
         the organization does not pay a designated sum of money.
      4. A user provides or exposes sensitive information to others through peer-to-peer file sharing
         services.
 Controlled Unclassified Information (CUI) means unclassified controlled information or other
 information, as described in the Controlled Unclassified Information (CUI) Registry at
 http://www.archives.gov/cui/registry/category-list.html, that requires safeguarding or
 dissemination controls pursuant to and consistent with law, regulations, and Government-wide
 policies, and is (1) Marked or otherwise identified in the contract, task order, or delivery order
 and provided to the contractor by or on behalf of DoD in support of the performance of the
 contract; or (2) Collected, developed, received, transmitted, used, or stored by or on behalf of the
 contractor in support of the performance of the contract. (DFARS 252.204-7012(a))
 Cyber incident. “Cyber incident” means actions taken through the use of computer networks
 that result in a compromise or an actual or potentially adverse effect on an information system
 and/or the information residing therein.


 14
    An “imminent threat of violation” refers to a situation in which the organization has a factual basis for believing
 that a specific incident is about to occur. For example, the antivirus software maintainers may receive a bulletin
 from the software vendor, warning them of new malware that is rapidly spreading across the Internet.
 15
    For the remainder of this document, the terms “incident,” “computer security incident,” and “cyber incident” are
 interchangeable.


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 Cybersecurity events are any observable occurrence in a system or network. Events include, but
 are not limited to, a user connecting to a file share, a server receiving a request for a web page, a
 user sending email, and a firewall blocking a connection attempt.
 Cybersecurity adverse events are events with a negative consequence. Adverse events include,
 but are not limited to, system crashes, packet floods, unauthorized use of system privileges,
 unauthorized access to sensitive data, and execution of malware that destroys data.
 Direct Access. Access to an organizational information system by a user (or a process acting on
 behalf of a user) communicating through a wired connection (Ethernet cable or similar) from the
 host to the network.
 Event. Any observable occurrence in a system or network. Events include but are not limited to a
 user connecting to a file share, a server receiving a request for a web page, a user sending email,
 and a firewall blocking a connection attempt.
 Incident Response Team. This is the set of Martin Defense Group staff that have been designated
 to respond to cyber incidents.
 Information System [44 U.S.C., Sec. 3502]. A discrete set of information resources organized
 for the collection, processing, maintenance, use, sharing, dissemination, or disposition of
 information. Note: Information systems also include specialized systems such as industrial/process
 controls systems, telephone switching and private branch exchange (PBX) systems, and
 environmental control systems.
 Media. Physical devices or writing surfaces including, but not limited to, magnetic tapes, optical
 disks, magnetic disks, Large-Scale Integration (LSI) memory chips, and printouts (but not
 including display media) onto which information is recorded, stored, or printed within an
 information system.
 Mobile Device. A portable computing device that: (i) has a small form factor such that it can easily
 be carried by a single individual; (ii) is designed to operate without a physical connection (e.g.,
 wirelessly transmit or receive information); (iii) possesses local, non-removable or removable data
 storage; and (iv) includes a self-contained power source. Mobile devices may also include voice
 communication capabilities, on-board sensors that allow the devices to capture information, and/or
 built-in features for synchronizing local data with remote locations. Examples include smart
 phones, tablets, E-readers, and notebook computers.
 Multifactor Authentication. This requires two or more different factors to achieve authentication.
 The factors include: something you know (e.g., password/PIN); something you have (e.g.,
 cryptographic identification device, token); or something you are (e.g., biometric). The
 requirement for multifactor authentication should not be interpreted as requiring federal Personal
 Identity Verification (PIV) card or Department of Defense Common Access Card (CAC)-like
 solutions. A variety of multifactor solutions (including those with replay resistance) using tokens
 and biometrics are commercially available. Such solutions may employ hard tokens (e.g.,
 smartcards, key fobs, or dongles) or soft tokens to store user credentials.
 Physical access devices. Physical access devices include, for example, keys, locks, combinations,
 access cards, proximity access cards, and keyfobs, and card readers.
 Portable Storage Device. An information system component that can be inserted into and
 removed from an information system, and that is used to store data or information (e.g., text, video,


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 audio, and/or image data). Such components are typically implemented on magnetic, optical, or
 solid-state devices (e.g., floppy disks, compact/digital video disks, flash/thumb drives, external
 hard disk drives, and flash memory cards/drives that contain non-volatile memory).
 Privileged Account. An information system account with authorizations of a privileged user.
 Privileged User. A user who is authorized (and therefore, trusted) to perform security-relevant
 functions that ordinary users are not authorized to perform.
 Publicly Accessible. An information system that is accessible to the general public without
 restriction, typically without identification or authentication.
 Remote Access. Access to an organizational information system by a user (or a process acting on
 behalf of a user) communicating through an external network (e.g., the Internet).
 System-level information. System-level information includes, for example, system-state
 information, operating system and application software, and licenses.
 User-level information. User-level information includes any information that is not system-level
 information.
 User. An employee or an individual the organization deems to have equivalent status of an
 employee including, for example, contractor, guest researcher, individual detailed from another
 organization, who has been granted access to and employs the information system for business
 purposes.
 Wireless Access. Access to an organizational information system by a user (or a process acting on
 behalf of a user) communicating through radio transceivers complying with standards such as
 IEEE 802.11x or Bluetooth. Typically associated with mobile devices.




 Glossary                                                                                   Page 85
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MARTIN       l11
 DEFENSE GROUP
841 Bishop St., Suite 1110, Honolulu, HI 96813




        MDG Employee Mobile Device Policy
        This policy applies to any Company-supplied device that makes/receives phone calls, leaves
        messages, sends text messages, surfs the internet, or allows for the use of email.

        Company Owned and Supplied Devices
            •   The Company will provide all full-time staff with an IT-approved standard-issue mobile device
                as soon as practicable after the start of employment, though the Company management
                reserves the right to make exceptions for any reason.
            •   The Company owns any and all phone numbers for accounts that are paid for by the Company.
            •   Employees are eligible to upgrade beyond the standard-issue device or provide their own non-
                standard device at their own expense, provided the device conforms to the Company's
                IT/Security policy requirements.
            •   The Company provides a mobile device as both a necessity for the regular and complete
                execution of the employee's professional responsibilities and a benefit for the employee.
            •   The employee will be responsible for Company-provided equipment and shall make
                reasonable efforts to:
                    o Keep the equipment free of damage beyond normal wear and tear from regular use;
                    o Protect their own personal data, as the Company will not responsible for personal data
                        loss; and
                    o Protect the equipment from loss, theft and unauthorized access by non-Company
                        personnel.
            •   At any time upon request by Company management, the employee shall produce the mobile
                device for return or inspection.
            •   Failure to comply with these policies may be cause for disciplinary action, up to and including
                termination of employment.
            •   Upon termination or departure from the Company, the employee's mobile device may be
                purchased at fair value (as determined by the Company), and if so desired by the employee,
                the phone line may be released to the employee.

        Objective
        This policy outlines the use of mobile devices, both personal and Company-provided, for work and
        work-related purposes as well as recommended practices for the safe use of mobile devices by
        employees. This policy applies to all employees.

        Policy Elements
        Despite their benefits, mobile devices may cause problems in the workplace. Employees who use
        their mobile devices inappropriately may:

            •   Get distracted from their work.
            •   Disturb colleagues.
            •   Expose the Company to security issues from inappropriate usage.
            •   Cause accidents when using their mobile devices while their attention should be focused
                elsewhere during potentially dangerous activities such as driving or working near heavy
                machinery.

        The company expects employees to use their mobile devices prudently during working hours.



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MARTIN   l11
  DEFENSE GROUP
841 Bishop St., Suite 1110, Honolulu, HI 96813                                                        2




         We advise our employees to:

             •   To use prudent judgement and common courtesy when using mobile devices.
             •   Use company-issued mobile devices primarily for business purposes and preserve them in
                 the condition received, allowing for minor wear and tear.
             •   Turn off or silence their mobile devices when asked or as appropriate to the situation.
             •   To place mobile devices on silent or vibrate mode during meetings, conferences, and in any
                 circumstance where incoming calls or notifications may be disruptive.

         We do not condone the:

             •   Use of cameras or other video/audio recording-capable devices on Company premises without
                 the prior permission of senior management.
             •   Use of mobile devices for any reason while driving or working near heavy machinery.
             •   Recording proprietary information for purposes not directly related to work.
             •   Use of mobile devices in areas where cell use is explicitly prohibited (e.g. laboratories or
                 specific government facilities prohibiting the use of cell phones.)
             •   Download or upload of inappropriate, illegal, or obscene material.
             •   Use of mobile devices in any way which interferes with the fulfillment of an employee's work
                 priorities and assignments or places the employee or others at risk of physical harm.

         We encourage the use of mobile devices:

             •   For appropriate business communication.
             •   To increase work efficiency with productivity applications.
             •   To maintain necessary work continuity and progress outside of regular business hours.
             •   To attend to urgent personal matters to allow the employee to maintain focus on work.

         Disciplinary Consequences
         The Company retains the right to monitor employees for excessive or inappropriate use of their
         mobile devices. If an employee's usage causes a prolonged decline in productivity or interferes with
         our operations, the Company may ban that employee from using mobile devices during business
         hours and/or repossess a Company-provided mobile device.

         Employees may face severe disciplinary action up to and including termination, in cases when they:

             •   Violate the Company's security policies.
             •   Breach the Company's confidentiality policies.
             •   Cause an incident harmful to the Company's interests or reputation.

         The undersigned employee acknowledges that he or she has read the MDG Employee Mobile
         Device Policy and agrees to comply with all terms of the policy.


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verizon1
PO BOX489
NEWARK, NJ 07101-0489

                                                                            Change your address at
                                                                            http://sso.verlzonenterprlse.com
                                                                                                                                  Iinvoice Number                    9844643362



                                                                            Quick Bill Summary                                                      Nov 22 - Dec 20
KEYLINE
ll,l,11ll11l11l1111ll11II, 11ll,I
NAVATEK LLC                                                                 Previous Balance (see back for details)                                                               $.00
841 BISHOP ST STE 1110 DA                                                   No Payment Received                                                                                   $.00
SUITE 1110                                                                  Balance Forward                                                                                      $.00
HONOLULU, HI 96813
                                                                            Account Charges and Credits                                                                       $534.90
                                                                            Monthly Charges                                                                                  $9,844.92
                                                                            Usage and Purchase Charges
                                                                                 Voice                                                                                            $.49
                                                                                 Messaging                                                                                        $.00
                                                                                 Data                                                                                             $.00
                                                                            Equipment Charges                                                                                $1,373.16

 ~- -:;~:~!:;!;·~:!: ~·· ~1
 •.. "11{-'JJ~N'e'wio -·~\'•Yntsi Nif' ~... ~: ;, ,.;

 Welcome to Verizon Wire less! Your first
                                                                            Surcharges
                                                                                 and Other Charges & Credits
                                                                            Taxes, Governmental Surcharges & Fees
                                                                                                                                                                             $1,184.37
                                                                                                                                                                               $153.12
  bill may include charges for a partial                                    Total current Charges                                                                           $13,090.96
  month 01 service, plus your first full
 month's access charge billed one month             I
                In advance.
                                                                            Total Charges Due by January 12, 2020                                                         $13,090.96




verizon1                                                                        Bill Date
                                                                                Account Number
                                                                                Invoice Number                          9844643362
  NAVATEK LLC
  841 BISHOP ST STE 1110 DA
  SUITE 1110
                                                                                 Total Amount Due by January 2, 2020
  HONOLULU, HI 96813                                                             Make check payable to Verizon Wireless.
                                                                                 Please re1urn 1his remit slip \\i1h paymenl.                                   $13,090.96
                                                                                                               $DD, □□□. □□
                                                                                                    PO BOX 660108
                                                                                                    DALLAS, TX 75266-0108

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Summary for Martin Kao:-                   0371


Your Plan                                   Monthly Charges
                                            New Plan
Plan from 11125- 12/20
Business Unlimited Smartphone               Business Unlimited Smartphone                                      11/25 - 12/20             39.00
$45.00 monthly cilarge                        $45.00 per month / 26 days on new plan
Unlimlted monthly minutes                   Month In Advance
UNL Text Messaging                          Business Unlimited Smartphone                                      12/21 - 01/20             45.00
Unlimited M2M Text                          These are the normal monthly charges billed In advance.
Unlimited Text Message                                                                                                                  $84.00

Plan from 11/25 - 12/20                     Equipment Charges
Email & Web Unlimited                       Equipment Purchase            11126 Vbg - Direct Sales -                 001747473           52.36
Unlimited monthly gigabyte                  Equipment Purchase            11/26 Vbg - Direct Sales -                 001747473           5? 36
                                            Equipment Purchase            11/26 Vbg - Direct Sales -                 001747473           52.36
UNL PlctureNldeo MSG
                                            Device Payment Agreement 1313506811 - Payment 1 of 24                                        48.06    /
Unlimited monthly Picture & Video
                                                 Balance (after 111is monlfi's curren aymentJ 1101 .93       ·"
                                            HI General Excise Surcharge                                     (one-time charge)            54.19
 Have more questions about your charges?
 Get details for usage charges at                                                                                                      $259.33
 www.vzw.com/mybusinessaccount.
                                            Usage and Purchase Charges
                                            Voice
                                            Calling Plan (11/25 - 12/20)
                                                                                         IAllowance I Used IBll~~le I
                                                                                  mtnures unlimited    212
                                                                                                                                       Cost

                                            Total Voice                                                                                   $.00

                                            Messaging                                         Allowance     Used        BIiiabie       Cost
                                                                                       -
                                            Text (11 /25 - 12/20)               messages unlimited           39
                                            Unlimited M2M Text                  messages unlimited           13
                                            (11/25 - 12/20)
                                                                                                            -- -
                                            Picture & Video - Sent              messages unlimited           53
                                            (11/25 - 12/20)
                                            Picture & Video - Rcv'd             messages unlimited           11
                                            (11/25 -12/20)
                                                                                     - - -- -       -                                         -
                                            Total Messaging                                                                               $.00

                                            Data
                                            Gigabyte Usage(11125 - 12/l0)
                                            Total Dala
                                                                                 gigalJytes
                                                                                              Allowance
                                                                                               unlimited
                                                                                                            Used
                                                                                                            14.762
                                                                                                                       Bll~~le     I   Cost

                                                                                                                                          $.00
                                            Total Usage and Purchase Charges                                                              $.00


                                            Surcharges
                                            Fed Universal Service Charge                                                                  1.15
                                            Regulatory Charge                                                                              .30
                                            Administrative Charge                                                                         3.56
                                            HI Telecom Relay Surchg                                                                        .04
                                            HI Public Srvc CO Surcharge                                                                   1.40
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                                                        Monthly Charges, continued
                                                       Surcharges
                                                       HI State PUC Fee                                                                                 .10
                                                       HI Gen Excise Surchg-Telecom                                                                    3.02
                                                                                                                                                      $9.57
                                                        Taxes, Governmental Surcharges and Fees
                                                        HI State 911 Surcharge                                                                         1.32
                                                                                                                                                      $1.32

                                                       Total Current Charges for 808-371-0371                                                     $354.22




Detail for Martin Kao: 808-371-0371
Voice
Date       nme   Nurrller     Rate     Usage Type                     Origlnatloo         Oestinatloo           Min.   Alrtlme Chrgs LD/Other Chrgs    Total
12,05                       Off-Peal< PlaAAJIOW                       Stillwater OK       HoooluluHI             3
                                                                                                           -·-----
12,1)5                      Off-Peal< PlanAJIGl'I                     Okla/loma C OK      HIXlOlulu HI
12,1)5                      Off-Peal< PlanAIIOl'I                     Oklahomac OK        loolming Ct           21
12,1)8                      Off-Peal< PlanAJIOl'I                     Honolulu HI         Hono1ulu HI            4
                                           ---•-- .
12,1)9                        Peak     PlanAilow                      Honolulu HI         ln(omingCt             2
12il'.l9                      Peal<    PlanAJlow                      Honolulu HI         Incoming Ct
12/10                         Pe8k     PIMA!low                       Hcnolulu HI         OOl(llingCL            2
12/10                         Peak     PlallAII0'/1                   Hcnolulu HI         l'lcomingCL            4
12/10                         Pea.'<   PlallAIIGl'I                   Honolulu HI         lneoming CL           30
12/10                         Peak     PlanAIIGl'I                    Het1olulu HI        Hooolulu HI            3
12/10                         Peak     PlanAllow                      Honolulu HI         Hooolulu HI
12/10                         Peak     PlanAIIGIY                     Hooofulu HI         Incoming CL            2
12/1 1                        Peak     PlanA!low                      Het1olulu HI        WsmgtnlJ\ I DC        24
12/ll                         Peak     PlanAllow                      Honolulu HI         Hooo'utu HI            19
                                                                          - - - · ·- --- - -
12/11                         Peak     PlanAllow                      Het10lulu HI        Incoming 0.            2
                                                      -----•-•                            ----·
1211 1                        Peak     Pl.rlA!low                     Hooo!Ulu HI         Hooo·u1u HI
                                                                                                            ------
12/1 1                        Peak     PlanAllow                      Hooolulu HI         lncomielQ C.
12/12                         Peak     PlanAllow                      Hoooh.Jlu HI        Hono:ulu HI            3
                                                                                                                                                 --- - - -
12/12                         Peal<    P!anAIIOIY                     Hoool!JIU HI        Incoming CL
12/13                         Peak     PlanA!klw                      HooolukJ HI         Ws11ngtnzn1 OC        34
                                                          ---·- -
12/13                         Pe2k     PlanAlbw                       HooollJ~ HI         IPooming CL
12/16                       Off-Peak PlanAlblY,M2M                    Wa&img1co OC        Honolulu HI            12
12/16                       Off-Peak PlanAlb\V                        \'/asiingtco oc     HonoilJIU HI          25
12/16                       Off-Peak PlanAll,w                        Wastiingtco DC      Incoming CL            2
12/17                       Olf-P6al\ PlanAIIOIV                      VlastlingtCl'I DC   \IM Oepos~Q
                                                                                                           -·---··-
12/17                       Off-Peak PlanAIIOl'I                      Yla9'lingtCl'I OC   Incoming CL            6
12/18                       Ott-Peak PlanAll11i1                      Washingtco OC       VMOeposttQ
                            ·--·-- - -                                                                                                       -----
12/19                       Off-Peak PlanAllow                        Wash~lon DC         1/M Depos~ CL
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                                                                   Bert T . Kobayas hi, Jr.•              Ke nnet h M. Nakasone*             Kay lee K. Correa
                                                                   Alan M. Goda*                          Gregory M. Sato*                   Sianh a M. Gua lano
                                                                                                          Jesse W. Sc hiel *                 Aust in H. Jim On
                                                                   John R. Aube•                          Craig K. Sh ikum a*                Stephen G. K. Ka neshiro
                                                                   Charl es W. Gall*                      Lex R. Smith *                     T ravis Y. Kuwa ha ra
                                                                   Neal T. Gota                           Joseph A. Stewa rt *               Rya n D. Lo uie
                                                                   Clifford K. Higa*                      Bri an D. Tongg                    Che lsea C. Maja
                                                                   Charl es D. Hun te r                   David B. Tongg *
                                                                   Robert K. Ichikawa *                   Caycie K. G. Wong
                                                                   Chri stopher T. Kobayas hi*
       KOBAYASH I SUG ITA & GODA, LLP                              Jo nath an A. Kobayas hi               *A Law Corporation
                                                                   Jan M. L. Y. Kuts un ai*
                                                                   David M. Louie*                        Of Co un se l:
                                                                   Nicholas R. Monlu x                    Kenn eth Y. Sugita*
                                                                   Jonathan S. Moore                      We ndell H. Fuji*
                                                                   Aa ron R. Mun                          Burt T. Lau*
                                                                   Bruce A . Nakamura*                    John F. Lezak *
                                                                                                          Larry L. Myers*
                                                                                                          David Y. Suzuki*
                                                                                                          Maria Y. Wang




                                                               December 21, 2022

  Via E-mail

  Craig Nolan, Assistant United States Attorney
  craig.nolan@usdoj.gov
  United States Attorney's Office for the District of Hawaii
  Room 6100, PJKK Federal Building
  Honolulu, Hawaii 96850

          Re:   United States v. Martin Kao
          Case No. 1:21-cr-00061 (LEK) (the "Criminal Case")

  Dear Mr. Nolan:

          As you know, we represent PacMar Technologies LLC f/k/a Martin Defense Group, LLC
  f/k/a Navatek LLC ("PacMar" or the "Company") and Steven Loui. We write to request the
  Department of Justice's ("DOJ") assistance related to the recovery of certain Company property
  seized by the DOJ from Defendant Martin Kao ("Defendant Kao").

         In 2020, around the time the DOJ arrested Defendant Kao, it seized various property,
  including certain Company property1, potentially relevant to Mr. Kao's crimes in the Criminal
  Case. Among the items seized was an Apple iPhone 11 Pro (IMEI 353247100759018)
  associated with the phone number ending in 0371 ("Mr. Kao's Company Cellphone"). Mr.
  Kao's Company Cellphone was registered to a Company business account assigned to Defendant
  Kao.

           Pursuant to the Company's employment policies in effect at the time (which remain in
  effect), Company cellphones and computers used by its employees, including Mr. Kao's
  Company Cellphone and the content and records therein, are Company property. For the

  1
   The DOJ returned most of the Company assets seized, including the Company' s servers, shortly after they were
  downloaded.


          999 Bishop Street, S uite 2600, H o no lulu , HI 96813    J
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                                                                        T e l: 808-535- 5700   J   Fax: 808-535-5799       J   www.ksglaw.com I jo@ksglaw.com
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  Craig Nolan, Assistant United States Attorney
  December 19, 2022
  Page2


  avoidance of doubt, this includes all forms of data related to the communications and
  applications stored thereon, which includes but is not limited to the call logs, voice message data,
  text messages, e-mails, and other forms of messaging; still and live photographs and video; audio
  files; storing dates, appointments, and other information on personal calendars, among other data
  (collectively, the "Cellphone Data").

         Unlike servers and other property temporarily seized by the DOJ that have since been
  returned to the Company, the Company has no record of the DOJ returning either Mr. Kao's
  Company Cellphone or the Cellphone Data to the Company.

           The Company therefore requests that the DOJ return Mr. Kao's Company Cellphone
  and/or the Cellphone Data to the Company as soon as possible. To the extent the DOJ desires to
  maintain possession of Mr. Kao's Company Cellphone as physical evidence in its pending
  Criminal Case, the DOJ's return of the extracted Cellphone Data through a searchable reader
  (i.e., CelleBrite) will suffice in lieu of a return of the physical Cellphone.

         Your immediate attention and assistance conc~r ·ng this request is appreciated. Please
  do not hesitate to contact me should you have any,,<(ti~stio s.
                                                   /




                                                        IDM. LOUIE
                                                   JESSE W. SCHIEL
                                                      for
                                                   KOBAYASHI, SUGITA & GODA, LLP
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  On Thursday, December 29, 2022 at 08:02:41 AM HST, Nolan, Craig (USAHI) <craig.nolan@usdoj.gov>
  wrote:



  Victor,



  In the attached letter counsel to PacMar (copied), f/k/a Martin Defense Group, f/k/a
  Navatek, requests that the government return to PacMar the iPhone seized from Mr.
  Kao in connection with his September 2020 arrest or, alternatively, the data contained
  in the iPhone. PacMar asserts that the iPhone and data are PacMar’s property.
  Because the prosecution against Mr. Kao remains pending and the iPhone
  constitutes and contains evidence, the government has informed PacMar’s counsel
  that the government will not return the iPhone at this time, but is willing to provide
  PacMar with the data forensically extracted from the phone. The government
  explained further that it would provide an opportunity for Mr. Kao to object to a
  production of the data to PacMar on the basis that the iPhone or the data contained
  within the iPhone is Mr. Kao’s personal property or that Mr. Kao possesses a privacy
  interest in the data under the applicable policies of or his employment agreement with
  PacMar.

  By 5:00 p.m., Friday, January 6, 2023, please notify me whether Mr. Kao objects to
  the requested production of iPhone data to PacMar. If Mr. Kao objects, I will confer
  with counsel for PacMar and you about the best manner in which to get the dispute
  before the Court.



  Sincerely,



  Craig S. Nolan

  Assistant United States Attorney

  District of Hawaii

  300 Ala Moana Blvd., Rm. 6-100

  Honolulu HI 96850

  (808) 754-9681 (mobile)

  (808) 440-9225 (direct)

  (808) 541-2850 (main)

  (808) 541-2958 (fax)

  Craig.Nolan@usdoj.gov



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  From: vbakke@bakkelawfirm.com <vbakke@bakkelawfirm.com>
  Sent: Thursday, January 5, 2023 5:07 PM
  To: Nolan, Craig (USAHI) <CNolan@usa.doj.gov>
  Cc: Warren Fabro - Bakke Law Office (wfabro@bakkelawfirm.com) <wfabro@bakkelawfirm.com>
  Subject: [EXTERNAL] Re: US v. Kao - Request by Company for Return of

  Craig. Sorry, I forgot to ask you about this when we spoke a few minutes ago. I have
  discussed this matter with Mr. Kao and we respectfully object to the Government
  turning over the physical phone and/or any of the associated data, images, text,
  emails, meta data, etc. to PAC-MAR or any other person or entity.

  Sincerely, Victor J. Bakke, Esq.

  Law Office of Victor Bakke
  Topa Financial Center
  700 Bishop Street, Ste. 2100
  Honolulu, HI 96813
  Office phone: 808-369-8170
  Cell phone: 808-349-9757
  Fax: 808-369-8179
  Web site: ArrestedHawaii.com




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                 Exhibit 9
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  From: Nolan, Craig (USAHI) <Craig.Nolan@usdoj.gov>
  Sent: Friday, January 6, 2023 5:33 AM
  To: vbakke@bakkelawfirm.com; Jesse W. Schiel <jschiel@ksglaw.com>
  Cc: Warren Fabro - Bakke Law Office (wfabro@bakkelawfirm.com) <wfabro@bakkelawfirm.com>
  Subject: RE: [EXTERNAL] Re: US v. Kao - Request by Company for Return of

   CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you
   recognize the sender and know the content is safe.


  Victor and Jesse,

  Please let me know whether a phone call or meeting of the three of us would assist in
  resolving the dispute (memorialized below) about production to PacMar of the data extracted
  from the iPhone seized pursuant to warrant from Martin Kao in September 2020. If not, I
  suggest we get the issue before Judge Kobayashi by PacMar filing a motion for return of
  property, i.e., the extracted data, pursuant to Fed. R. Crim. P. 41(g). In response to such a
  motion, the government will take no position (other than opposing the request to the extent
  that it seeks return of the actual iPhone).

  Sincerely,

  Craig S. Nolan
  Assistant United States Attorney
  District of Hawaii
  300 Ala Moana Blvd., Rm. 6-100
  Honolulu HI 96850
  (808) 754-9681 (mobile)
  (808) 440-9225 (direct)
  (808) 541-2850 (main)
  (808) 541-2958 (fax)
  Craig.Nolan@usdoj.gov




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 #1924247



                       IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,                     CR. NO. 21-00061 LEK

                   Plaintiff,                   CERTIFICATE OF SERVICE

            vs.

  MARTIN KAO,

                   Defendant.

                                CERTIFICATE OF SERVICE
            The undersigned hereby certifies that, on the date noted below, a copy of the

 foregoing document was duly served on the following parties via CM/ECF:


            JENNIFER BILINKAS                            Jennifer.Bilinkas@usdoj.gov
            CRAIG S. NOLAN                               craig.nolan@usdoj.gov
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            District of Hawaii
            300 Ala Moana Blvd., #6-100
            Honolulu, Hawaii 96850

            Attorney for Plaintiff
            UNITED STATES OF AMERICA

            VICTOR J. BAKKE                              vbakke@bakkelawfirm.com
            Law Office of Victor Bakke
            Topa Financial Center
            700 Bishop Street, Suite 2100
            Honolulu, Hawaii 96813

            Attorney for Defendant
            MARTIN KAO
Case
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       DATED: Honolulu, Hawaii, January 24, 2023.

                                     /s/ Jesse W. Schiel
                                     DAVID M. LOUIE
                                     JESSE W. SCHIEL

                                     Attorneys for Movant
                                     PACMAR TECHNOLOGIES LLC
                                     f/k/a MARTIN DEFENSE GROUP,
                                     LLC f/k/a NAVATEK LLC




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